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      EXHIBIT B
  Case Case:
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                                                              APPEAL,CLOSED,JURY,TYPE−M
                                U.S. District Court
                     District of Columbia (Washington, DC)
               CIVIL DOCKET FOR CASE #: 1:06−cv−00670−CKK

KLAYMAN et al v. JUDICIAL WATCH, INC. et al             Date Filed: 04/12/2006
Assigned to: Judge Colleen Kollar−Kotelly               Date Terminated: 03/15/2018
Case in other court: 09−07068                           Jury Demand: Plaintiff
Cause: 28:1332 Diversity−Other Contract                 Nature of Suit: 190 Contract: Other
                                                        Jurisdiction: Diversity
Plaintiff
LARRY KLAYMAN                            represented by Daniel J. Dugan
                                                        SPECTOR GADON & ROSEN, P.C.
                                                        1635 Market Street
                                                        7th Floor
                                                        Philadelphia, PA 19103−3650
                                                        (215) 241−8872
                                                        Fax: (215)531−9120
                                                        Email: ddugan@lawsgr.com
                                                        TERMINATED: 04/29/2008
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

                                                        Larry E. Klayman
                                                        KLAYMAN LAW GROUP, P.A.
                                                        2020 Pennsylvania Avenue, NW
                                                        Suite 800
                                                        Washington, DC 20006
                                                        (310) 595−0800
                                                        Fax: (202) 379−9289
                                                        Email: leklayman@gmail.com
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

Plaintiff
LOUISE BENSON                            represented by Daniel J. Dugan
TERMINATED: 01/17/2007                                  (See above for address)
                                                        TERMINATED: 04/29/2008
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED


V.
Defendant
JUDICIAL WATCH, INC.                     represented by Richard Wayne Driscoll
                                                        DRISCOLL & SELTZER, PLLC
                                                        300 N. Washington St.
                                                        Suite 610
                                                        Alexandria, VA 22314
                                                        (703) 822−5001
                                                        Fax: (703) 997−4892
                                                        Email: rdriscoll@driscollseltzer.com
                                                        LEAD ATTORNEY
                                                        ATTORNEY TO BE NOTICED

                                                        Juli Z. Haller
                                                        Bailey & Ehrenberg, PLLC
                                                        1015 18th Street, NW
                                                        204
                                                        Washington, DC 20036
 Case Case:
      1:06-cv-00670-CKK-MAU
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                                                      AM EDT Page   3 of 73
                                                              2 of 72
                                                   (202) 331−1331
                                                   Fax: (202) 318−7071
                                                   Email: jzh@becounsel.com
                                                   TERMINATED: 12/19/2008
                                                   ATTORNEY TO BE NOTICED

Defendant
THOMAS J. FITTON                     represented by Richard Wayne Driscoll
                                                    (See above for address)
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED

                                                   Juli Z. Haller
                                                   (See above for address)
                                                   TERMINATED: 12/19/2008
                                                   ATTORNEY TO BE NOTICED

Defendant
CHRISTOPHER FARRELL                  represented by Richard Wayne Driscoll
                                                    (See above for address)
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED

                                                   Juli Z. Haller
                                                   (See above for address)
                                                   TERMINATED: 12/19/2008
                                                   ATTORNEY TO BE NOTICED

Defendant
PAUL ORFANEDES                       represented by Richard Wayne Driscoll
                                                    (See above for address)
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED

                                                   Juli Z. Haller
                                                   (See above for address)
                                                   TERMINATED: 12/19/2008
                                                   ATTORNEY TO BE NOTICED


V.
Interested Party
DAVID P. DURBIN                      represented by John Tremain May
                                                    JORDAN COYNE LLP
                                                    10509 Judicial Drive
                                                    Suite 200
                                                    Fairfax, VA 22030
                                                    (703) 246−0905
                                                    Fax: (703) 591−3673
                                                    Email: jmay@jocs−law.com
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED

Interested Party
HERBERT BELLER                       represented by Hamilton Phillips Fox , III
                                                    OFFICE OF BAR COUNSEL
                                                    515 5th Street NW
                                                    Room 117 Bldg. A
                                                    Washington, DC 20001
                                                    (202) 638−1501
                                                    Fax: 202−638−0862
 Case Case:
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                                                      AM EDT Page   4 of 73
                                                              3 of 72
                                                   Email: phil.fox@sablaw.com
                                                   LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED

Interested Party
SUTHERLAND ASBILL &                  represented by Hamilton Phillips Fox , III
BRENNAN LLP                                         (See above for address)
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED

Interested Party
RAFFA & ASSOCIATES, INC.             represented by Jeffrey Martin Schwaber
                                                    STEIN SPERLING BENNETT DE JONG
                                                    DRISCOLL PC
                                                    25 West Middle Lane
                                                    Rockville, MD 20850
                                                    (301) 838−3210
                                                    Fax: (301) 354−8110
                                                    Email: JSchwaber@steinsperling.com
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED

                                                   Mary Craine Lombardo
                                                   STEIN SPERLING BENNETT DE JONG
                                                   DRISCOLL PC
                                                   25 West Middle Lane
                                                   Rockville, MD 20850
                                                   (301) 838−3226
                                                   Fax: (301) 354−8126
                                                   Email: mlombardo@steinsperling.com
                                                   LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED

Counter Claimant
JUDICIAL WATCH, INC.                 represented by Richard Wayne Driscoll
                                                    (See above for address)
                                                    LEAD ATTORNEY

                                                   Juli Z. Haller
                                                   (See above for address)
                                                   TERMINATED: 12/19/2008
                                                   ATTORNEY TO BE NOTICED

Counter Claimant
THOMAS J. FITTON                     represented by Richard Wayne Driscoll
                                                    (See above for address)
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED

                                                   Juli Z. Haller
                                                   (See above for address)
                                                   TERMINATED: 12/19/2008
                                                   ATTORNEY TO BE NOTICED


V.
Counter Defendant
LARRY KLAYMAN                        represented by Daniel J. Dugan
                                                    (See above for address)
                                                    TERMINATED: 04/29/2008
                                                    LEAD ATTORNEY
 Case Case:
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                                                           ATTORNEY TO BE NOTICED

                                                           Larry E. Klayman
                                                           (See above for address)
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED

Counter Claimant
JUDICIAL WATCH, INC.                        represented by Richard Wayne Driscoll
                                                           (See above for address)
                                                           LEAD ATTORNEY

                                                           Juli Z. Haller
                                                           (See above for address)
                                                           TERMINATED: 12/19/2008
                                                           ATTORNEY TO BE NOTICED

Counter Claimant
THOMAS J. FITTON                            represented by Richard Wayne Driscoll
                                                           (See above for address)
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED

                                                           Juli Z. Haller
                                                           (See above for address)
                                                           TERMINATED: 12/19/2008
                                                           ATTORNEY TO BE NOTICED


V.
Counter Defendant
LARRY KLAYMAN                               represented by Daniel J. Dugan
                                                           (See above for address)
                                                           TERMINATED: 04/29/2008
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED

                                                           Larry E. Klayman
                                                           (See above for address)
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED


Date Filed   #      Docket Text
04/12/2006    1 COMPLAINT against JUDICIAL WATCH, INC., THOMAS J. FITTON (Filing fee $
                350) filed by LARRY KLAYMAN, LOUISE BENSON. (Attachments: # 1 Exhibit A#
                2 Exhibit B# 3 Exhibit C# 4 Exhibit D# 5 Exhibit E)(jf, ) (Entered: 04/13/2006)
04/12/2006          Summons (2) Issued as to JUDICIAL WATCH, INC., THOMAS J. FITTON. (jf, )
                    (Entered: 04/13/2006)
04/24/2006    2 ORDER Establishing Procedures for Electronic Filing for Cases Assigned to Judge
                Colleen Kollar−Kotelly signed on April 24, 2006. (SM) (Entered: 04/24/2006)
05/01/2006    3 RETURN OF SERVICE/AFFIDAVIT of Summons and Complaint Executed.
                JUDICIAL WATCH, INC. served on 4/13/2006, answer due 5/3/2006 (Dugan, Daniel)
                (Entered: 05/01/2006)
05/01/2006    4 RETURN OF SERVICE/AFFIDAVIT of Summons and Complaint Executed.
                THOMAS J. FITTON served on 4/13/2006, answer due 5/3/2006 (Dugan, Daniel)
                (Entered: 05/01/2006)
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05/01/2006    5 ENTERED IN ERROR.....FIRST AMENDED COMPLAINT against JUDICIAL
                WATCH, INC., THOMAS J. FITTON filed by LARRY KLAYMAN, LOUISE
                BENSON.(nmw, ) Modified on 5/2/2006 (nmw, ). (Entered: 05/01/2006)
05/01/2006    6 FIRST AMENDED COMPLAINT against JUDICIAL WATCH, INC., THOMAS J.
                FITTON filed by LARRY KLAYMAN, LOUISE BENSON. (Attachments: # 1
                Exhibit A# 2 Exhibit B# 3 Exhibit C# 4 Exhibit D# 5 Exhibit E)(nmw, ) (Entered:
                05/02/2006)
05/02/2006       NOTICE OF CORRECTED DOCKET ENTRY: Document No. 5 Amended
                 Complaint was entered in error and will be refiled with exhibits. (nmw, ) (Entered:
                 05/02/2006)
05/03/2006    7 NOTICE of Certificate of Service by LARRY KLAYMAN, LOUISE BENSON re 6
                Amended Complaint (nmw, ) (Entered: 05/04/2006)
05/19/2006    8 NOTICE of Appearance by Richard Wayne Driscoll on behalf of all defendants
                (Driscoll, Richard) (Entered: 05/19/2006)
05/19/2006    9 STIPULATION Extending Deadline to Answer or Otherwise Respond to Amended
                Complaint by JUDICIAL WATCH, INC., THOMAS J. FITTON. (Driscoll, Richard)
                (Entered: 05/19/2006)
05/22/2006       MINUTE ENTRY ORDER [PAPERLESS]: The Court hereby Denies without
                 prejudice the 9 Stipulation extending deadlines to answer or otherwise respond to the
                 amended complaint. The parties have not provided the Court with a basis to extend the
                 deadline. In addition, requests for extensions must be made by proper motion. Signed
                 by Judge Colleen Kollar−Kotelly on May 22, 2006. (SM) (Entered: 05/22/2006)
05/23/2006   10 Consent MOTION for Extension of Time to File Answer or Otherwise Respond to
                Amended Complaint by JUDICIAL WATCH, INC., THOMAS J. FITTON.
                (Attachments: # 1)(Driscoll, Richard) (Entered: 05/23/2006)
05/23/2006       MINUTE ENTRY ORDER [PAPERLESS] granting 10 Consent Motion to Extend
                 Time to Respond to Amended Complaint. Accordingly, Defendants shall have until
                 and including May 31, 2006, to answer or otherwise respond to the Amended
                 Complaint. Signed by Judge Colleen Kollar−Kotelly on May 23, 2006. (SM) (Entered:
                 05/23/2006)
05/30/2006   11 Joint MOTION for Leave to File Second Amemded Complaint, Suspend Deadline for
                Response to Amended Complaint and Establish New Schedule by JUDICIAL
                WATCH, INC., THOMAS J. FITTON. (Attachments: # 1 Text of Proposed
                Order)(Driscoll, Richard) (Entered: 05/30/2006)
06/01/2006       MINUTE ENTRY ORDER (PAPERLESS) granting 11 Joint Motion for Leave to File
                 Second Amended Complaint. Accordingly, the Court adopts the proposed schedule:
                 Plaintifs' Amended Complaint to be filed by June 14, 2006, and Defendants'
                 Answer/Response to be filed by June 28, 2006. Signed by Judge Colleen
                 Kollar−Kotelly on June 1, 2006. (SM) (Entered: 06/01/2006)
06/14/2006   12 SECOND AMENDED COMPLAINT against CHRISTOPHER FARRELL, PAUL
                ORFANEDES, JUDICIAL WATCH, INC., THOMAS J. FITTON filed by LARRY
                KLAYMAN, LOUISE BENSON. (Attachments: # 1 Exhibit A# 2 Exhibit B# 3
                Exhibit C# 4 Exhibit D# 5 Exhibit E)(nmw, ) (Entered: 06/15/2006)
06/28/2006   13 MOTION to Dismiss Second Amended Complaint by JUDICIAL WATCH, INC.,
                THOMAS J. FITTON. (Attachments: # 1 Text of Proposed Order # 2
                MEMORANDUM IN SUPPORT OF MOTION TO DISMISS# 3 Exhibit EXHIBIT
                1)(Driscoll, Richard) (Entered: 06/28/2006)
06/28/2006   14 DEFENDANTS JUDICIAL WATCH, INC. AND THOMAS J. FITTON'S ANSWER to
                Amended Complaint with Jury Demand, COUNTERCLAIM against LARRY
                KLAYMAN by JUDICIAL WATCH, INC., THOMAS J. FITTON. Related
                document: 12 Amended Complaint filed by LARRY KLAYMAN,, LOUISE
                BENSON,. (Attachments: # 1 Exhibit EXHIBIT 1# 2 Exhibit EXHIBIT 2)(Driscoll,
                Richard) (Entered: 06/28/2006)
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06/28/2006   15 MOTION to Strike 12 Amended Complaint by JUDICIAL WATCH, INC., THOMAS
                J. FITTON. (Attachments: # 1 Text of Proposed Order PROPOSED ORDER# 2
                MEMORANDUM IN SUPPORT OF MOTION TO STRIKE# 3 Exhibit EXHIBIT 1#
                4 Exhibit EXHIBIT 2# 5 Exhibit EXHIBIT 3)(Driscoll, Richard) (Entered:
                06/28/2006)
06/28/2006   16 MOTION to Sever by JUDICIAL WATCH, INC., THOMAS J. FITTON.
                (Attachments: # 1 Text of Proposed Order # 2 MEMORANDUM IN SUPPORT OF
                MOTION TO SEVER)(Driscoll, Richard) (Entered: 06/28/2006)
07/06/2006   17 Joint MOTION for Extension of Time to File Response/Reply to Defendants' Motion
                to Dismiss by LARRY KLAYMAN. (Dugan, Daniel) Additional attachment(s) added
                on 7/7/2006 (nmw, ). (Entered: 07/06/2006)
07/06/2006       MINUTE ENTRY ORDER (Paperless) granting 17 Joint Motion to Suspend Deadline
                 to File Response to Defendants' Motion to Dismiss. Accordingly, Plaintiffs shall have
                 until and including July 31, 2006, to file their Oppositions and Responses, and
                 Defendants shall have until and including August 15, 2006, to file its Reply. Signed by
                 Judge Colleen Kollar−Kotelly on July 6, 2006. (SM) (Entered: 07/06/2006)
07/10/2006   18 MOTION to Dismiss Second Amended Complaint by CHRISTOPHER FARRELL,
                PAUL ORFANEDES. (Attachments: # 1 Text of Proposed Order # 2 Defendants'
                Memorandum in Support of Motion to Dismiss# 3 Exhibit 1 to the Defendants'
                Memorandum in Support# 4 Exhibit 2 to the Defendants' Memorandum in Support# 5
                Exhibit 3 to the Defendants' Memorandum in Support)(Driscoll, Richard) (Entered:
                07/10/2006)
07/24/2006   19 Joint MOTION Consolidate Deadlines to File Response to Defendants' Motion to
                Dismiss with Existing Scheduling Order by LARRY KLAYMAN. (Attachments: # 1
                Text of Proposed Order Proposed Order)(Dugan, Daniel) (Entered: 07/24/2006)
07/27/2006   20 Consent MOTION for Extension of Time to File Documents by LARRY KLAYMAN.
                (Attachments: # 1 Text of Proposed Order)(Dugan, Daniel) (Entered: 07/27/2006)
07/28/2006       MINUTE ENTRY ORDER (Paperless) granting 20 Consent Motion for Extension of
                 All Deadlines. Accordingly, Plaintiffs shall have until and including August 7, 2006,
                 to answer or otherwise respond to Defendants' Motions & Counterclaims; Defendants
                 shall have until and including September 1, 2006, to reply to Plaintiffs' responses
                 unless a Motion to Dismiss the Counterclaims is filed, in which case Defendants shall
                 have until and including September 7, 2006, to respond to Plaintiffs' Motion to
                 Dismiss the Counterclaims. NO FURTHER EXTENSIONS. Signed by Judge Colleen
                 Kollar−Kotelly on July 28, 2006. (SM) (Entered: 07/28/2006)
08/07/2006   21 Memorandum in opposition to re 15 MOTION to Strike 12 Amended Complaint filed
                by LARRY KLAYMAN. (Attachments: # 1 Text of Proposed Order Order Denying
                Motion to Strike)(Dugan, Daniel) (Entered: 08/07/2006)
08/07/2006   22 Memorandum in opposition to re 16 MOTION to Sever and Louise Benson filed by
                LARRY KLAYMAN. (Attachments: # 1 Text of Proposed Order Order Denying
                Motion to Sever Claims)(Dugan, Daniel) (Entered: 08/07/2006)
08/07/2006   23 Memorandum in opposition to re 18 MOTION to Dismiss Second Amended Complaint
                filed by LARRY KLAYMAN. (Attachments: # 1 Text of Proposed Order Order
                Denying 12(b) Motion of Orfanedes and Farrell)(Dugan, Daniel) (Entered:
                08/07/2006)
08/07/2006   24 Plaintiff Larry Klayman's Affirmative Defenses and ANSWER to 14 Counterclaim of
                Fitton and Judicial Watch by LARRY KLAYMAN.(Dugan, Daniel) Modified on
                8/8/2006 (nmw, ). (Entered: 08/07/2006)
08/08/2006   25 Memorandum in opposition to re 13 MOTION to Dismiss Second Amended Complaint
                filed by LARRY KLAYMAN. (Attachments: # 1 Text of Proposed Order Order
                Denying 12(b) Motion of Fitton)(Dugan, Daniel) (Entered: 08/08/2006)
09/01/2006   26 REPLY to opposition to motion re 13 MOTION to Dismiss Second Amended
                Complaint filed by JUDICIAL WATCH, INC., THOMAS J. FITTON. (Driscoll,
                Richard) (Entered: 09/01/2006)
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09/01/2006   27 REPLY to opposition to motion re 18 MOTION to Dismiss Second Amended
                Complaint filed by CHRISTOPHER FARRELL, PAUL ORFANEDES. (Driscoll,
                Richard) (Entered: 09/01/2006)
09/01/2006   28 REPLY to opposition to motion re 16 MOTION to Sever filed by JUDICIAL
                WATCH, INC., THOMAS J. FITTON. (Driscoll, Richard) (Entered: 09/01/2006)
09/01/2006   29 REPLY to opposition to motion re 15 MOTION to Strike 12 Amended Complaint
                filed by CHRISTOPHER FARRELL, PAUL ORFANEDES, JUDICIAL WATCH,
                INC., THOMAS J. FITTON. (Driscoll, Richard) (Entered: 09/01/2006)
09/14/2006   30 MOTION for Leave to File Surreply by LARRY KLAYMAN, LOUISE BENSON.
                (Attachments: # 1 Text of Proposed Order # 2 Exhibit Proposed surreply)(Dugan,
                Daniel) (Entered: 09/14/2006)
09/22/2006   31 Memorandum in opposition to re 30 MOTION for Leave to File Surreply filed by
                CHRISTOPHER FARRELL, PAUL ORFANEDES, JUDICIAL WATCH, INC.,
                THOMAS J. FITTON. (Driscoll, Richard) (Entered: 09/22/2006)
12/26/2006   32 ENTERED IN ERROR.....MOTION for Partial Summary Judgment by
                CHRISTOPHER FARRELL, PAUL ORFANEDES, JUDICIAL WATCH, INC.,
                THOMAS J. FITTON. (Driscoll, Richard) Modified on 12/27/2006 (lc, ). (Entered:
                12/26/2006)
12/26/2006   33 MOTION for Partial Summary Judgment (Corrected) by CHRISTOPHER FARRELL,
                PAUL ORFANEDES, JUDICIAL WATCH, INC., THOMAS J. FITTON.
                (Attachments: # 1 Statement of Facts Not in Genuine Dispute# 2 Declaration of
                Thomas J. Fitton − I# 3 Declaration of Thomas J. Fitton − II# 4 Declaration of Paul J.
                Orfanedes − I# 5 Declaration of Paul J. Orfanedes − II# 6 Declaration of Paul J.
                Orfanedes − III# 7 Declaration of Susan Prytherch − I# 8 Declaration of Susan E.
                Prytherch − II# 9 Declaration of Susan E. Prytherch − III# 10 Declaration of Susan E.
                Prytherch − IV# 11 Declaration of Irene Garcia# 12 Text of Proposed Order)(Driscoll,
                Richard) (Entered: 12/26/2006)
12/27/2006       NOTICE OF CORRECTED DOCKET ENTRY: re 32 MOTION for Partial Summary
                 Judgment was entered in error and counsel refiled document correctly in docket entry
                 #33. (lc, ) (Entered: 12/27/2006)
01/04/2007   34 Joint MOTION for Extension of Time to File Response/Reply to Defendants' Motion
                for Partial Summary Judgment by LARRY KLAYMAN. (Attachments: # 1 Text of
                Proposed Order)(Dugan, Daniel) (Entered: 01/04/2007)
01/11/2007       MINUTE ENTRY ORDER (Paperless) granting 34 Consent Motion to Extend
                 Deadline to File Opposition to Defendants' Motion for Partial Summary Judgment and
                 Extend Deadline to Reply to Plaintiffs' Opposition. Accordingly, the Deadline for
                 Plaintiffs to file their Opposition to Defendants' Motion for Partial Summary Judgment
                 is extended to January 30, 2007; and the Deadline for Defendants to Reply is extended
                 to February 15, 2007. Signed by Judge Colleen Kollar−Kotelly on January 11, 2007.
                 (SM) (Entered: 01/11/2007)
01/11/2007       Set/Reset Deadlines: Response to Motion for Partial Summary Judgment due by
                 1/30/2007. Reply to Motion for Partial Summary Judgment due by 2/15/2007. (dot, )
                 (Entered: 01/22/2007)
01/17/2007   35 ORDER. DISMISSING Counts One, Two, and Three of Plaintiffs' Second Amended
                Complaint for lack of subject matter jurisdiction; DENYING 13 the motion to dismiss
                the Second Amended Complaint brought by Defendants Judicial Watch and Fitton as
                to Counts Four, Five, and Six. To the extent that Defendants Orfanedes and Farrell
                joined in the substance of the motion to dismiss as to Counts Four and Five, that
                motion is also denied as to Orfanedes and Farrell; as to Count Nine of Plaintiffs'
                Second Amended Complaint, GRANTING−IN−PART 13 the motion to dismiss
                brought by Defendants Judicial Watch and Fitton insofar as it relates to allegedly
                defamatory statements made in Judicial Watch Form 990 tax returns and allegedly
                doctored press quotations posted on the Judicial Watch website; and
                DENYING−IN−PART insofar as it is based on allegedly false statements to Judicial
                Watch employees and the media. As Defendants Orfanedes and Farrell joined in the
                motion to dismiss as to the substance of Count Nine, the Court's conclusions apply
                equally to them; DENYING 30 Plaintiffs' motion for leave to file a sur−reply;
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                  DENYING 18 the motion to dismiss Plaintiffs' Second Amended Complaint brought
                  by Defendants Orfanedes and Farrell to the extent that it raises an argument not
                  addressed in the motion to dismiss brought by Defendants Fitton and Judical Watch;
                  DENYING 15 the motion to strike brought by Defendants Fitton and Judicial Watch;
                  DENYING AS MOOT 16 the motion to sever brought by Defendants Judicial Watch
                  and Fitton. Signed by Judge Colleen Kollar−Kotelly on January 17, 2007. (lcckk2)
                  (Entered: 01/17/2007)
01/17/2007   36 MEMORANDUM OPINION. Signed by Judge Colleen Kollar−Kotelly on January 17,
                2007. (lcckk2) (Entered: 01/17/2007)
01/18/2007        MINUTE ENTRY ORDER (paperless). In light of the Court's January 17, 2007
                  Memorandum Opinion and Order, 19 the Motion to Consolidate Deadlines filed on
                  July 24, 2006 is hereby denied as moot. Signed by Judge Colleen Kollar−Kotelly on
                  January 18, 2007. (lcckk2) (Entered: 01/18/2007)
01/30/2007   37 Memorandum in opposition to re 33 MOTION for Partial Summary Judgment
                (Corrected) filed by LARRY KLAYMAN. (Attachments: # 1 Statement of Genuine
                Issues# 2 Affidavit of Daniel J. Dugan pursuant to Rule 56(f)# 3 Declaration of Larry
                Klayman# 4 Text of Proposed Order)(Dugan, Daniel) (Entered: 01/30/2007)
01/30/2007   38 MOTION for Reconsideration re 36 Memorandum & Opinion, 35 Order on Motion for
                Leave to File,,,,,,, Order on Motion to Dismiss,,,,,,, Order on Motion to Strike,,,,,,,
                Order on Motion to Sever,,,,,,,,,,,,, by CHRISTOPHER FARRELL, PAUL
                ORFANEDES, JUDICIAL WATCH, INC., THOMAS J. FITTON. (Attachments: # 1
                Memorandum in Support of Motion for Reconsideration# 2 Text of Proposed Order #
                3 Exhibit A to the Memorandum in Support)(Driscoll, Richard) (Entered: 01/30/2007)
02/02/2007   39 ORDER. The Court has recently reviewed 37 Plaintiff Klayman's Opposition to 33
                Defendants' Motion for Partial Summary Judgment and, in so doing, has determined
                that Plaintiff Klayman's Statement of Genuine Issues in Opposition to Defendants'
                Motion for Partial Summary Judgment, submitted along with his Opposition, fails to
                comply with Local Civil Rules 7(h) and 56.1, and thus with this Court's April 24, 2006
                Order, which specifically advises the parties that "[t]he Court strictly adheres to the
                dictates of Local Civil Rules 7(h) and 56.1 and may strike pleadings not in conformity
                with these rules." The Court has attempted to parse Plaintiff Klayman's Statement of
                Genuine Issues in Opposition to Defendants' Motion for Partial Summary Judgment in
                order to determine which factual issues remain in dispute in this matter, but is unable
                to do so. As a result, the Court shall STRIKE 37 Plaintiff Klayman's Opposition to
                Defendants' Motion for Partial Summary Judgment, along with the accompanying
                Statement of Genuine Issues in Opposition to Defendants' Motion for Partial Summary
                Judgment. On or before February 16, 2007, Plaintiff Klayman shall file a revised
                Opposition to Defendants' Motion for Partial Summary Judgment, including a properly
                prepared response to Defendants' Statement of Material Facts Not In Dispute. The
                Court has set an expedited schedule and will not grant Plaintiff any extensions. In
                addition, if Plaintiff Klayman's revised response to Defendants' Statement of Material
                Facts Not in Dispute fails to strictly comply with this Order, the Court shall take all
                facts alleged by Defendants as conceded. Finally, Defendants shall file their Reply to
                Plaintiff Klayman's Opposition on or before March 1, 2007. Signed by Judge Colleen
                Kollar−Kotelly on February 2, 2007. (lcckk2) (Entered: 02/02/2007)
02/06/2007   40 ANSWER to Amended Complaint with Jury Demand by CHRISTOPHER FARRELL,
                PAUL ORFANEDES, JUDICIAL WATCH, INC., THOMAS J. FITTON. Related
                document: 12 Amended Complaint filed by LARRY KLAYMAN,, LOUISE
                BENSON,, 14 Answer to Amended Complaint,, Counterclaim, filed by JUDICIAL
                WATCH, INC.,, THOMAS J. FITTON,.(Driscoll, Richard) (Entered: 02/06/2007)
02/12/2007   41 Memorandum in opposition to re 38 MOTION for Reconsideration re 36
                Memorandum & Opinion, 35 Order on Motion for Leave to File,,,,,,, Order on Motion
                to Dismiss,,,,,,, Order on Motion to Strike,,,,,,, Order on Motion to Sever,,,,,,,,,,,,, filed
                by LARRY KLAYMAN. (Dugan, Daniel) (Entered: 02/12/2007)
02/16/2007   42 ENTERED IN ERROR.....Memorandum in opposition to re 33 MOTION for Partial
                Summary Judgment (Corrected) filed by LARRY KLAYMAN. (Attachments: # 1
                Revised Statement of Genuine Issues# 2 Affidavit of Daniel Dugan pursuant to Rule
                56(f)# 3 Declaration of Larry Klayman)(Dugan, Daniel) Modified on 2/22/2007 (nmw,
                ). (Entered: 02/16/2007)
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02/20/2007   43 REPLY to opposition to motion re 38 MOTION for Reconsideration re 36
                Memorandum & Opinion, 35 Order on Motion for Leave to File,,,,,,, Order on Motion
                to Dismiss,,,,,,, Order on Motion to Strike,,,,,,, Order on Motion to Sever,,,,,,,,,,,,, filed
                by CHRISTOPHER FARRELL, PAUL ORFANEDES, JUDICIAL WATCH, INC.,
                THOMAS J. FITTON. (Attachments: # 1 Exhibit A)(Driscoll, Richard) (Entered:
                02/20/2007)
02/22/2007   44 Memorandum in opposition to re 33 MOTION for Partial Summary Judgment
                (Corrected) filed by LARRY KLAYMAN. (Attachments: # 1 Statement of Genuine
                Issues# 2 Declaration of Larry Klaymen# 3 Affidavit of Daniel Dugan pursuant to
                Rule 56(f))(Dugan, Daniel) (Entered: 02/22/2007)
02/22/2007        NOTICE OF CORRECTED DOCKET ENTRY: Document No. 42 Memorandum in
                  Opposition was entered in error and has been refiled as Document No. 44 . (nmw, )
                  (Entered: 02/22/2007)
03/01/2007   45 REPLY to opposition to motion re 33 MOTION for Partial Summary Judgment
                (Corrected) filed by CHRISTOPHER FARRELL, PAUL ORFANEDES, JUDICIAL
                WATCH, INC., THOMAS J. FITTON. (Attachments: # 1 Exhibit A# 2 Exhibit
                B)(Driscoll, Richard) (Entered: 03/01/2007)
03/20/2007   46 ENTERED IN ERROR.....STATUS REPORT Report To The Court Pursuant To LcvR
                16.3 by LARRY KLAYMAN. (Dugan, Daniel) Modified on 3/21/2007 (nmw, ).
                (Entered: 03/20/2007)
03/20/2007   47 ENTERED IN ERROR.....STATUS REPORT Attachment to Report To The Court
                Pursuant to LCvR 16.3 by LARRY KLAYMAN. (Dugan, Daniel) Modified on
                3/21/2007 (nmw, ). (Entered: 03/20/2007)
03/20/2007   48 MEET AND CONFER STATEMENT. (Attachments: # 1 Text of Proposed
                Order)(nmw, ) (Entered: 03/21/2007)
03/21/2007        NOTICE OF CORRECTED DOCKET ENTRY: Document Nos. 46 and 47 were
                  entered in error as two separate Status Reports and will be refiled as one Meet and
                  Confer Statement. (nmw, ) (Entered: 03/21/2007)
04/03/2007   49 ORDER. For the reasons set forth in the accompanying Memorandum Opinion,
                Defendants' 38 Motion for Reconsideration of that portion of the Court's January 17,
                2007 Memorandum Opinion and Order that denied Defendants' motion to dismiss
                Count Five of the Second Amended Complaint is GRANTED; the portion of the
                Court's January 17, 2007 Memorandum Opinion and Order that denied Defendants'
                motion to dismiss Count Five of the Second Amended Complaint is VACATED; and
                Count Five of the Second Amended Complaint is DISMISSED as time−barred. Signed
                by Judge Colleen Kollar−Kotelly on April 3, 2007. (lcckk2) (Entered: 04/03/2007)
04/03/2007   50 MEMORANDUM OPINION as to Defendants' Motion for Reconsideration. Signed by
                Judge Colleen Kollar−Kotelly on April 3, 2007. (lcckk2) (Entered: 04/03/2007)
04/03/2007   51 ORDER. For the reasons set forth in the accompanying Memorandum Opinion, 33
                Defendants' Motion for Partial Summary Judgment on Plaintiff Klayman's Breach of
                Contract Claims (Counts Six, Seven, and Eight of the Second Amended Complaint) is
                GRANTED−IN−PART and DENIED−IN−PART. Specifically, Defendants' Motion
                for Partial Summary Judgment is GRANTED only as to the allegations contained in
                Count Six that Judicial Watch fraudulently induced Klayman to enter the Severance
                Agreement and the allegations contained in Counts Seven and Eight that Judicial
                Watch failed to pay Klayman for the period between September 15 and September 19,
                2003. The Court shall DENY WITHOUT PREJUDICE the remainder of Defendants'
                Motion for Partial Summary Judgment pursuant to Federal Rule of Civil Procedure
                56(f), as discovery has not yet been conducted in this action and it appears that
                genuine questions of material fact may exist. Signed by Judge Colleen Kollar−Kotelly
                on April 3, 2007. (lcckk2) (Entered: 04/03/2007)
04/03/2007   52 MEMORANDUM OPINION as to Defendants' Motion for Partial Summary
                Judgment. Signed by Judge Colleen Kollar−Kotelly on April 3, 2007. (lcckk2)
                (Entered: 04/03/2007)
04/03/2007   53 SCHEDULING ORDER: Initial Scheduling Conference set for 4/25/2007 11:30 AM
                in Courtroom 28A before Judge Colleen Kollar−Kotelly. Signed by Judge Colleen
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                 Kollar−Kotelly on 3/3/2007. (dot, ) (Entered: 04/03/2007)
04/20/2007   54 ENTERED IN ERROR.....ADDITIONAL ATTACHMENT Brief Statement of the
                Case and statutory basis, pursuant to Order for Initial Scheduling Conference dated
                April 3, 2007 by LARRY KLAYMAN 48 Meet and Confer Statement. (Dugan,
                Daniel) Modified on 4/23/2007 (nmw, ). (Entered: 04/20/2007)
04/20/2007   55 ENTERED IN ERROR.....ADDITIONAL ATTACHMENT to Meet and Confer
                Statement by CHRISTOPHER FARRELL, PAUL ORFANEDES, JUDICIAL
                WATCH, INC., THOMAS J. FITTON. (Driscoll, Richard) Modified on 4/23/2007
                (nmw, ). (Entered: 04/20/2007)
04/20/2007   56 RULE 26a1 STATEMENT. (Driscoll, Richard) (Entered: 04/20/2007)
04/23/2007       NOTICE OF CORRECTED DOCKET ENTRY: Document Nos. 54 and 55 were
                 entered in error as Additional Attachments and counsel was instructed to refile said
                 pleadings as Civil Statements. (nmw, ) (Entered: 04/23/2007)
04/24/2007   57 Civil Statement of the Case from Defendants Judicial Watch, Inc., Thomas J. Fitton,
                Paul J. Orfanedes and Christopher J. Farrell. (Driscoll, Richard) (Entered: 04/24/2007)
04/25/2007   58 SCHEDULING AND PROCEDURES ORDER: Amended Pleadings due by
                5/25/2007; with oppositions due 10 days later; and replies due 5 days later. Discovery
                due by 5/15/2007. Discovery Plan due within 10 days of this Order. Mediation before
                Magistrate Judge Alan Kay to commence 5/9/2008 and conclude by 6/6/2008. Status
                Conference set for 6/13/2008 09:00 AM in Courtroom 28A before Judge Colleen
                Kollar−Kotelly. Signed by Judge Colleen Kollar−Kotelly on 4/25/07. (dot, ) (Entered:
                04/25/2007)
04/25/2007       Minute Entry for proceedings held before Judge Colleen Kollar−Kotelly : Initial
                 Scheduling Conference held on 4/25/2007. Amended pleading due 5/25/2007.
                 Discovery due 5/15/2007. Mediation to commence 5/9/2008 and to conclude by
                 6/6/2008. Status hearing set for 6/13/08 at 9:00 a.m. (Court Reporter Edward
                 Hawkins.) (dot, ) Modified on 5/3/2007 (dot, ). (Entered: 05/01/2007)
04/25/2007       CASE REFERRED to Magistrate Judge Alan Kay for mediation. (jeb, ) (Entered:
                 05/02/2007)
05/08/2007   59 STATUS REPORT AS TO DISCOVERY PLAN by LARRY KLAYMAN. (Dugan,
                Daniel) (Entered: 05/08/2007)
05/09/2007   60 AMENDED SCHEDULING ORDER. This Order serves to amend pages 6 and 7 of
                the Scheduling and Procedures Order dated April 25, 2007; all other portions of the
                April 25, 2007 Order shall remain the same. Signed by Judge Colleen Kollar−Kotelly
                on May 9, 2007. (SM) (Entered: 05/09/2007)
05/09/2007       Set/Reset Hearings: Status Conference re−set for 6/18/2008 09:30 AM in Courtroom
                 28A before Judge Colleen Kollar−Kotelly. (dot, ) (Entered: 05/16/2007)
05/14/2007   61 SCHEDULING ORDER: Settlement Conference set for 5/13/2008, at 10:30 AM in
                Chambers before Magistrate Judge Alan Kay. Signed by Magistrate Judge Alan Kay
                on 05/14/07. (DM) (Entered: 05/14/2007)
05/25/2007   62 MOTION to Amend/Correct 14 Answer to Amended Complaint,, Counterclaim, 12
                Amended Complaint by JUDICIAL WATCH, INC., THOMAS J. FITTON
                (Attachments: # 1 Exhibit 1# 2 Exhibit 1A# 3 Exhibit 1B# 4 Exhibit 1C# 5 Exhibit
                1D# 6 Exhibit 1E# 7 Exhibit 1F# 8 Exhibit 1G# 9 Exhibit 1H# 10 Exhibit 1I# 11
                Exhibit 1J# 12 Exhibit 1K# 13 Exhibit 1L# 14 Exhibit 1M# 15 Exhibit 1N# 16 Exhibit
                1O# 17 Exhibit 1P# 18 Exhibit 1Q# 19 Text of Proposed Order Granting Motion for
                Leave)(Driscoll, Richard) (Entered: 05/25/2007)
06/01/2007   63 NOTICE of Praecipe of Intent to Oppose Motion For Leave To Amend Counterclaim
                and To Seek Discovery and Sanctions by LARRY KLAYMAN (Dugan, Daniel)
                (Entered: 06/01/2007)
06/11/2007   64 Memorandum in opposition to re 62 MOTION to Amend/Correct 14 Answer to
                Amended Complaint,, Counterclaim, 12 Amended Complaint MOTION to
                Amend/Correct 14 Answer to Amended Complaint,, Counterclaim, 12 Amended
                Complaint MOTION to Amend/Correct 14 Answer to Amended Complaint,,
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                 Counterclaim, 12 Amended Complaint and Cross Motion for Sanctions filed by
                 LARRY KLAYMAN. (Attachments: # 1 Exhibit A# 2 Exhibit B# 3)(Dugan, Daniel)
                 (Entered: 06/11/2007)
06/11/2007   68 Cross MOTION for Sanctions by LARRY KLAYMAN. (See Docket Entry 64 to view
                document). (nmw, ) (Entered: 06/22/2007)
06/13/2007   65 INTERROGATORIES Propounded to Plaintiff Klayman by JUDICIAL WATCH,
                INC..(Driscoll, Richard) (Entered: 06/13/2007)
06/13/2007   66 REQUEST for Production of Documents by CHRISTOPHER FARRELL, PAUL
                ORFANEDES, JUDICIAL WATCH, INC., THOMAS J. FITTON.(Driscoll, Richard)
                (Entered: 06/13/2007)
06/21/2007   67 REPLY to opposition to motion re 62 MOTION to Amend/Correct 14 Answer to
                Amended Complaint,, Counterclaim, 12 Amended Complaint MOTION to
                Amend/Correct 14 Answer to Amended Complaint,, Counterclaim, 12 Amended
                Complaint MOTION to Amend/Correct 14 Answer to Amended Complaint,,
                Counterclaim, 12 Amended Complaint filed by JUDICIAL WATCH, INC., THOMAS
                J. FITTON. (Attachments: # 1 Exhibit 1# 2 Exhibit 2# 3 Exhibit 3# 4 Exhibit
                4)(Driscoll, Richard) (Entered: 06/21/2007)
06/21/2007   69 Memorandum in opposition to re 68 MOTION for Sanctions filed by JUDICIAL
                WATCH, INC., THOMAS J. FITTON. (See Docket Entry 67 to view document).
                (nmw, ) (Entered: 06/22/2007)
07/02/2007   70 MOTION for Leave to File Reply Memorandum by LARRY KLAYMAN
                (Attachments: # 1 Text of Proposed Order # 2 Memorandum to be filed with leave# 3
                Exhibit 1# 4 Exhibit 2# 5 Exhibit 3# 6 Affidavit of service)(Dugan, Daniel) (Entered:
                07/02/2007)
07/03/2007       MINUTE ORDER denying without prejudice 70 Motion for Leave to File Reply
                 Memorandum, as it appears that Plaintiff's counsel has not complied with Local Civil
                 Rule 7(m). Signed by Judge Colleen Kollar−Kotelly on July 3, 2007. (lcckk2)
                 (Entered: 07/03/2007)
07/05/2007   71 Second MOTION for Leave to File Reply in Support of Sanctions Motion by LARRY
                KLAYMAN (Attachments: # 1 Text of Proposed Order # 2 Exhibit Proposed Reply
                Memorandum# 3 Exhibit Exhibit 1# 4 Exhibit Exhibit 2# 5 Exhibit Exhibit 3# 6
                Affidavit Affidavit of Service)(Dugan, Daniel) (Entered: 07/05/2007)
10/01/2007       MINUTE ORDER. On July 5, 2007, Plaintiff filed a 71 Second Motion for Leave to
                 File a Reply Memorandum in Support of his Cross−Motion for Sanctions. Plaintiff
                 indicates that Defendants do not oppose Plaintiff's Motion, on the condition that
                 Defendants are granted leave to file an additional response or sur−reply "to address
                 any new documents or issues presented in the Reply." Accordingly, 71 Plaintiff's
                 Second Motion for Leave to File is GRANTED. Only in the event that Plaintiff's
                 Reply raises new documents or issues, Defendants may file an additional response to
                 that Reply on or before October 8, 2007. Signed by Judge Colleen Kollar−Kotelly on
                 October 1, 2007. (lcckk2) (Entered: 10/01/2007)
10/09/2007   72 SURREPLY to re 68 MOTION for Sanctions by plaintiff filed by CHRISTOPHER
                FARRELL, PAUL ORFANEDES, JUDICIAL WATCH, INC., THOMAS J. FITTON.
                (Haller Simonyi, Juli) (Entered: 10/09/2007)
10/16/2007   73 MOTION for Protective Order by CHRISTOPHER FARRELL, PAUL ORFANEDES,
                JUDICIAL WATCH, INC., THOMAS J. FITTON (Attachments: # 1 Memorandum of
                Points and Authorities# 2 Exhibit 1# 3 Exhibit 2# 4 Exhibit 3# 5 Exhibit 4# 6 Exhibit
                5# 7 Exhibit 6# 8 Exhibit 7# 9 Exhibit 8# 10 Exhibit 9# 11 Exhibit 10# 12 Exhibit 11#
                13 Exhibit 12# 14 Exhibit 13# 15 Exhibit 14# 16 Exhibit 15# 17 Exhibit 16# 18
                Exhibit 17# 19 Exhibit 18# 20 Text of Proposed Order)(Driscoll, Richard) (Entered:
                10/16/2007)
10/29/2007   74 Memorandum in opposition to re 73 MOTION for Protective Order filed by LARRY
                KLAYMAN. (Attachments: # 1 Text of Proposed Order)(Dugan, Daniel) (Entered:
                10/29/2007)
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11/05/2007   75 REPLY to opposition to motion re 73 MOTION for Protective Order filed by
                CHRISTOPHER FARRELL, PAUL ORFANEDES, JUDICIAL WATCH, INC.,
                THOMAS J. FITTON. (Attachments: # 1 Exhibit 1# 2 Exhibit 2)(Driscoll, Richard)
                (Entered: 11/05/2007)
11/05/2007   76 MOTION to Quash Subpoenas, or in the Alternative for Protective Order by LARRY
                KLAYMAN (Attachments: # 1 Memorandum of Points and Authorities# 2 Exhibit A
                − ATA Subpoena# 3 Exhibit B − Chester Subpoena# 4 Exhibit C − Response
                Subpoena# 5 Exhibit D − Diener Subpoena)(Dugan, Daniel) (Entered: 11/05/2007)
11/05/2007   77 MOTION (in the alternative) for Protective Order by LARRY KLAYMAN. (See
                Docket Entry 76 to view document). (nmw, ) (Entered: 11/06/2007)
11/19/2007   78 Memorandum in opposition to re 76 MOTION to Quash Subpoenas, or in the
                Alternative for Protective Order, 77 MOTION for Protective Order filed by
                CHRISTOPHER FARRELL, PAUL ORFANEDES, JUDICIAL WATCH, INC.,
                THOMAS J. FITTON. (Attachments: # 1 Exhibit 1# 2 Exhibit 2# 3 Exhibit 3, copy of
                Nation article)(Haller Simonyi, Juli) (Entered: 11/19/2007)
11/27/2007   79 Joint MOTION for Extension of Time to Complete Discovery by CHRISTOPHER
                FARRELL, PAUL ORFANEDES, JUDICIAL WATCH, INC., THOMAS J. FITTON
                (Attachments: # 1 Text of Proposed Order)(Driscoll, Richard) (Entered: 11/27/2007)
11/27/2007   80 REPLY to opposition to motion re 76 MOTION to Quash Subpoenas, or in the
                Alternative for Protective Order, 77 MOTION for Protective Order filed by LARRY
                KLAYMAN. (Attachments: # 1 Exhibit A − Newsletter# 2 Exhibit B − Objections to
                Subpoena# 3 Exhibit C − Second Objections to Subpoena)(Dugan, Daniel) (Entered:
                11/27/2007)
12/03/2007   81 ORDER GRANTING 62 Judicial Watch's Motion for Leave to Amend Counterclaim;
                and DENYING 65 Plaintiff's Cross−Motion for Sanctions. Signed by Judge Colleen
                Kollar−Kotelly on December 3, 2007. (lcckk2) (Entered: 12/03/2007)
12/03/2007   82 MEMORANDUM OPINION. Signed by Judge Colleen Kollar−Kotelly on December
                3, 2007. (lcckk2) (Entered: 12/03/2007)
12/03/2007   83 ORDER. For the reasons set forth in the accompanying Memorandum Opinion, 73
                Defendants' Motion for Protective Order is GRANTED−IN−PART and
                DENIED−IN−PART and the use of any information obtained during discovery in this
                matter is limited to the strict context of this litigation. Signed by Judge Colleen
                Kollar−Kotelly on December 3, 2007. (lcckk2) (Entered: 12/03/2007)
12/03/2007   84 MEMORANDUM OPINION. Signed by Judge Colleen Kollar−Kotelly on December
                3, 2007. (lcckk2) (Entered: 12/03/2007)
12/03/2007   85 ORDER. This case has been referred to Magistrate Judge Alan Kay for the disposition
                of all pending and future discovery−related motions pursuant to LCvR 72.2(a). In
                particular, 76 Plaintiff's Motion to Quash Subpoenas, or Alternatively for Protective
                Order, is referred to Magistrate Judge Kay. Signed by Judge Colleen Kollar−Kotelly
                on December 3, 2007. (lcckk2) (Entered: 12/03/2007)
12/03/2007       MINUTE ORDER granting 79 Joint Motion to Modify "Amended" Scheduling and
                 Procedure Order. The deadline for fact discovery in the instant case is hereby extended
                 through and including January 31, 2008. Signed by Judge Colleen Kollar−Kotelly on
                 December 3, 2007. (lcckk2) (Entered: 12/03/2007)
12/03/2007   86 AMENDED COUNTERCLAIM against LARRY KLAYMAN filed by JUDICIAL
                WATCH, INC., THOMAS J. FITTON. (Attachments: # 1 Exhibit 1A# 2 Exhibit 1B#
                3 Exhibit 1C# 4 Exhibit 1D# 5 Exhibit 1E# 6 Exhibit 1F# 7 Exhibit 1G# 8 Exhibit
                1H# 9 Exhibit 1I# 10 Exhibit 1J# 11 Exhibit 1K# 12 Exhibit 1L# 13 Exhibit 1M# 14
                Exhibit 1N# 15 Exhibit 1O# 16 Exhibit 1P# 17 Exhibit 1Q)(lc, ) (Entered: 12/04/2007)
12/03/2007       CASE REFERRED to Magistrate Judge Alan Kay for disposition of all pending and
                 future discovery−related motions, particularly motion 76 . (jeb) (Entered: 12/13/2007)
12/04/2007   87 MOTION for Leave to File Surreply by JUDICIAL WATCH, INC., THOMAS J.
                FITTON, CHRISTOPHER FARRELL, PAUL ORFANEDES (Attachments: # 1
                Supplement Surreply)(Haller Simonyi, Juli) (Entered: 12/04/2007)
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12/05/2007       Set/Reset Deadlines: Fact Discovery due by 1/31/2007. (dot, ) (Entered: 12/05/2007)
12/12/2007   88 MOTION to Compel Plaintiff's Answers to Interrogatories by JUDICIAL WATCH,
                INC., THOMAS J. FITTON, CHRISTOPHER FARRELL, PAUL ORFANEDES
                (Attachments: # 1 Supplement Memorandum of Law# 2 Text of Proposed Order
                Proposed Order# 3 Exhibit One# 4 Exhibit Two# 5 Exhibit Three# 6 Exhibit Four# 7
                Exhibit Five# 8 Exhibit Six# 9 Exhibit Seven)(Haller Simonyi, Juli) (Entered:
                12/12/2007)
12/12/2007   89 MOTION to Compel Plaintiff's Responses to Defendants' Request for Production of
                Documents by JUDICIAL WATCH, INC., THOMAS J. FITTON, CHRISTOPHER
                FARRELL, PAUL ORFANEDES (Attachments: # 1 Supplement Memorandum of
                Law# 2 Text of Proposed Order Proposed Order# 3 Exhibit One# 4 Exhibit Two# 5
                Exhibit Three# 6 Exhibit Four# 7 Exhibit Five# 8 Exhibit Six)(Haller Simonyi, Juli)
                (Entered: 12/12/2007)
12/17/2007       MINUTE ORDER granting 87 Defendants' Motion for Leave to File Surreply. Signed
                 by Magistrate Judge Alan Kay on 12/17/07. (lcak1) (Entered: 12/17/2007)
12/17/2007   90 SURREPLY to re 76 MOTION to Quash Subpoenas, or in the Alternative for
                Protective Order, 77 MOTION for Protective Order filed by CHRISTOPHER
                FARRELL, PAUL ORFANEDES, JUDICIAL WATCH, INC., THOMAS J. FITTON.
                (nmw, ) (Entered: 12/18/2007)
12/24/2007   91 Plaintiff Larry Klayman's Affirmative Defenses and ANSWER to Counterclaim of
                Fitton and Judicial Watch by LARRY KLAYMAN. Related document: 86
                Counterclaim, filed by THOMAS J. FITTON, JUDICIAL WATCH, INC..(Dugan,
                Daniel) (Entered: 12/24/2007)
12/24/2007   92 Memorandum in opposition to re 89 MOTION to Compel Plaintiff's Responses to
                Defendants' Request for Production of Documents filed by LARRY KLAYMAN.
                (Attachments: # 1 Exhibit A# 2 Exhibit B)(Dugan, Daniel) (Entered: 12/24/2007)
12/24/2007   93 Memorandum in opposition to re 88 MOTION to Compel Plaintiff's Answers to
                Interrogatories filed by LARRY KLAYMAN. (Attachments: # 1 Exhibit A# 2 Exhibit
                B)(Dugan, Daniel) (Entered: 12/24/2007)
12/31/2007   94 NOTICE of Appearance by Larry Klayman on behalf of plaintiff/counter defendant by
                LARRY KLAYMAN (Dugan, Daniel) (Entered: 12/31/2007)
01/02/2008       MINUTE ORDER setting a telephonic status conference for 1/3/08 at 1:30 pm. The
                 parties shall jointly contact chambers at (202) 354−3030. Signed by Magistrate Judge
                 Alan Kay on 1/2/08. (lcak1) (Entered: 01/02/2008)
01/03/2008       Set/Reset Hearings : Telephone Status Conference set for 1/3/08 at 1:30 PM in
                 Chambers before Magistrate Judge Alan Kay. (kk) (Entered: 01/03/2008)
01/03/2008       Minute Entry. Proceedings held before Magistrate Judge Alan Kay: Telephone
                 Conference held on 1/3/2008. (lcak1) (Entered: 01/03/2008)
01/07/2008   95 REPLY to opposition to motion re 89 MOTION to Compel Plaintiff's Responses to
                Defendants' Request for Production of Documents filed by JUDICIAL WATCH, INC.,
                THOMAS J. FITTON, CHRISTOPHER FARRELL, PAUL ORFANEDES.
                (Attachments: # 1 Exhibit A# 2 Exhibit B)(Haller Simonyi, Juli) (Entered: 01/07/2008)
01/07/2008   96 REPLY to opposition to motion re 88 MOTION to Compel Plaintiff's Answers to
                Interrogatories filed by JUDICIAL WATCH, INC., THOMAS J. FITTON,
                CHRISTOPHER FARRELL, PAUL ORFANEDES. (Haller Simonyi, Juli) (Entered:
                01/07/2008)
01/08/2008   97 MEMORANDUM ORDER denying 76 Plaintiffs' Motion to Quash; denying 77
                Plaintiffs' Motion for Protective Order. Signed by Magistrate Judge Alan Kay on
                1/8/08. (lcak1) (Entered: 01/08/2008)
01/16/2008   98 MEMORANDUM ORDER granting 88 Judicial Watch's Motion to Compel
                Interrogatories; granting 89 Judicial Watch's Motion to Compel Documents. Signed by
                Magistrate Judge Alan Kay on 1/15/08. (lcak1) (Entered: 01/16/2008)
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01/23/2008    99 Appeal of Magistrate Judge Decision to District Court by LARRY KLAYMAN
                 (Klayman, Larry) (Entered: 01/23/2008)
01/25/2008        MINUTE ORDER setting a telephone conference for 1/28/08 at 10:00 am to discuss
                  discovery disputes. Counsel shall jointly contact chambers at (202) 354−3030. Signed
                  by Magistrate Judge Alan Kay on 1/25/08. (lcak1) (Entered: 01/25/2008)
01/25/2008        MINUTE ORDER postponing the telephone conference until Wednesday, January 30,
                  2008, at 10:00 a.m. Counsel should jointly contact chambers to discuss discovery
                  matters. Signed by Magistrate Judge Alan Kay on 01/25/08. (DM) (Entered:
                  01/25/2008)
01/25/2008   100 MOTION for Extension of Time to by LARRY KLAYMAN (Klayman, Larry)
                 (Entered: 01/25/2008)
01/28/2008        Set/Reset Hearings : Telephone Conference reset for 1/30/08 at 10:00 AM in
                  Chambers before Magistrate Judge Alan Kay. (kk) (Entered: 01/28/2008)
01/29/2008   101 Memorandum in opposition to re 100 MOTION for Extension of Time to file
                 Admissions Responses filed by JUDICIAL WATCH, INC., THOMAS J. FITTON,
                 CHRISTOPHER FARRELL, PAUL ORFANEDES. (Attachments: # 1 Exhibit 1, 01
                 25 08 correspondence, # 2 Exhibit 2, 01 18 08 correspondence)(Haller Simonyi, Juli)
                 (Entered: 01/29/2008)
01/29/2008   102 REPLY to opposition to motion re 100 MOTION for Extension of Time to Plaitiff's
                 Motion for Extension of Time filed by LARRY KLAYMAN. (Klayman, Larry)
                 (Entered: 01/29/2008)
01/30/2008        MINUTE ORDER granting 100 Plaintiff's Motion for Extension of Time. Plaintiff's
                  responses to Defendants' Requests for Admissions are due on 2/14/08. In light of the
                  conversations during today's telephone conference, the following additional deadlines
                  are set: Plaintiff's responses to Defendants' intitial interrogatories and document
                  requests are due 2/20/08. The parties will meet and confer on 2/1/08 and, if necessary,
                  Defendants will file a Motion to Compel Plaintiff's supplemental discovery responses
                  by 2/6/08. Plaintiff's deposition must be conducted by 3/14/08 and the deposition of
                  Louise Benson must be conducted by 4/11/08. The parties shall notify Chambers
                  whether Phillip Shelton was successfully served with a subpoena as well as the
                  deposition date on that subpoena. Finally, the parties shall notify Chambers of the
                  dates on which Plaintiff's and Ms. Benson's depositions will be taken. Signed by
                  Magistrate Judge Alan Kay on 1/30/08. (lcak1) (Entered: 01/30/2008)
01/30/2008        MINUTE ORDER. Based on conversations with Magistrate Judge Alan Kay, who has
                  spoken with the parties, the Court understands that there will be no expert discovery in
                  this matter. Accordingly, the deadline for fact discovery is extended until the overall
                  discovery deadline of May 15, 2008. Signed by Judge Colleen Kollar−Kotelly on
                  January 30, 2008. (lcckk2) (Entered: 01/30/2008)
01/30/2008        Minute Entry. Proceedings held before Magistrate Judge Alan Kay: Telephone
                  Conference held on 1/30/2008. (lcak1) (Entered: 01/30/2008)
01/31/2008        Set Deadlines/Hearings : Plaintiffs' Responses to Defendants' Requests for Admissions
                  due by 2/14/08; Plaintiffs' Responses to Defendants' Initial Interrogatories and
                  Document Requests due by 2/20/08; Parties to meet and confer on 2/1/08; if filed,
                  Defendants' Motion to Compel Plaintiffs' Supplemental Discovery Responses due by
                  2/6/08. (kk) (Entered: 01/31/2008)
01/31/2008   103 Appeal of Magistrate Judge Decision to District Court by LARRY KLAYMAN
                 (Klayman, Larry) (Entered: 01/31/2008)
01/31/2008   104 NOTICE Praecipe per Order of 01 30 08 by JUDICIAL WATCH, INC., THOMAS J.
                 FITTON, CHRISTOPHER FARRELL, PAUL ORFANEDES (Haller Simonyi, Juli)
                 (Entered: 01/31/2008)
02/04/2008   105 RESPONSE re 99 Appeal of Magistrate Judge Decision to District Court filed by
                 CHRISTOPHER FARRELL, PAUL ORFANEDES, JUDICIAL WATCH, INC.,
                 THOMAS J. FITTON. (Driscoll, Richard) (Entered: 02/04/2008)
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02/06/2008   106 MOTION to Compel Defendants' Supplemental Requests for Production by
                 JUDICIAL WATCH, INC., THOMAS J. FITTON, CHRISTOPHER FARRELL,
                 PAUL ORFANEDES (Attachments: # 1 Supplement Memorandum of Law, # 2
                 Exhibit Two, # 3 Exhibit Three, # 4 Exhibit Five, # 5 Exhibit Six, # 6 Exhibit Seven, #
                 7 Exhibit Eight, # 8 Exhibit Nine, # 9 Exhibit Eleven, # 10 Exhibit Thirteen, # 11
                 Exhibit Twelve, # 12 Exhibit Four A, # 13 Exhibit Four B, # 14 Exhibit Ten−A, # 15
                 Exhibit Ten−B, # 16 Exhibit Ten−C, # 17 Exhibit One)(Haller Simonyi, Juli) (Entered:
                 02/06/2008)
02/11/2008   107 ENTERED IN ERROR.....Memorandum in opposition to re 106 MOTION to Compel
                 Defendants' Supplemental Requests for Production filed by LARRY KLAYMAN.
                 (Klayman, Larry) Modified on 2/12/2008 (jf, ). (Entered: 02/11/2008)
02/11/2008   108 RESPONSE re 103 Appeal of Magistrate Judge Decision to District Court Order of
                 January 16, 2008 filed by CHRISTOPHER FARRELL, PAUL ORFANEDES,
                 JUDICIAL WATCH, INC., THOMAS J. FITTON. (Attachments: # 1 Exhibit
                 1)(Driscoll, Richard) (Entered: 02/11/2008)
02/12/2008        NOTICE OF CORRECTED DOCKET ENTRY: Document No. re 107 Memorandum
                  in Opposition was entered in error at the direction of counsel. (jf, ) (Entered:
                  02/12/2008)
02/12/2008   109 REPLY re 103 To Defendants' Response to Magistrate Judge's Memorandum Order
                 Of January 8, 2008 Concerning Third Party Subpoenas filed by LARRY KLAYMAN.
                 (Klayman, Larry) Modified on 2/13/2008 (nmw, ). (Entered: 02/12/2008)
02/14/2008   110 REQUEST for Admissions by LARRY KLAYMAN.(Klayman, Larry) (Entered:
                 02/14/2008)
02/22/2008   111 REPLY re: 103 Appeal of Magistrate Judge Decision to District Court by LARRY
                 KLAYMAN (Klayman, Larry) Modified on 2/25/2008 (nmw, ). (Entered: 02/22/2008)
02/25/2008   112 MOTION for Extension of Time to Respond to motion to compel supplemental
                 document requests of defendants by LARRY KLAYMAN (Attachments: # 1
                 Affidavit)(Klayman, Larry) (Entered: 02/25/2008)
02/26/2008        MINUTE ORDER granting 112 Plainitff's Motion for Extension of Time to Respond
                  to Defendants' Motion to Compel. Plaintiff's opposition is now due on or before
                  3/3/08. Signed by Magistrate Judge Alan Kay on 2/26/08. (lcak1) (Entered:
                  02/26/2008)
03/03/2008   113 Memorandum in opposition to re 106 MOTION to Compel Defendants' Supplemental
                 Requests for Production Plaintiff's Opposition to Defendants' Motion to Compel
                 Plaintiff's Responses to Defendants' Supplemental Requests for Production of
                 Documents and Cross Motion for Protective ORder and Reconsideration filed by
                 LARRY KLAYMAN. (Attachments: # 1 Exhibit exhibit 1, # 2 Exhibit exhibit 2, # 3
                 Exhibit exhibit 3, # 4 Exhibit exhibit 4, # 5 Exhibit exhibit 5, # 6 Exhibit exhibit
                 6)(Klayman, Larry) (Entered: 03/03/2008)
03/04/2008   114 STATUS REPORT PURSUANT TO 01/30/08 MINUTE ORDER by CHRISTOPHER
                 FARRELL, PAUL ORFANEDES, JUDICIAL WATCH, INC., THOMAS J. FITTON.
                 (Driscoll, Richard) (Entered: 03/04/2008)
03/10/2008   115 NOTICE of Objection To Subpoena by DAVID P. DURBIN. (May, John) Modified
                 filer on 3/11/2008 (nmw, ). (Entered: 03/10/2008)
03/10/2008   116 REPLY to opposition to motion re 106 MOTION to Compel Defendants'
                 Supplemental Requests for Production filed by CHRISTOPHER FARRELL, PAUL
                 ORFANEDES, JUDICIAL WATCH, INC., THOMAS J. FITTON. (Attachments: # 1
                 Exhibit No. 1)(Driscoll, Richard) (Entered: 03/10/2008)
03/11/2008   118 NOTICE of Appearance by Hamilton Phillips Fox, III on behalf of HERBERT
                 BELLER, SUTHERLAND ASBILL & BRENNAN LLP (nmw, ) (Entered:
                 03/12/2008)
03/11/2008   119 NOTICE of Objection to Subpoena by HERBERT BELLER, SUTHERLAND
                 ASBILL & BRENNAN LLP (nmw, ) (Entered: 03/12/2008)
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03/12/2008   117 MEMORANDUM ORDER granting in part and denying in part 106 Defendants'
                 Motion to Compel and granting Defendants' request for sanctions. Signed by
                 Magistrate Judge Alan Kay on 3/12/08. (lcak1) (Entered: 03/12/2008)
03/12/2008   120 MOTION to Quash SUBPOENAS DUCES TECUM TO LAWYERS FOR LARRY
                 KLAYMAN WHO ASSISTED IN NEGOTIATION OF THE SEVERANCE
                 AGREEMENT AND MOTION FOR RECONSIDERATION by LARRY KLAYMAN
                 (Attachments: # 1 Exhibit exhibit 1 − subpoenas)(Klayman, Larry) (Entered:
                 03/12/2008)
03/13/2008   121 MOTION to Continue OF DEPOSITION DATE OF LARRY KLAYMAN by LARRY
                 KLAYMAN (Attachments: # 1 Exhibit exhibit 1, # 2 Exhibit Exhibit 2, # 3 Exhibit
                 Exhibit 3)(Klayman, Larry) (Entered: 03/13/2008)
03/13/2008        MINUTE ORDER granting − over Defendants' objection − 121 Plaintiff's Motion for
                  Brief Continuance of Deposition Date of Larry Klayman. The deadline for Larry
                  Klayman's deposition is exended until March 24, 2008. Additionally, within five days
                  of this Minute Order Plaintiff shall provide this Court with the following information:
                  (1) the name of the case in Miami that conflicted with the deposition date of March 14,
                  (2) the name of the judge assigned to that case, and (3) the date on which the judge in
                  Miami scheduled the motions hearing for March 14. Signed by Magistrate Judge Alan
                  Kay on 3/13/08. (lcak1) (Entered: 03/13/2008)
03/14/2008   122 MOTION for Reconsideration re Order on Motion to Continue,, by CHRISTOPHER
                 FARRELL, PAUL ORFANEDES, JUDICIAL WATCH, INC., THOMAS J. FITTON
                 (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, # 5 Exhibit
                 5)(Driscoll, Richard) (Entered: 03/14/2008)
03/18/2008        MINUTE ORDER setting a telephone conference for 3/19/08 at 4:00 pm to discuss the
                  scheduling of Mr. Klayman's deposition. Signed by Magistrate Judge Alan Kay on
                  3/18/08. (lcak1) (Entered: 03/18/2008)
03/19/2008        Minute Entry for proceedings held before Magistrate Judge Alan Kay: Telephone
                  Conference held on 3/19/2008. Plaintiff's deposition is set for 4/8/08 beginning at
                  10:00 am in the Courthouse. The parties shall report to Chambers (Room 2333) upon
                  their arrival. Plaintiff may file a response to 122 Defendants' Motion for
                  Reconsideration within the time allowed by the Rules. (lcak1) (Entered: 03/19/2008)
03/20/2008        Set/Reset Deadlines : Deadline for taking Larry Klayman's deposition extended to
                  3/24/08. (kk) (Entered: 03/20/2008)
03/26/2008   123 Appeal of Magistrate Judge Decision to District Court by LARRY KLAYMAN
                 (Attachments: # 1 attachment, # 2 attachment Nat'l Journal Article)(Klayman, Larry)
                 (Entered: 03/26/2008)
03/26/2008   124 Appeal of Magistrate Judge Decision to District Court by JUDICIAL WATCH, INC.,
                 THOMAS J. FITTON, CHRISTOPHER FARRELL, PAUL ORFANEDES re 117
                 Order on Motion to Compel (Haller Simonyi, Juli) (Entered: 03/26/2008)
03/27/2008   125 Appeal of Magistrate Judge Decision to District Court by LARRY KLAYMAN
                 (Attachments: # 1 attachement 1 − Plaintiff's Opposition To Defendants' Supplemental
                 Request fpr Production of Documnets and Cross Motion for Protective Order and
                 Reconsideration, # 2 Exhibit Exhibit 1−Nat'l Journal, # 3 Exhibit Exhibit 2−e−mail, #
                 4 Exhibit Exhibit 3−Article, # 5 Exhibit Exhibit 4−DC Bar Counsel Letter, # 6 Exhibit
                 Exhibit 5−e−mail, # 7 Exhibit Exhibit 6−letter)(Klayman, Larry) (Entered:
                 03/27/2008)
03/27/2008   126 MOTION to Quash Subpoenas of Phillip Sheldon and Diener Consultants, or
                 Alternatively for Protective Order by LARRY KLAYMAN (Klayman, Larry)
                 (Additional attachment(s) added on 3/28/2008: # 1 Memorandum in Support, # 2
                 subpoena, # 3 subpoena) (nmw, ). (Entered: 03/27/2008)
03/27/2008   127 ENTERED IN ERROR..... MOTION for Discovery For Plaintiff's Memorandum of
                 Points and Authorities in support of motion to Quash subpoeans of Phillip Sheldon
                 and Diener Consultants or, Alternatively for Protective Order by LARRY
                 KLAYMAN (Attachments: # 1 subpoena, # 2 subpoena)(Klayman, Larry) Modified
                 on 3/28/2008 (nmw, ). (Entered: 03/27/2008)
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03/27/2008   128 MOTION (alternatively) for Protective Order by LARRY KLAYMAN. (See Docket
                 Entry 126 to view document). (nmw, ) (Entered: 03/28/2008)
03/28/2008        NOTICE OF CORRECTED DOCKET ENTRY: Docket Entry 127 MOTION for
                  Discovery For Plaintiff's Memorandum of Points and Authorities in support of motion
                  to Quash subpoeans of Phillip Sheldon and Diener Consultants or, Alternatively for
                  Protective Order was entered in error as a separate motion and the attached documents
                  have been added to Docket Entry 126 MOTION to Quash. (nmw, ) (Entered:
                  03/28/2008)
03/28/2008   129 Memorandum in opposition to re 126 MOTION to Quash Subpoenas of Phillip
                 Sheldon and Diener Consultants, or Alternatively for Protective Order, 127 MOTION
                 for Discovery For Plaintiff's Memorandum of Points and Authorities in support of
                 motion to Quash subpoeans of Phillip Sheldon and Diener Consultants or,
                 Alternatively for Protective Order, 128 MOTION for Protective Order filed by
                 JUDICIAL WATCH, INC., THOMAS J. FITTON, CHRISTOPHER FARRELL,
                 PAUL ORFANEDES. (Attachments: # 1 Exhibit One, # 2 Exhibit Two)(Haller
                 Simonyi, Juli) (Entered: 03/28/2008)
03/28/2008   130 Memorandum in opposition to re 126 MOTION to Quash Subpoenas of Phillip
                 Sheldon and Diener Consultants, or Alternatively for Protective Order, 127 MOTION
                 for Discovery For Plaintiff's Memorandum of Points and Authorities in support of
                 motion to Quash subpoeans of Phillip Sheldon and Diener Consultants or,
                 Alternatively for Protective Order, 128 MOTION for Protective Order CORRECTED
                 filed by JUDICIAL WATCH, INC., THOMAS J. FITTON, CHRISTOPHER
                 FARRELL, PAUL ORFANEDES. (Attachments: # 1 Exhibit One, # 2 Exhibit Two, #
                 3 Exhibit Three, # 4 Exhibit Four)(Haller Simonyi, Juli) (Entered: 03/28/2008)
03/31/2008        MINUTE ORDER directing the parties to jointly contact Chambers at 202−354−3030
                  on April 1, 2008 at 3:00 pm to schedule a discovery status conference. Signed by
                  Magistrate Judge Alan Kay on 3/31/08. (lcak1) (Entered: 03/31/2008)
03/31/2008   131 BILL OF COSTS PURSUANT TO 03/12/08 MEMORANDUM ORDER by
                 CHRISTOPHER FARRELL, PAUL ORFANEDES, JUDICIAL WATCH, INC.,
                 THOMAS J. FITTON. (Driscoll, Richard) (Entered: 03/31/2008)
03/31/2008   132 Memorandum in opposition to re 120 MOTION to Quash SUBPOENAS DUCES
                 TECUM TO LAWYERS FOR LARRY KLAYMAN WHO ASSISTED IN NEGOTIATION
                 OF THE SEVERANCE AGREEMENT AND MOTION FOR RECONSIDERATION
                 filed by JUDICIAL WATCH, INC., THOMAS J. FITTON, CHRISTOPHER
                 FARRELL, PAUL ORFANEDES. (Attachments: # 1 Exhibit Two, # 2 Exhibit One, #
                 3 Text of Proposed Order)(Haller Simonyi, Juli) (Entered: 03/31/2008)
04/01/2008        Minute Entry for proceedings held before Magistrate Judge Alan Kay: Telephone
                  Conference held on 4/1/2008. (lcak1) (Entered: 04/01/2008)
04/01/2008        MINUTE SCHEDULING ORDER: Hearing on Plaintiff's Motions to Quash 120 and
                  126 set for 4/17/2008 at 2:00 PM in Courtroom 7 before Magistrate Judge Alan Kay.
                  Signed by Magistrate Judge Alan Kay on 4/1/08. (lcak1) (Entered: 04/01/2008)
04/01/2008   133 Consent MOTION for Extension of Time to File Response/Reply as to 120 MOTION
                 to Quash SUBPOENAS DUCES TECUM TO LAWYERS FOR LARRY KLAYMAN
                 WHO ASSISTED IN NEGOTIATION OF THE SEVERANCE AGREEMENT AND
                 MOTION FOR RECONSIDERATION by JUDICIAL WATCH, INC., THOMAS J.
                 FITTON, CHRISTOPHER FARRELL, PAUL ORFANEDES (Attachments: # 1 Text
                 of Proposed Order)(Haller Simonyi, Juli) (Entered: 04/01/2008)
04/01/2008        MINUTE ORDER granting 133 Defendants' Consent Motion for Extension of Time to
                  File Response/Reply as to 120 Plaintiff's Motion to Quash. Signed by Magistrate
                  Judge Alan Kay on 4/1/08 nunc pro tunc to 3/26/08. (lcak1) (Entered: 04/01/2008)
04/02/2008   134 ORDER. Plaintiff's 99 Objections to Magistrate Judge Alan Kay's January 8, 2008
                 Memorandum Order concerning third party subpoenas, and Plaintiff's 103 Objections
                 to Magistrate Judge Kay's January 16, 2008 Memorandum Order regarding
                 Defendants' motions to compel Plaintiff's answers to interrogatories and responses to
                 requests for production of documents are OVERRULED, and Magistrate Judge Kay's
                 97 January 8, 2008 and 98 January 16, 2008 Memorandum Orders are AFFIRMED in
                 their entirety. Signed by Judge Colleen Kollar−Kotelly on April 2, 2008. (lcckk2)
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04/10/2008   135 RESPONSE re 123 Appeal of Magistrate Judge Decision to District Court, 125 Appeal
                 of Magistrate Judge Decision to District Court, filed by JUDICIAL WATCH, INC.,
                 THOMAS J. FITTON, CHRISTOPHER FARRELL, PAUL ORFANEDES. (Haller
                 Simonyi, Juli) (Entered: 04/10/2008)
04/16/2008   136 MOTION for Extension of Time to Comply With And If Neccessary Certify Magistrate
                 Judge's Orders Of January 16, 2008 and January 8, 2008 by LARRY KLAYMAN
                 (Klayman, Larry) (Entered: 04/16/2008)
04/16/2008        MINUTE ORDER. Plaintiff's 136 Motion for Extension of Time to Comply with
                  Magistrate Judge Kay's January 8 and January 16, 2008 Orders is referred to
                  Magistrate Judge Kay as part of the general referral of discovery matters. Magistrate
                  Judge Kay will address what, if any, extension Plaintiff will be granted during the
                  April 17, 2008 hearing before him in this action. In addition, Plaintiff's request that the
                  Court certify the issues addressed in Magistrate Judge Kay's January 8 and January 16,
                  2008 Orders for interlocutory appeal is DENIED. Signed by Judge Colleen
                  Kollar−Kotelly on April 16, 2008. (lcckk2) (Entered: 04/16/2008)
04/17/2008        Minute Entry for proceedings held before Magistrate Judge Alan Kay: Motion Hearing
                  held on 4/17/2008 granting Motion 136 for Extension of Time to Comply With And If
                  Neccessary Certify Magistrate Judge's Orders Of January 16, 2008 and January 8,
                  2008 filed by LARRY KLAYMAN. Taken under advisement Motion 126 to Quash
                  Subpoenas of Phillip Sheldon and Diener Consultants, or Alternatively for Protective
                  Order filed by LARRY KLAYMA. Taken under advisement Motion 120 to Quash
                  SUBPOENAS DUCES TECUM TO LAWYERS FOR LARRY KLAYMAN WHO
                  ASSISTED IN NEGOTIATION OF THE SEVERANCE AGREEMENT AND MOTION
                  FOR RECONSIDERATION filed by LARRY KLAYMAN. Plaintiff's Supplemental
                  Responses due by close of business on 4/23/2008. Additional Discovery due within 10
                  days. (Court Reporter Pro Typist.) (ldc, ) (Entered: 04/17/2008)
04/18/2008        MINUTE ORDER granting 136 Plaintiff's Motion for Extension of Time. Plaintiff has
                  until close of business on 4/23/08 to provide supplemental responses to Defendants'
                  interrogatories and document requests. If Plaintiff does not file his supplemental
                  responses by this deadline, a monetary fine will be imposed. Signed by Magistrate
                  Judge Alan Kay on 4/18/08. (lcak1) (Entered: 04/18/2008)
04/21/2008   137 ORDER denying 120 Plaintiff's Motion to Quash; denying 126 Plaintiff's Motion to
                 Quash; denying 128 Plaintiff's Motion for Protective Order. Signed by Magistrate
                 Judge Alan Kay on 4/21/08. (lcak1) (Entered: 04/21/2008)
04/21/2008   138 ORDER REGARDING SANCTIONS HEARING. Signed by Magistrate Judge Alan
                 Kay on 4/21/08. (lcak1) (Entered: 04/21/2008)
04/21/2008        MINUTE ORDER. The referral of this case to Magistrate Judge Alan Kay for
                  mediation, see Order, April 25, 2007, Docket No. 58 , is hereby TERMINATED. By
                  separate Minute Order, this case will be referred to Magistrate Judge John M. Facciola
                  for mediation. Magistrate Judge Alan Kay will continue to handle all discovery matters
                  in this case. Signed by Judge Colleen Kollar−Kotelly on April 21, 2008. (lcckk2)
                  (Entered: 04/21/2008)
04/21/2008        MINUTE ORDER. This case is hereby referred to Magistrate Judge John M. Facciola
                  for mediation. The Clerk's Office is instructed to issue a Form 299 referring this case
                  to Magistrate Judge Facciola for mediation. Signed by Judge Colleen Kollar−Kotelly
                  on April 21, 2008. (lcckk2) (Entered: 04/21/2008)
04/22/2008        MINUTE ORDER. Mediation set for May 13, 2008 is cancelled. Case no longer
                  referred to Magistrate Judge Alan Kay for settlement. Signed by Magistrate Judge
                  Alan Kay on 04/22/08. (DM) (Entered: 04/22/2008)
04/23/2008   141 CASE REFERRED to Magistrate Judge John M. Facciola for mediation; previous
                 referral to Magistrate Judge Kay vacated. (jeb, ) (Entered: 04/28/2008)
04/25/2008   139 RESPONSE OBJECTIONS TO SUPOENAS DUCES TECUM TO MAUREEN filed by
                 LARRY KLAYMAN. (Klayman, Larry) (Entered: 04/25/2008)
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04/28/2008   140 CASE RE−REFERRED to Magistrate Judge Alan Kay for mediation. (mmh, )
                 (Entered: 04/28/2008)
04/28/2008        NOTICE OF CORRECTED DOCKET ENTRY: Referral for mediation for Magistrate
                  Kay vacated; Magistrate Kay will continue to handle discovery matters. (jeb, )
                  (Entered: 04/28/2008)
04/28/2008   142 MOTION to Quash by LARRY KLAYMAN (Klayman, Larry) (Entered: 04/28/2008)
04/29/2008   143 NOTICE OF WITHDRAWAL OF APPEARANCE as to LARRY KLAYMAN,
                 LOUISE BENSON. Attorney Daniel J. Dugan terminated. (Dugan, Daniel) (Entered:
                 04/29/2008)
04/29/2008   144 Memorandum in opposition to re 142 MOTION to Quash filed by JUDICIAL
                 WATCH, INC., THOMAS J. FITTON, CHRISTOPHER FARRELL, PAUL
                 ORFANEDES. (Attachments: # 1 Exhibit One, # 2 Exhibit Two, # 3 Exhibit Three, #
                 4 Exhibit Four, # 5 Exhibit Five, # 6 Exhibit Six, # 7 Exhibit Seven)(Haller Simonyi,
                 Juli) (Entered: 04/29/2008)
04/30/2008   145 ORDER re referral to Judge Facciola for settlement. Signed by Magistrate Judge John
                 M. Facciola on 4/30/08. (SP, ) (Entered: 04/30/2008)
04/30/2008        Minute Entry for proceedings held before Magistrate Judge Alan Kay: Telephone
                  Conference held on 4/30/2008. (lcak1) (Entered: 04/30/2008)
04/30/2008        MINUTE ORDER setting a sanctions hearing for May 13, 2008 at 10:00 am in
                  Courtroom 7. Signed by Magistrate Judge Alan Kay on 4/30/08. (lcak1) (Entered:
                  04/30/2008)
04/30/2008        MINUTE ORDER. Because the parties could not reach an agreement regarding the
                  ordering of depositions, the Court will set the order as follows: The continuation of
                  Mr. Klayman's deposition will take place first, to be followed by the depositions of
                  Mr. Fitton and Ms. Rorup. Signed by Magistrate Judge Alan Kay on 4/30/08. (lcak1)
                  (Entered: 04/30/2008)
05/01/2008   146 MOTION to Permit Inspection of Records Before Production by LARRY KLAYMAN
                 (Klayman, Larry) (Entered: 05/01/2008)
05/02/2008   147 ENTERED IN ERROR..... MOTION to Stay Of Proceedings Pending Expedited
                 Mediation or in the Alternative Motion for Short Extension of Discovery Deadline To
                 Allow Mediation To Proceed and For Plaintiff to Obtain Insurance Defense Counsel
                 by LARRY KLAYMAN (Klayman, Larry) Modified on 5/5/2008 (nmw, ). (Entered:
                 05/02/2008)
05/02/2008   148 MOTION to Stay (EXPEDITED) of Proceedings Pending Expedited Mediation or in
                 the Alternative Motion for Short Extension of Discovery Deadline to Allow Mediation
                 to Proceed and for Plaintiff to Obtain Insurance Defense Counsel by LARRY
                 KLAYMAN (Klayman, Larry) (Entered: 05/02/2008)
05/02/2008   149 ERRATA by LARRY KLAYMAN 148 MOTION to Stay (EXPEDITED) of
                 Proceedings Pending Expedited Mediation or in the Alternative Motion for Short
                 Extension of Discovery Deadline to Allow Mediation to Proceed and for Plaintiff to
                 Obtain Insurance Defense Counsel MOTION to Stay (EXPEDITED) of Proceedings
                 Pending Expedited Mediation or in the Alternative Motion for Short Extension of
                 Discovery Deadline to Allow Mediation to Proceed and for Plaintiff to Obtain
                 Insurance Defense Counsel filed by LARRY KLAYMAN. (Attachments: # 1 Exhibit
                 Notice of Deposition)(Klayman, Larry) (Entered: 05/02/2008)
05/02/2008        Set/Reset Hearings: Settlement Conference set for 5/21/2008 at 10:00 AM in
                  Chambers before Magistrate Judge John M. Facciola. (SP, ) (Entered: 05/02/2008)
05/02/2008   150 REPLY to Opposition re 142 MOTION to Quash Plaintiff's Reply Memorandum to
                 Defendants' Opposition to Plaintiff's Motion to Quash filed by LARRY KLAYMAN.
                 (Klayman, Larry) Modified on 5/5/2008 (nmw, ). (Entered: 05/02/2008)
05/02/2008   152 MOTION (in the alternative) for Extension of Time to Complete Discovery by
                 LARRY KLAYMAN. (See Docket Entry 148 to view document). (nmw, ) (Entered:
                 05/05/2008)
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05/05/2008   151 SUPPLEMENTAL MEMORANDUM to Expedited Motion to for Stay of Proceedings
                 Pending Expedited Mediation or in the Alternative Motion for Short Extension of
                 Discovery Deadline to Allow Mediation to Proceed & for Plaintiff to Obtain Insurance
                 Defense Co−Counsel filed by LARRY KLAYMAN. (Klayman, Larry) (Entered:
                 05/05/2008)
05/05/2008        NOTICE OF CORRECTED DOCKET ENTRY: Docket Entry 147 MOTION to Stay
                  was entered in error and as a duplicate of Docket Entry 148 . (nmw, ) (Entered:
                  05/05/2008)
05/05/2008   153 MEMORANDUM ORDER denying 142 Plaintiff's Motion to Quash. Signed by
                 Magistrate Judge Alan Kay on 5/5/08. (lcak1) (Entered: 05/05/2008)
05/05/2008   154 Appeal of Magistrate Judge Decision to District Court by LARRY KLAYMAN re 137
                 Order on Motion to Quash,, Order on Motion for Protective Order (Attachments: # 1
                 Exhibit Exhibit 1−Motion to Quash, # 2 Exhibit Exhibit 2 − Motion to Quash, # 3
                 Exhibit Exhibit 3−Subpoena)(Klayman, Larry) (Entered: 05/05/2008)
05/05/2008   155 Memorandum in opposition to re 152 MOTION for Extension of Time to Complete
                 Discovery, 148 MOTION to Stay (EXPEDITED) of Proceedings Pending Expedited
                 Mediation or in the Alternative Motion for Short Extension of Discovery Deadline to
                 Allow Mediation to Proceed and for Plaintiff to Obtain Insurance Defense Counsel
                 MOTION to Stay (EXPEDITED) of Proceedings Pending Expedited Mediation or in
                 the Alternative Motion for Short Extension of Discovery Deadline to Allow Mediation
                 to Proceed and for Plaintiff to Obtain Insurance Defense Counsel filed by
                 CHRISTOPHER FARRELL, PAUL ORFANEDES, JUDICIAL WATCH, INC.,
                 THOMAS J. FITTON. (Attachments: # 1 Exhibit 1a, # 2 Exhibit 1b, # 3 Exhibit 2, # 4
                 Text of Proposed Order)(Driscoll, Richard) (Entered: 05/05/2008)
05/06/2008   156 MOTION to Quash and Objections to Deposition of Stephanie DeLuca (Formerly
                 Klayman) by LARRY KLAYMAN (Attachments: # 1 Exhibit Exhibit 1 Notice of
                 Deposition)(Klayman, Larry) (Entered: 05/06/2008)
05/06/2008        MINUTE ORDER. Plaintiff has moved to quash a subpoena issued to Stephanie Ann
                  DeLuca. Ms. DeLuca's deposition is scheduled for May 12, 2008. In an attempt to
                  resolve this issue prior to May 12, Defendants are hereby ordered to file any
                  Opposition to Plaintiff's Motion by close of business on May 8. The parties shall
                  jointly contact Chambers on May 9 at 4:00 pm for a telephone conference on Plaintiff's
                  Motion. Signed by Magistrate Judge Alan Kay on 5/6/08. (lcak1) (Entered:
                  05/06/2008)
05/06/2008   157 REPLY to opposition to motion re 152 MOTION for Extension of Time to Complete
                 Discovery, 148 MOTION to Stay (EXPEDITED) of Proceedings Pending Expedited
                 Mediation or in the Alternative Motion for Short Extension of Discovery Deadline to
                 Allow Mediation to Proceed and for Plaintiff to Obtain Insurance Defense Counsel
                 MOTION to Stay (EXPEDITED) of Proceedings Pending Expedited Mediation or in
                 the Alternative Motion for Short Extension of Discovery Deadline to Allow Mediation
                 to Proceed and for Plaintiff to Obtain Insurance Defense Counsel For Short Stay of
                 Proceedings or, in the Alternative, Motion for Short Extension of Discovery Deadline
                 filed by LARRY KLAYMAN. (Attachments: # 1 Exhibit Exhibit 1)(Klayman, Larry)
                 (Entered: 05/06/2008)
05/07/2008   158 Memorandum in opposition to re 146 MOTION to Permit Inspection of Records
                 Before Production filed by JUDICIAL WATCH, INC., THOMAS J. FITTON,
                 CHRISTOPHER FARRELL, PAUL ORFANEDES. (Attachments: # 1 Exhibit One, #
                 2 Exhibit Two, # 3 Exhibit Three, # 4 Exhibit Four, # 5 Exhibit Five, # 6 Text of
                 Proposed Order)(Haller Simonyi, Juli) (Entered: 05/07/2008)
05/07/2008   159 MOTION for Sanctions to Reset Deposition of ATA and Mark Fitzgibbons and For
                 Sanctions for Premature Obtaining of Financial Information and Release into Public
                 Record Despite Protective Order by LARRY KLAYMAN (Attachments: # 1 Exhibit
                 Exhibit 1 correspondence)(Klayman, Larry) (Entered: 05/07/2008)
05/07/2008   160 Memorandum in opposition to re 159 MOTION for Sanctions to Reset Deposition of
                 ATA and Mark Fitzgibbons and For Sanctions for Premature Obtaining of Financial
                 Information and Release into Public Record Despite Protective Order filed by
                 JUDICIAL WATCH, INC., THOMAS J. FITTON, CHRISTOPHER FARRELL,
                 PAUL ORFANEDES. (Attachments: # 1 Exhibit One, # 2 Exhibit Two, # 3 Text of
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                  Proposed Order)(Haller Simonyi, Juli) (Entered: 05/07/2008)
05/07/2008        MINUTE ORDER granting in part, denying in part, and deferring ruling in part 159
                  Plaintiff's Motion to Reset Depositions of ATA and Mark Fitzgibbons and for
                  Sanctions. Because Defendants are unavailable on the alternative date suggested by
                  Plaintiff (May 9) and because Defendants have not demonstrated that they will be
                  prejudiced by rescheduling this deposition, Plaintiff's request to reschedule is granted.
                  During the telephone conference scheduled for May 9 with this Court, the parties will
                  discuss mutually convenient dates for resetting this deposition. The Court will defer
                  ruling on Plaintiff's request for sanctions until after the May 13 sanctions hearing.
                  Signed by Magistrate Judge Alan Kay on 5/7/08. (lcak1) (Entered: 05/07/2008)
05/07/2008   161 Memorandum in opposition to re 156 MOTION to Quash and Objections to
                 Deposition of Stephanie DeLuca (Formerly Klayman) filed by CHRISTOPHER
                 FARRELL, PAUL ORFANEDES, JUDICIAL WATCH, INC., THOMAS J. FITTON.
                 (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Text of Proposed Order)(Driscoll,
                 Richard) (Entered: 05/07/2008)
05/07/2008   163 MOTION to Reset Deposition by LARRY KLAYMAN. (See Docket Entry 159 to
                 view document). (nmw, ) (Entered: 05/08/2008)
05/08/2008   162 Appeal of Magistrate Judge Decision to District Court by LARRY KLAYMAN re 153
                 Order on Motion to Quash (Attachments: # 1 Exhibit Exhibit 1 Notice of
                 Deposition)(Klayman, Larry) (Entered: 05/08/2008)
05/09/2008   164 REPLY to opposition to motion re 146 MOTION to Permit Inspection of Records
                 Before Production Plaintiff's Consolidated Replies to Defendants' Oppositions
                 Concerning Plaintiff's Motion to Permit Inspection of Records Prior to Production,
                 Depositions of Stephanie DeLuca and Mark Fitzgibbons of ATA filed by LARRY
                 KLAYMAN. (Klayman, Larry) (Entered: 05/09/2008)
05/09/2008        Minute Entry for proceedings held before Magistrate Judge Alan Kay: Telephone
                  Conference held on 5/9/2008. (lcak1) (Entered: 05/09/2008)
05/09/2008   165 MEMORANDUM ORDER denying 146 Plaintiff's Motion to Permit Inspection of
                 Records Before Production. Signed by Magistrate Judge Alan Kay on 5/9/08. (lcak1)
                 (Entered: 05/09/2008)
05/09/2008        MINUTE ORDER denying 156 Motion to Quash Deposition of Stephanie DeLuca.
                  Ms. DeLuca's deposition shall take place on May 19, 2008. Defendants may not
                  inquire about documents that are the subject of this Court's March 12 order
                  denying−in−part Defendants' Motion to Compel, which is currently on appeal before
                  Judge Kollar−Kotelly. Should Judge Kollar−Kotelly reverse this Court's ruling on this
                  matter, Defendants may move to re−open Ms. DeLuca's deposition to inquire about the
                  divorce documents.. Signed by Magistrate Judge Alan Kay on 5/9/08. (lcak1)
                  (Entered: 05/09/2008)
05/09/2008        MINUTE ORDER. The depositions of Mark Fitzgibbons and ATA, previously set for
                  May 8, 2008, shall take place on May 20, 2008. Signed by Magistrate Judge Alan Kay
                  on 5/9/08. (lcak1) (Entered: 05/09/2008)
05/09/2008        MINUTE ORDER granting 163 Motion to Continue. See the above−entered Minute
                  Order for the new date of Ms. Fitzgibbons' deposition. Signed by Magistrate Judge
                  Alan Kay on 5/9/08. (lcak1) (Entered: 05/09/2008)
05/12/2008   166 ORDER denying Plaintiff Klayman's 148 Motion for Short Stay of Proceedings, and
                 denying 152 Plaintiff Klayman's alternative Motion for Short Extension of Discovery
                 Deadline. Signed by Judge Colleen Kollar−Kotelly on May 12, 2008. (lcckk2)
                 (Entered: 05/12/2008)
05/12/2008   167 ORDER. Plaintiff's 125 Objections to Magistrate Judge Alan Kay's March 12, 2008
                 Memorandum Order and Defendants' 124 Objections to that same Memorandum Order
                 are OVERRULED. Magistrate Judge Kay's 117 March 12, 2008 Memorandum Order
                 is AFFIRMED in its entirety. Signed by Judge Colleen Kollar−Kotelly on May 12,
                 2008. (lcckk2) (Entered: 05/12/2008)
05/13/2008        Minute Entry for Motions Hearing and Sanctions Hearing held before Magistrate
                  Judge Alan Kay on 5/13/08 : Defendants' Motion for Reconsideration 122 and
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                   Plaintiff's Motion for Sanctions 159 , heard and taken under advisement. (Court
                   Reporter : Pro−Typists, Inc.; Ctrm. 7) (kk) (Entered: 06/09/2008)
05/14/2008   168 BILL OF COSTS ASSOCIATED WITH POSTPONEMENT OF PLAINTIFF'S
                 MARCH 14, 2008, DEPOSITION by CHRISTOPHER FARRELL, PAUL
                 ORFANEDES, JUDICIAL WATCH, INC., THOMAS J. FITTON. (Driscoll, Richard)
                 (Entered: 05/14/2008)
05/14/2008   169 BILL OF COSTS (ADDITIONAL) ASSOCIATED WITH MOTION TO COMPEL
                 SUPPLEMENTAL REQUEST FOR PRODUCTION OF DOCUMENTS by
                 CHRISTOPHER FARRELL, PAUL ORFANEDES, JUDICIAL WATCH, INC.,
                 THOMAS J. FITTON. (Driscoll, Richard) (Entered: 05/14/2008)
05/14/2008   170 BILL OF COSTS ASSOCIATED WITH PLAINTIFF'S MOTION TO QUASH
                 SUBPOENAS DUCES TECUM TO PHILIP SHELDON AND DIENER
                 CONSULTANTS by CHRISTOPHER FARRELL, PAUL ORFANEDES, JUDICIAL
                 WATCH, INC., THOMAS J. FITTON. (Driscoll, Richard) (Entered: 05/14/2008)
05/14/2008   171 NOTICE Pracipce Concerning Hearing of May 13, 2008 by LARRY KLAYMAN
                 (Attachments: # 1 Exhibit exhibit 1)(Klayman, Larry) (Entered: 05/14/2008)
05/16/2008   172 Appeal of Magistrate Judge Decision to District Court by LARRY KLAYMAN re
                 Order on Motion to Quash,, (Attachments: # 1 Exhibit exhibit 1 − Motion to Quash
                 Depositon of Stephanie DeLuca)(Klayman, Larry) (Entered: 05/16/2008)
05/19/2008   173 Appeal of Magistrate Judge Decision to District Court by LARRY KLAYMAN re
                 Order on Motion to Quash,, (Klayman, Larry) (Entered: 05/19/2008)
05/19/2008   174 Emergency MOTION for Protective Order Clarification of Protective Order,
                 Objections to Magistrate's Order Denying Right to Review Third Party Production,
                 and Motion for Reconsideration of Order Denying Stay Proceedings by LARRY
                 KLAYMAN (Attachments: # 1 Attachment)(Klayman, Larry) (Entered: 05/19/2008)
05/19/2008   175 Appeal of Magistrate Judge Decision to District Court by LARRY KLAYMAN re 165
                 Order on Motion to Permit (Attachments: # 1 Attachment)(Klayman, Larry) (Entered:
                 05/19/2008)
05/19/2008   176 Appeal of Magistrate Judge Decision to District Court by LARRY KLAYMAN re
                 Order (Klayman, Larry) (Entered: 05/19/2008)
05/19/2008   177 Supplemental MOTION to Stay by LARRY KLAYMAN (Attachments: # 1
                 Attachment)(Klayman, Larry) (Entered: 05/19/2008)
05/19/2008   178 ORDER denying−in−part and holding−in−abeyance−in−part 174 Plaintiff's
                 Emergency Motion for Clarification of Protective Order, Objections to Magistrate
                 [Judge]'s Order Denying Right to Review Third Party Production, and Motion for
                 Reconsideration of Order Denying Stay of Proceedings, and DENYING 177 Plaintiff's
                 Supplement to Motion to Stay. Specifically, Plaintiff's Emergency Motion is DENIED
                 insofar as it seeks reconsideration of this Court's May 12, 2008 Order denying
                 Plaintiff's Motion to Stay, and insofar as it seeks clarification or modification of the
                 December 3, 2007 Protective Order in this case. Plaintiff's Emergency Motion is held
                 in abeyance insofar as it purports to contain Objections to Magistrate Judge Alan Kay's
                 165 May 9, 2008 Order Denying Plaintiff's Motion to Permit Inspection of Records
                 Before Production. Signed by Judge Colleen Kollar−Kotelly on May 19, 2008.
                 (lcckk2) (Entered: 05/19/2008)
05/19/2008   179 RESPONSE re 154 Appeal of Magistrate Judge Decision to District Court, Opposition
                 filed by JUDICIAL WATCH, INC., THOMAS J. FITTON, CHRISTOPHER
                 FARRELL, PAUL ORFANEDES. (Haller Simonyi, Juli) (Entered: 05/19/2008)
05/20/2008   180 NOTICE Praecipe Concerning Defendants' Objections and Response to Plaintiff's
                 Second Request for Production of Documents by LARRY KLAYMAN (Klayman,
                 Larry) (Entered: 05/20/2008)
05/22/2008   181 RESPONSE re 162 Appeal of Magistrate Judge Decision to District Court Opposition
                 filed by JUDICIAL WATCH, INC., THOMAS J. FITTON, CHRISTOPHER
                 FARRELL, PAUL ORFANEDES. (Attachments: # 1 Text of Proposed Order)(Haller
                 Simonyi, Juli) (Entered: 05/22/2008)
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05/27/2008   182 RESPONSE re 173 Appeal of Magistrate Judge Decision to District Court, 172 Appeal
                 of Magistrate Judge Decision to District Court filed by CHRISTOPHER FARRELL,
                 PAUL ORFANEDES, JUDICIAL WATCH, INC., THOMAS J. FITTON.
                 (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4 Text of Proposed
                 Order)(Driscoll, Richard) (Entered: 05/27/2008)
05/28/2008   183 ORDER. Plaintiff's 154 Objections to Magistrate Judge Alan Kay's April 21, 2008
                 Memorandum Order are OVERRULED and Magistrate Judge Kay's 137 April 21,
                 2008 Memorandum Order is AFFIRMED in its entirety. Signed by Judge Colleen
                 Kollar−Kotelly on May 28, 2008. (lcckk2) (Entered: 05/28/2008)
05/28/2008   184 ORDER. Plaintiff's 162 Objections to Magistrate Judge Alan Kay's May 5, 2008
                 Memorandum Order are OVERRULED, and Magistrate Judge Kay's 153 May 5, 2008
                 Memorandum Order is AFFIRMED in its entirety. Signed by Judge Colleen
                 Kollar−Kotelly on May 28, 2008. (lcckk2) (Entered: 05/28/2008)
05/28/2008   185 ORDER. Plaintiff's 182 Objections to Magistrate Judge Alan Kay's May 9, 2008
                 Minute Order are OVERRULED and Magistrate Judge Kay's May 9, 2008, 2008
                 Minute Order is AFFIRMED in its entirety. Signed by Judge Colleen Kollar−Kotelly
                 on May 28, 2008. (lcckk2) (Entered: 05/28/2008)
05/29/2008   186 NOTICE Praecipe Concerning Mediation / Settlement Conference by LARRY
                 KLAYMAN (Klayman, Larry) (Entered: 05/29/2008)
06/02/2008   187 REPLY re 186 Notice (Other) CONCERNING MEDIATION/SETTLEMENT
                 CONFERENCE filed by CHRISTOPHER FARRELL, PAUL ORFANEDES,
                 JUDICIAL WATCH, INC., THOMAS J. FITTON. (Driscoll, Richard) (Entered:
                 06/02/2008)
06/02/2008   188 RESPONSE re 175 Appeal of Magistrate Judge Decision to District Court, 176 Appeal
                 of Magistrate Judge Decision to District Court and 174 (to remaining issue) filed by
                 JUDICIAL WATCH, INC., THOMAS J. FITTON, CHRISTOPHER FARRELL,
                 PAUL ORFANEDES. (Attachments: # 1 Exhibit One)(Haller Simonyi, Juli) (Entered:
                 06/02/2008)
06/10/2008   189 ORDER. Plaintiff's 174 and 175 Objections to Magistrate Judge Alan Kay's May 9,
                 2008 Memorandum Order are OVERRULED; Plaintiff's 176 Objections to Magistrate
                 Judge Kay's May 9, 2008 Minute Order regarding the deposition of Mark Fitzgibbons
                 are OVERRULED; and Magistrate Judge Kay's 165 May 9, 2008 Memorandum Order
                 and Minute Order of the same date are AFFIRMED in their entireties. Signed by Judge
                 Colleen Kollar−Kotelly on June 10, 2008. (lcckk2) (Entered: 06/10/2008)
06/10/2008   190 ORDER. The Court has resolved all of Plaintiff's pending appeals of Magistrate Judge
                 Kay's discovery−related orders in this case, and a Status Conference shall be held in
                 this case, as scheduled, at 9:30 a.m. on Friday, June 13, 2008. Accordingly, on or
                 before 12:00 p.m. (noon) on Thursday, June 12, 2008, the parties shall file a Joint
                 Status Report with the Court. That Joint Status Report shall include, at a minimum, a
                 list of any and all discovery that remains outstanding in this matter, a proposed
                 schedule for the completion of that discovery, and an indication of whether each party
                 is interested in pursuing mediation before Magistrate Judge John M. Facciola prior to
                 the filing of dispositive motions in this case. Signed by Judge Colleen Kollar−Kotelly
                 on June 10, 2008. (lcckk2) (Entered: 06/10/2008)
06/11/2008        Set/Reset Hearings: Settlement Conference set for 6/17/2008 at 03:30 PM in Chambers
                  before Magistrate Judge John M. Facciola. (SP, ) (Entered: 06/11/2008)
06/11/2008   191 Consent MOTION RESCHEDULE STATUS CONFERENCE re 190 Order,,, by
                 CHRISTOPHER FARRELL, PAUL ORFANEDES, JUDICIAL WATCH, INC.,
                 THOMAS J. FITTON (Attachments: # 1 Text of Proposed Order)(Driscoll, Richard)
                 (Entered: 06/11/2008)
06/11/2008        ORDER granting in part and denying in part the parties' 191 Consent Motion to Reset
                  Date for Status Conference. It appears that an error was made when the upcoming
                  Status Conference was entered on the Court's calendar. In accordance with the ECF
                  docket in this case and the Court's May 9, 2007 Scheduling and Procedures Order, the
                  Status Conference shall be held at 9:30 a.m. on Wednesday, June 18, 2008. The Joint
                  Status Report described in the Court's June 10, 2008 Order 190 shall be filed by 12:00
                  p.m. (noon) on MONDAY, JUNE 16, 2008, in order to allow the Court sufficient time
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                  to review it in advance of the Status Conference. Signed by Judge Colleen
                  Kollar−Kotelly on June 11, 2008. (lcckk2) (Entered: 06/11/2008)
06/16/2008   192 NOTICE Plaintiffs Scheduling Report by LARRY KLAYMAN (Attachments: # 1
                 letter from Doctor, # 2 Order Granting Motion − Klayman V. Barmak, # 3 Klayman V.
                 Barmak Amended Complaint)(Klayman, Larry) (Entered: 06/16/2008)
06/16/2008   193 STATUS REPORT by CHRISTOPHER FARRELL, PAUL ORFANEDES,
                 JUDICIAL WATCH, INC., THOMAS J. FITTON. (Attachments: # 1 Exhibit 1, # 2
                 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, # 5 Exhibit 5)(Driscoll, Richard) (Entered:
                 06/16/2008)
06/16/2008   194 MOTION to Continue To Reset Status Conference to June 19 or 20, 2008 by LARRY
                 KLAYMAN (Klayman, Larry) (Entered: 06/16/2008)
06/16/2008        MINUTE ORDER (paperless) granting Plaintiff's 194 Motion to Reset Status
                  Conference. Plaintiff, Larry Klayman, has moved to reset the Status Conference
                  scheduled in this matter for 9:30 a.m. on Wednesday, June 18, 2008, purportedly
                  because of a conflict with a hearing set in a pending case in Florida. The Court is
                  highly skeptical of Plaintiff's assertion. While Plaintiff states that Defendants "moved
                  to have the date of the status conference reset from June 13 to June 18," the docket in
                  this case reflects that Defendants only made such a motion in order to correct an error
                  on the Court's part. The Status Conference in this case was moved from June 13, 2008
                  to June 18, 2008 more than one year ago (on May 9, 2007), and the Court's reference
                  to the June 13, 2008 date in its June 10, 2008 Order was a simple error, corrected in its
                  June 11, 2008 Minute Order after Defendants brought the issue to the Court's attention.
                  Nevertheless, it appears that defense counsel is available on June 19, 2008, as is
                  Magistrate Judge Alan Kay, who will be attending the Status Conference.
                  Accordingly, the Court shall CONTINUE the Status Conference until 9:30 a.m. on
                  Thursday, June 19, 2008. The Court warns Plaintiff Klayman, however, that it will go
                  forward with the Status Conference that morning with or without him, and will not
                  reschedule the Status Conference in any event. Signed by Judge Colleen
                  Kollar−Kotelly on June 16, 2008. (lcckk2) (Entered: 06/16/2008)
06/16/2008        Set/Reset Hearings: Status Conference re−set for 6/19/2008 09:30 AM in Courtroom
                  28A before Judge Colleen Kollar−Kotelly. (dot, ) (Entered: 06/16/2008)
06/18/2008   195 STATUS REPORT Plaintiff's Supplemental Status Report by LARRY KLAYMAN.
                 (Attachments: # 1 Attachment − Noticed Deposition)(Klayman, Larry) (Entered:
                 06/18/2008)
06/19/2008        MINUTE ORDER (paperless). The Court held a Status Conference on the record with
                  Plaintiff and Defendants' counsel in attendance at 9:30 a.m. on Thursday, June 19,
                  2008. As set forth during that Status Conference: (1) between now and July 11, 2008,
                  the parties shall work with Magistrate Judge Alan Kay to determine the scope of the
                  remaining discovery in this matter (including document productions and depositions)
                  and to set a schedule for the completion of that discovery; (2) on or before June 23,
                  2008, Plaintiff shall submit any materials regarding his claim that he noticed and
                  pursued scheduling of depositions he sought to take; (3) Defendants shall file any
                  response to Plaintiff's submission on or before June 25, 2008; (4) Magistrate Judge
                  Kay shall resolve the issue of whether Plaintiff waived the right to conduct depositions
                  in this matter; (5) the June 25, 2008 deposition of Phillip Sheldon of Diener
                  Consultants, Inc., shall go forward as scheduled; (6) Magistrate Judge Kay shall
                  resolve the issues of the scheduled July 2, 2008 deposition of Maureen Otis of
                  American Caging, Inc., the July 9, 2008 deposition of Stephanie DeLuca, and the
                  production of documents by Plaintiffs former attorney, David Durbin, Esq.; (7) all
                  discovery in this matter shall be completed by August 29, 2008; and (8) a Status
                  Conference shall be held in this matter at 2 p.m. on Tuesday, September 16, 2008.
                  Signed by Judge Colleen Kollar−Kotelly on June 19, 2008. (lcckk2) (Entered:
                  06/19/2008)
06/19/2008        MINUTE ORDER directing the parties to jointly contact Chambers at (202) 354−3030
                  by close of business tomorrow to schedule a status conference before Judge Kay. The
                  purpose of this conference will be to set a schedule for the remainder of discovery and
                  to discuss other issues that were raised during today's status conference before Judge
                  Kollar−Kotelly. The conference will occur in court and on the record and counsel for
                  both parties must appear in person. Signed by Magistrate Judge Alan Kay on 6/19/08.
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                  (lcak1) (Entered: 06/19/2008)
06/19/2008        Minute Entry for proceedings held before Judge Colleen Kollar−Kotelly: Status
                  Conference held on 6/19/2008. Discovery due by 8/29/2008. Defendants Responses to
                  Plaintiff's submission due by 6/25/2008. Status Conference set for 9/16/2008 02:00
                  PM in Courtroom 28A before Judge Colleen Kollar−Kotelly. (Court Reporter Lisa
                  Hand.) (dot, ) (Entered: 06/19/2008)
06/23/2008        MINUTE ORDER setting a telephone conference for June 24, 2008 at 12:30 pm to
                  discuss the subpoena duces tecum served on Mr. Sheldon. The parties shall jointly
                  contact Chambers at (202) 354−3030. Signed by Magistrate Judge Alan Kay on
                  6/23/08. (lcak1) (Entered: 06/23/2008)
06/24/2008        Minute Entry for proceedings held before Magistrate Judge Alan Kay: Telephone
                  Conference held on 6/24/2008. (lcak1) (Entered: 06/24/2008)
06/24/2008        Set/Reset Hearings : Telephone Conference set for 6/24/08 at 12:30 PM in Chambers
                  before Magistrate Judge Alan Kay. (kk) (Entered: 06/24/2008)
06/24/2008   196 ORDER regarding production of documents by Phillip Sheldon. Signed by Magistrate
                 Judge Alan Kay on 6/24/08. (lcak1) (Entered: 06/24/2008)
06/24/2008   197 NOTICE Praecipe on Communications with Counsel over Deposition and Related
                 Dates by LARRY KLAYMAN (Attachments: # 1 Attachment)(Klayman, Larry)
                 (Entered: 06/24/2008)
06/25/2008        Set/Reset Deadlines : Production of documents by Mr. Phillip Sheldon on a rolling
                  basis to terminate by 8/15/08; service by Mr. Sheldon on counsel and the Court of a
                  privilege log that details all responsive documents that he did not produce to
                  defendants, and simultaneous provision of copies of these documents to the Court for
                  in camera inspection, due by 8/15/08. (kk) (Entered: 06/25/2008)
06/25/2008   198 REPLY re 197 Notice (Other) PRAECIPE ON COMMUNICATIONS WITH
                 COUNSEL OVER DEPOSITIONS AND RELATED DATES filed by CHRISTOPHER
                 FARRELL, PAUL ORFANEDES, JUDICIAL WATCH, INC., THOMAS J. FITTON.
                 (Attachments: # 1 Exhibit 1)(Driscoll, Richard) (Entered: 06/25/2008)
06/27/2008        MINUTE ORDER setting a hearing for July 2, 2008 at 9:00 am in Courtroom 7 before
                  Magistrate Judge Kay. The parties shall be prepared to discuss all outstanding
                  discovery issues and to set dates for the remaining depositions. Signed by Magistrate
                  Judge Alan Kay on 6/27/08. (lcak1) (Entered: 06/27/2008)
06/27/2008        MINUTE ORDER vacating the status conference that was previously set for July 2,
                  2008. The status conference will now take place on July 7, 2008 at 2:00 pm in
                  Courtroom 7. Signed by Magistrate Judge Alan Kay on 6/27/08. (lcak1) (Entered:
                  06/27/2008)
06/30/2008        Set/Reset Hearings : Status Conference reset for 7/7/08 at 2:00 PM in Courtroom 7
                  before Magistrate Judge Alan Kay. (kk) (Entered: 06/30/2008)
07/01/2008   199 MEMORANDUM ORDER on parties' cross−requests for sanctions. Signed by
                 Magistrate Judge Alan Kay on 7/1/08. (lcak1) (Entered: 07/01/2008)
07/07/2008        MINUTE ORDER re−setting today's status conference for 3:00 pm at the request of
                  Plaintiff. Signed by Magistrate Judge Alan Kay on 7/7/08. (lcak1) (Entered:
                  07/07/2008)
07/07/2008        Minute Entry for proceedings held before Magistrate Judge Alan Kay: Status
                  Conference held on 7/7/2008. Minute order to be issued by The Court. (Court Reporter
                  Pro Typist.) (ldc, ) (Entered: 07/07/2008)
07/09/2008   200 ORDER setting deposition schedule and addressing outstanding discovery issues.
                 Signed by Magistrate Judge Alan Kay on 7/9/08. (lcak1) (Entered: 07/09/2008)
07/11/2008   201 MOTION REMOVE LIMITATIONS IMPOSED BY MAY 9, 2008, MINUTE
                 ORDER ON THE DEPOSITION OF STEPHANIE DELUCA re Order on Motion to
                 Quash,, by CHRISTOPHER FARRELL, PAUL ORFANEDES, JUDICIAL WATCH,
                 INC., THOMAS J. FITTON (Attachments: # 1 Exhibit 1)(Driscoll, Richard) (Entered:
                 07/11/2008)
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07/11/2008   202 Emergency MOTION for Leave to File Motion on Shortened Briefing Schedule by
                 JUDICIAL WATCH, INC., THOMAS J. FITTON, CHRISTOPHER FARRELL,
                 PAUL ORFANEDES (Attachments: # 1 Text of Proposed Order)(Haller Simonyi,
                 Juli) (Entered: 07/11/2008)
07/11/2008        MINUTE ORDER granting, over Plaintiff's objection, 202 Defendants' Motion to
                  Shorten Time of the Briefing Schedule for Defendants' Motion to Remove Limitations
                  Imposed by the May 9, 2008 Minute Order on the Deposition of Stephanie Deluca.
                  Promopt resolution of this issue is necessary to ensure that Ms. Deluca's deposition
                  goes forward as scheduled on July 23, 2008 and to prevent the possibility that
                  Defendants' will have to depose her twice. Accordingly, Plaintiff shall have until July
                  17, 2008 to file his Opposition to 201 Defendants' Motion to Remove Limitations
                  Imposed by the May 9, 2008 Minute Order on the Deposition of Stephanie Deluca.
                  Defendants shall have until noon on July 18, 2008 to file a brief reply memorandum.
                  Signed by Magistrate Judge Alan Kay on 7/11/08. (lcak1) (Entered: 07/11/2008)
07/11/2008        Set/Reset Deadlines: Plaintiff Response due by 7/17/2008. (dot, ) (Entered:
                  07/17/2008)
07/16/2008   203 Appeal of Magistrate Judge Decision to District Court by LARRY KLAYMAN re 199
                 Order on Motion for Reconsideration (Klayman, Larry) (Entered: 07/16/2008)
07/17/2008   204 REPLY to opposition to motion re 201 MOTION REMOVE LIMITATIONS
                 IMPOSED BY MAY 9, 2008, MINUTE ORDER ON THE DEPOSITION OF
                 STEPHANIE DELUCA re Order on Motion to Quash,, Plaintiffs Opposition to
                 Defendants Motion to Remove Limitations Imposed by the May 9, 2008, Minute Order
                 on the Deposition of Stephanie DeLuca and Cross Motion for Sanctions filed by
                 LARRY KLAYMAN. (Attachments: # 1 attachment)(Klayman, Larry) (Entered:
                 07/17/2008)
07/18/2008        NOTICE re 204 Reply to opposition to Motion; emailed to leklayman@bellsouth.net,
                  cc'd 4 associated attorneys −− The PDF file you docketed contained errors: 1.
                  Document title does not match docketed event, 2. Please refile document, 3. Refile as a
                  Memorandum in Opposition; also file as a Motion for Sanctions (two entries) (nmw, )
                  (Entered: 07/18/2008)
07/18/2008   205 ENTERED IN ERROR.....REPLY to opposition to motion re 201 MOTION
                 REMOVE LIMITATIONS IMPOSED BY MAY 9, 2008, MINUTE ORDER ON
                 THE DEPOSITION OF STEPHANIE DELUCA re Order on Motion to Quash,, filed
                 by JUDICIAL WATCH, INC., THOMAS J. FITTON, CHRISTOPHER FARRELL,
                 PAUL ORFANEDES. (Haller Simonyi, Juli) Modified on 7/18/2008 (nmw, ).
                 (Entered: 07/18/2008)
07/18/2008        ORDER granting 201 Defendants' Motion to Remove Limitations Imposed by the May
                  9, 2008 Minute Order on the Deposition of Stephanie Deluca. Signed by Magistrate
                  Judge Alan Kay on 7/18/08. (lcak1) (Entered: 07/18/2008)
07/18/2008   206 MEMORANDUM ORDER granting Defendants' Motion to Remove Limitations
                 Imposed by the May 9, 2008 Minute Order on the Deposition of Stephanie Deluca.
                 Signed by Magistrate Judge Alan Kay on 7/18/08. (lcak1) (Entered: 07/18/2008)
07/18/2008   207 Memorandum in opposition to re 201 MOTION REMOVE LIMITATIONS
                 IMPOSED BY MAY 9, 2008, MINUTE ORDER ON THE DEPOSITION OF
                 STEPHANIE DELUCA re Order on Motion to Quash,, Plaintiffs Opposition to
                 Defendants Motion to Remove Limitations Imposed by the May 9, 2008, Minute Order
                 on the Deposition of Stephanie DeLuca and Cross Motion for Sanctions filed by
                 LARRY KLAYMAN. (Attachments: # 1 Attachment)(Klayman, Larry) (Entered:
                 07/18/2008)
07/18/2008   208 MOTION for Sanctions Plaintiffs Opposition to Defendants Motion to Remove
                 Limitations Imposed by the May 9, 2008, Minute Order on the Deposition of Stephanie
                 DeLuca and Cross Motion for Sanctions by LARRY KLAYMAN (Attachments: # 1
                 attachment)(Klayman, Larry) (Entered: 07/18/2008)
07/22/2008   209 MOTION for Protective Order Plaintiff's Renewed Request and/or Motion for
                 Inclusion of Seal Provision in Protective Order by LARRY KLAYMAN (Klayman,
                 Larry) (Entered: 07/22/2008)
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07/24/2008   210 NOTICE Praecipe by LARRY KLAYMAN (Attachments: # 1 Attachment)(Klayman,
                 Larry) (Entered: 07/24/2008)
07/25/2008   211 MOTION to Stay Certain Discovery Pending Final Adjudication of Petition for Writ
                 of Mandamus by LARRY KLAYMAN (Attachments: # 1 Attachment)(Klayman,
                 Larry) (Entered: 07/25/2008)
07/30/2008        MINUTE ORDER directing Plaintiff to supplement his privilege log to comply with
                  this Court's July 9, 2008 Order. In that Order, the Court directed Plaintiff to prepare a
                  privilege log regarding documents that were responsive to Defendants' subpoena duces
                  tecum to David Durbin. The Court stated: "The privilege log shall identify the
                  documents by Bates number and shall set forth a description of the document and a
                  brief statement about why it is protected." (Order at 4.) In his privilege log, Plaintiff
                  identifies and describes each document but fails to state why each document is
                  protected by the attorney−client privilege and/or work product doctrine. Accordingly,
                  Plaintiff shall provide a supplemental privilege log to the Court on or before August 6,
                  2008. Signed by Magistrate Judge Alan Kay on 7/30/08. (lcak1) (Entered: 07/30/2008)
07/30/2008   212 RESPONSE re 203 Appeal of Magistrate Judge Decision to District Court [JULY 1,
                 2008, ORDER] filed by CHRISTOPHER FARRELL, PAUL ORFANEDES,
                 JUDICIAL WATCH, INC., THOMAS J. FITTON. (Driscoll, Richard) (Entered:
                 07/30/2008)
07/30/2008   213 Memorandum in opposition to re 211 MOTION to Stay Certain Discovery Pending
                 Final Adjudication of Petition for Writ of Mandamus filed by JUDICIAL WATCH,
                 INC., THOMAS J. FITTON, CHRISTOPHER FARRELL, PAUL ORFANEDES.
                 (Haller Simonyi, Juli) (Entered: 07/30/2008)
07/31/2008        MINUTE ORDER (paperless) denying without prejudice Plaintiff's 209 Motion to
                  Include Seal Provision in Protective Order. As this Court has previously reminded
                  Plaintiff, the standard for sealing documents in this Circuit is quite rigorous, and
                  Plaintiff's Motion fails to address the relevant factors specified in United States v.
                  Hubbard, 650 F.2d 293 (D.C. Cir. 1980). In particular, Plaintiff has not explained why
                  documents recently unsealed by another court should be placed under seal by this
                  Court. Accordingly, the Court cannot grant Plaintiff's Motion at this time, but shall
                  grant Plaintiff leave to refile his Motion, provided that he meets the rigorous standard
                  for sealing documents set forth in Hubbard. Signed by Judge Colleen Kollar−Kotelly
                  on July 31, 2008. (lcckk2) (Entered: 07/31/2008)
07/31/2008   214 Memorandum in opposition to re 208 MOTION for Sanctions Plaintiffs Opposition to
                 Defendants Motion to Remove Limitations Imposed by the May 9, 2008, Minute Order
                 on the Deposition of Stephanie DeLuca and Cross Motion for Sanctions filed by
                 CHRISTOPHER FARRELL, PAUL ORFANEDES, JUDICIAL WATCH, INC.,
                 THOMAS J. FITTON. (Driscoll, Richard) (Entered: 07/31/2008)
08/04/2008        Set/Reset Deadlines : Plaintiff's supplemental privilege log to be submitted to the
                  Court by 8/6/08. (kk) (Entered: 08/04/2008)
08/06/2008   215 Appeal of Magistrate Judge Decision to District Court by LARRY KLAYMAN
                 (Attachments: # 1 privilege log)(Klayman, Larry) (Entered: 08/06/2008)
08/07/2008        MINUTE ORDER (paperless) DENYING Plaintiff's 211 Motion to Stay Certain
                  Discovery Pending Final Adjudication of Petition for Writ of Mandamus. On July 24,
                  2008, Plaintiff filed a Petition for a Writ of Mandamus with the D.C. Circuit seeking to
                  prevent the production of certain documents and depositions that this Court has
                  ordered occur in discovery in this matter. The D.C. Circuit denied Plaintiff's request
                  for a Writ of Mandamus on July 25, 2008. Nevertheless, Plaintiff moves to stay certain
                  discovery in this action so that he can seek en banc review of his Petition for Writ of
                  Mandamus as well as review by the Supreme Court. Plaintiff has made no effort
                  whatsoever to address the rigorous four−part standard for seeking a stay pending
                  appeal, see Cuomo v. U.S. Nuclear Regulatory Commn, 772 F.2d 972, 974 (D.C. Cir.
                  1985), and has offered the Court no basis on which to conclude that such an
                  extraordinary remedy is warranted. Most significantly, Plaintiff has demonstrated no
                  likelihood that he will succeed on the merits of his appeal, in light of the fact that a
                  panel of the D.C. Circuit has already denied his Petition for Writ of Mandamus.
                  Accordingly, Plaintiff's 211 Motion to Stay Certain Discovery is DENIED. Signed by
                  Judge Colleen Kollar−Kotelly on August 7, 2008. (lcckk2) (Entered: 08/07/2008)
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08/07/2008         MINUTE ORDER (paperless) OVERRULING Plaintiff's 215 Objections to Magistrate
                   Judge Alan Kays Minute Order of August 4, 2008, which in fact appears to challenge
                   Magistrate Judge Kays Minute Order of July 30, 2008. On July 9, 2008, Magistrate
                   Judge Kay issued an Order 200 , inter alia, setting a schedule for the completion of
                   discovery in this matter and providing Plaintiff with specific instructions as to the
                   production of a privilege log for documents responsive to the subpoena ducus tecum
                   issued to David Durbin in this matter. On July 30, 2008, Magistrate Judge Kay issued
                   a Minute Order determining that Plaintiff's privilege log does not comply with the July
                   9, 2008 Order because it does not explain why Plaintiff believes each document is
                   protected by the attorney−client privilege and/or work product doctrine. The Court
                   agrees with Magistrate Judge Kay's Order that Plaintiff is required to produce
                   information sufficient to allow the Court to determine whether the documents at issue
                   are, in fact, privileged. Defendants' privilege log is not at issue in Magistrate Judge
                   Kay's July 9 or July 30, 2008 Orders. Accordingly, Plaintiff's 215 Objections are
                   OVERRULED and Magistrate Judge Kay's July 30 and August 4, 2008 Minute Orders
                   are AFFIRMED in their entireties. Signed by Judge Colleen Kollar−Kotelly on August
                   7, 2008. (lcckk2) (Entered: 08/07/2008)
08/07/2008         MINUTE ORDER. Earlier today, Judge Kollar−Kotelly overruled Plaintiff's objection
                   with respect to this Court's July 30, 2008 order that he produce a supplemental
                   privilege log by August 6, 2008. In light of her ruling, the Court now sets August 11,
                   2008 as the deadline by which Plaintiff must produce his supplemental privilege log.
                   Signed by Magistrate Judge Alan Kay on 8/7/08. (lcak1) (Entered: 08/07/2008)
08/07/2008   216 ERRATA by LARRY KLAYMAN. (Attachments: # 1 Plaintiff Privilege
                 Log)(Klayman, Larry) (Entered: 08/07/2008)
08/11/2008   217 MOTION to Reassign Case To Magistrate Judge Facciola On Discovery and Related
                 Issues by LARRY KLAYMAN (Klayman, Larry) (Entered: 08/11/2008)
08/12/2008   218 MOTION relief for violation of Court's Discovery Order by JUDICIAL WATCH,
                 INC., THOMAS J. FITTON, CHRISTOPHER FARRELL, PAUL ORFANEDES
                 (Attachments: # 1 Exhibit One, # 2 Exhibit Two, # 3 Exhibit Three, # 4 Exhibit Four, #
                 5 Text of Proposed Order)(Haller Simonyi, Juli) (Entered: 08/12/2008)
08/12/2008   219 MOTION to Continue Deposition of Larry Klayman, Susan Prytherich and Kathy
                 Raffa by LARRY KLAYMAN (Klayman, Larry) (Entered: 08/12/2008)
08/12/2008   220 Memorandum in opposition to re 219 MOTION to Continue Deposition of Larry
                 Klayman, Susan Prytherich and Kathy Raffa filed by CHRISTOPHER FARRELL,
                 PAUL ORFANEDES, JUDICIAL WATCH, INC., THOMAS J. FITTON.
                 (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3)(Driscoll, Richard) (Entered:
                 08/12/2008)
08/13/2008   221 REPLY to opposition to motion re 219 MOTION to Continue Deposition of Larry
                 Klayman, Susan Prytherich and Kathy Raffa Plaintiff's Reply to Defendants'
                 Opposition to Motion for Continuance filed by LARRY KLAYMAN. (Klayman,
                 Larry) (Entered: 08/13/2008)
08/13/2008   222 ERRATA by CHRISTOPHER FARRELL, PAUL ORFANEDES, JUDICIAL
                 WATCH, INC., THOMAS J. FITTON 220 Memorandum in Opposition, filed by
                 PAUL ORFANEDES, THOMAS J. FITTON, JUDICIAL WATCH, INC.,
                 CHRISTOPHER FARRELL. (Driscoll, Richard) (Entered: 08/13/2008)
08/13/2008         MINUTE ORDER granting 219 Plaintiff's Motion to Reset Deposition of Larry
                   Klayman and Susan Prytherich and Kathy Raffa. Due to Plaintiff's absence from the
                   country, the Court has no choice but to allow these depositions to be rescheduled.
                   However, the Court will hold Plaintiff to his representation that these depositions can
                   be completed before the close of discovery on August 29, 2008. The parties shall
                   jointly contact Chambers on August 19, 2008 at 3:00 pm to reschedule these
                   depositions. Signed by Magistrate Judge Alan Kay on 8/13/08. (lcak1) (Entered:
                   08/13/2008)
08/13/2008   223 Emergency MOTION for Order to Modify Minute Order by JUDICIAL WATCH,
                 INC., THOMAS J. FITTON, CHRISTOPHER FARRELL, PAUL ORFANEDES
                 (Attachments: # 1 Text of Proposed Order)(Haller Simonyi, Juli) (Entered:
                 08/13/2008)
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08/14/2008        MINUTE ORDER granting 223 Defendants' Emergent Motion to Modify Court's
                  Minute August 13, 2008 Minute Order. Because the parties will be in the courthouse
                  on Monday morning for the deposition of Thomas Fitton, the Court will meet with the
                  parties at 9:00 am in Courtroom 7 to reschedule the depositions of Ms. Prytherch, Ms.
                  Raffa, and Mr. Klayman. Signed by Magistrate Judge Alan Kay on 8/14/08. (lcak1)
                  (Entered: 08/14/2008)
08/18/2008        MINUTE ORDER resetting the depositions of Mr. Klayman and Ms. Prytherch for
                  August 27, 2008. Plaintiff is directed to produce his supplemental privilege log no later
                  than August 26, 2008. Signed by Magistrate Judge Alan Kay on 08/18/2008. (lcak1)
                  (Entered: 08/18/2008)
08/18/2008        MINUTE ORDER setting the deposition of Louise Benson for August 29, 2008.
                  Signed by Magistrate Judge Alan Kay on 08/18/08. (lcak1) (Entered: 08/18/2008)
08/18/2008        Minute Entry for Scheduling Conference regarding the taking of depositions held
                  before Magistrate Judge Alan Kay on 8/18/08 : Plaintiff's request to move his
                  deposition to 8/27/08, heard and granted. The Benson deposition is to go forward on
                  8/29/08. (Court Reporter: Pro−Typists, Inc.; Ctrm. 7) (kk) (Entered: 08/20/2008)
08/25/2008   224 MOTION for Reconsideration to Stay Discovery Pending Exhaustion of Appeals
                 Concerning Petition for Writ of Mandamus Before U.S. Court of Appeals for the
                 District of Columbia Circuit and Supreme Court if Necessary by LARRY KLAYMAN
                 (Attachments: # 1 Attachment 1, # 2 Attachment 2)(Klayman, Larry) (Entered:
                 08/25/2008)
08/25/2008   225 NOTICE Praecipe by LARRY KLAYMAN (Klayman, Larry) (Entered: 08/25/2008)
08/25/2008   226 MOTION for Order to Rule Terminated Deposition of Larry Klayman Based on Local
                 Rules and Equity by LARRY KLAYMAN (Klayman, Larry) (Entered: 08/25/2008)
08/25/2008   227 ORDER denying 217 Plaintiff's Motion to Reassign Case to Magistrate Judge John M.
                 Facciola on Discovery and Related Issues. This case remains referred to Magistrate
                 Judge Alan Kay for disposition of all pending and future discovery−related motions.
                 Signed by Judge Colleen Kollar−Kotelly on August 25, 2008. (lcckk2) (Entered:
                 08/25/2008)
08/26/2008        MINUTE ORDER (paperless). DENYING Plaintiff's 224 Motion for Reconsideration
                  to Stay Discovery Pending Exhaustion of Appeals Concerning Petition Writ of
                  Mandamus. As this Court noted in its August 7, 2008 Minute Order, on July 24, 2008,
                  Plaintiff filed a Petition for a Writ of Mandamus with the D.C. Circuit, which the D.C.
                  Circuit denied the next day. Thereafter, Plaintiff moved to stay certain discovery in
                  this action so that he could seek en banc review of his Petition for Writ of Mandamus
                  as well as review by the Supreme Court, and the Court denied his Motion by Minute
                  Order dated August 7, 2008. Plaintiff has now moved for reconsideration of that
                  Minute Order, suggesting that a recent discovery ruling by Magistrate Judge Alan Kay
                  somehow strengthens his case for a stay pending appeal. Plaintiff, however, has
                  addressed neither the rigorous standard for a motion for reconsideration under Rule
                  60(b), see Ackerman v. United States, 340 U.S. 193, 199 (1950), nor the stringent
                  four−part standard in this Circuit for seeking a stay pending appeal, see Cuomo v. U.S.
                  Nuclear Regulatory Comm'n, 772 F.2d 972, 974 (D.C. Cir. 1985). Plaintiff's
                  dissatisfaction with Magistrate Judge Kay's ruling does not constitute the
                  "extraordinary circumstances" warranting reconsideration, and Plaintiff again has
                  demonstrated no likelihood that he will succeed on the merits of his appeal.
                  Accordingly, Plaintiff's 224 Motion for Reconsideration is DENIED. Signed by Judge
                  Colleen Kollar−Kotelly on August 26, 2008. (lcckk2) (Entered: 08/26/2008)
08/26/2008   228 Memorandum in opposition to re 226 MOTION for Order to Rule Terminated
                 Deposition of Larry Klayman Based on Local Rules and Equity filed by
                 CHRISTOPHER FARRELL, PAUL ORFANEDES, JUDICIAL WATCH, INC.,
                 THOMAS J. FITTON. (Attachments: # 1 Exhibit 1)(Driscoll, Richard) (Entered:
                 08/26/2008)
08/26/2008   229 REPLY to opposition to motion re 226 MOTION for Order to Rule Terminated
                 Deposition of Larry Klayman Based on Local Rules and Equity filed by LARRY
                 KLAYMAN. (Klayman, Larry) (Entered: 08/26/2008)
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08/26/2008   230 SURREPLY to re 229 Reply to opposition to Motion TO RULE TERMINATED THE
                 DEPOSITION OF LARRY KLAYMAN filed by CHRISTOPHER FARRELL, PAUL
                 ORFANEDES, JUDICIAL WATCH, INC., THOMAS J. FITTON. (Driscoll, Richard)
                 (Entered: 08/26/2008)
08/26/2008   231 ORDER OVERRULING Plaintiff's 203 Objections to Magistrate Judge Alan Kay's
                 July 1, 2008 Memorandum Order and AFFIRMING Magistrate Judge Kay's 199 July
                 1, 2008 Memorandum Order in its entirety. Signed by Judge Colleen Kollar−Kotelly
                 on August 26, 2008. (lcckk2) (Entered: 08/26/2008)
08/26/2008   232 RESPONSE re 230 Plaintiff's Opposition to Defendant's Surreply to the Motion to
                 Rule Terminated Depositition of Larry Klayman filed by LARRY KLAYMAN.
                 (Klayman, Larry) Modified link on 8/27/2008 (nmw, ). (Entered: 08/26/2008)
08/26/2008   233 ORDER denying 226 Plaintiff's Motion to Rule Terminated Deposition of Larry
                 Klayman Based on Local Rules and Equity. Signed by Magistrate Judge Alan Kay on
                 08/26/2008. (lcak1) (Entered: 08/26/2008)
08/28/2008   234 MOTION for Extension of Time to Supplement his Privilege Log by LARRY
                 KLAYMAN (Klayman, Larry) (Entered: 08/28/2008)
08/29/2008   235 Memorandum in opposition to re 234 MOTION for Extension of Time to Supplement
                 his Privilege Log filed by JUDICIAL WATCH, INC., THOMAS J. FITTON,
                 CHRISTOPHER FARRELL, PAUL ORFANEDES. (Attachments: # 1 Text of
                 Proposed Order)(Haller Simonyi, Juli) (Entered: 08/29/2008)
09/09/2008        MINUTE ORDER granting 234 Plaintiff's Motion for Extension of Time to file his
                  Supplemental Privilege Log. Plaintiff's Privilege Log is now due September 12, 2008.
                  No further extensions with respect to the privilege log will be granted. Defendants'
                  Requests for Sanctions will be considered upon the completion of discovery. Signed
                  by Magistrate Judge Alan Kay on 09/09/2008, nunc pro tunc, to 08/26/08. (lcak1)
                  (Entered: 09/09/2008)
09/09/2008        MINUTE ORDER denying 208 Plaintiff's Motion for Sanctions. Plaintiff has failed to
                  make any factual or legal showing that warrants an award of sanctions. Signed by
                  Magistrate Judge Alan Kay on 09/09/2008. (lcak1) (Entered: 09/09/2008)
09/10/2008        Set/Reset Deadlines : Plaintiff's Supplemental Privilege Log due by 9/12/08. (kk)
                  (Entered: 09/10/2008)
09/15/2008   236 MOTION for Leave to Appear By Telephone by LARRY KLAYMAN (Attachments:
                 # 1 Attachment)(Klayman, Larry) (Entered: 09/15/2008)
09/15/2008        MINUTE ORDER (paperless) denying Plaintiff's 236 Motion to Appear by Telephone.
                  The Court has discretion over Plaintiff's request. The discovery period in this case has
                  ended, although a few matters remain outstanding that require the Plaintiff's
                  participation. At the September 16, 2008 Status Conference, the Court will be
                  discussing how the litigation will be proceeding, including setting various dates. A
                  telephone conference call does not lend itself easily to such a discussion, as the issues
                  that need to be addressed require the participation of all counsel and parties. Further,
                  the Court notes that it set the September 16, 2008 status date at the June 19, 2008
                  Status Conference in this matter (i.e., approximately three months ago). Plaintiff
                  waited until one business day before the scheduled conference to move for leave to
                  appear telephonically and, other than noting that his assistant had been absent for the
                  preceding week, has provided no justification for allowing the relief he seeks.
                  Accordingly, Plaintiff must appear in person at the Status Conference in this matter to
                  be held at 2:00 p.m. on Tuesday, September 16, 2008. Signed by Judge Colleen
                  Kollar−Kotelly on September 15, 2008. (lcckk2) (Entered: 09/15/2008)
09/15/2008   237 MOTION for Extension of Time to File Privilege Log by LARRY KLAYMAN
                 (Klayman, Larry) (Entered: 09/15/2008)
09/15/2008   238 MOTION to Quash NOTICE OF DEPOSITION TO KATHY RAFFA AND
                 SUBPOENA DUCES TECUM TO RAFFA & ASSOCIATES, INC. by CHRISTOPHER
                 FARRELL, PAUL ORFANEDES, JUDICIAL WATCH, INC., THOMAS J. FITTON
                 (Attachments: # 1 Memorandum in Support, # 2 Exhibit A, # 3 Exhibit B, # 4 Exhibit
                 C, # 5 Exhibit D, # 6 Exhibit E, # 7 Exhibit F, # 8 Exhibit G)(Driscoll, Richard)
                 (Entered: 09/15/2008)
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09/16/2008         MINUTE ORDER (paperless). The Court held a Status Conference in this case at 2:00
                   p.m. on Tuesday, September 16, 2008, at which the following was set forth: (1) no
                   later than 10:00 a.m. on September 17, 2008, Plaintiff shall file his Opposition to
                   Defendant's Motion to Quash the subpoena duces tecum issued to Raffa & Associates
                   and notice of deposition of Kathy Raffa; (2) no later than 5:00 p.m. on September 18,
                   2008, Defendant shall file its Reply in support of its Motion to Quash; (3) Plaintiff
                   shall file his motion regarding his intent to depose Susan Prytherch on September 16,
                   2008; (4) Defendant shall file its Opposition to Plaintiff's motion regarding Ms.
                   Prytherch's deposition no later than 5:00 p.m. on September 18, 2008. No extensions
                   of these deadlines will be granted. Magistrate Judge Kay shall be addressing both of
                   these motions. Signed by Judge Colleen Kollar−Kotelly on September 16, 2008.
                   (lcckk2) (Entered: 09/16/2008)
09/16/2008   239 SCHEDULING AND PROCEDURES ORDER. As set forth during the Status
                 Conference on Tuesday, September 16, 2008, the parties shall adhere to the following
                 schedule for dispositive motions: (1) Cross−dispositive motions shall be filed no later
                 than October 31, 2008; (2) Oppositions shall be filed no later than December 5, 2008;
                 and (3) Replies shall be filed no later than December 22, 2008. Further, the parties are
                 reminded that they must fully comply with Local Civil Rule 7(h). Signed by Judge
                 Colleen Kollar−Kotelly on September 16, 2008. (lcckk2) (Entered: 09/16/2008)
09/16/2008         MINUTE ORDER granting 237 Plaintiff's Motion for Extension of Time to File
                   Privilege Log. Plaintiff must file his Supplemental Privilege Log by 5:00pm on
                   Thursday, September 18, 2008. Should Plaintiff fail to timely file a Supplemental
                   Privilege Log he will have waived all privilege claims and the Court will turn over
                   copies of all documents under review to Defendants. No late filing is permitted. No
                   extensions will be considered. Signed by Magistrate Judge Alan Kay on 09/16/08.
                   (lcak1) (Entered: 09/16/2008)
09/16/2008         Set/Reset Deadlines: defendant's response to the Motion with the intent to depose
                   Susan Prytherch due by 9/18/2008. Plaintiff's Motion with the intent to depose Susan
                   Prytherch due by 9/16/2008. Plaintiff Response to Motion to Quash due by 9/17/2008;
                   defendant's Reply to the Motion to Quash due by 9/18/2008. (clv, ) (Entered:
                   09/16/2008)
09/16/2008         Set/Reset Deadlines: Cross dispositive Motions due by 10/31/2008. Response to Cross
                   Motions due by 12/5/2008. Reply to Cross Motions due by 12/22/2008. (clv, )
                   (Entered: 09/16/2008)
09/16/2008   240 Memorandum in opposition to re 219 MOTION to Continue Deposition of Larry
                 Klayman, Susan Prytherich and Kathy Raffa to Quash Deposition Notice of
                 Continuing Deposition of Susan Prytherch of Judicial Watch filed by LARRY
                 KLAYMAN. (Attachments: # 1 Attachment)(Klayman, Larry) (Entered: 09/16/2008)
09/16/2008         Minute Entry for proceedings held before Judge Colleen Kollar−Kotelly: Status
                   Conference held on 9/16/2008. Response to Motion to Quash due 9/16/08. Reply due
                   9/17/08. Raffa response due 9/17/08; reply due 9/18/08. (Court Reporter Lisa Hand)
                   (gdf (Entered: 09/22/2008)
09/17/2008   241 MOTION to Compel by LARRY KLAYMAN (Attachments: # 1 Attachment 1, # 2
                 Attachment 2)(Klayman, Larry) . (Entered: 09/17/2008)
09/17/2008   242 Memorandum in opposition to re 238 MOTION to Quash NOTICE OF DEPOSITION
                 TO KATHY RAFFA AND SUBPOENA DUCES TECUM TO RAFFA & ASSOCIATES,
                 INC. filed by LARRY KLAYMAN. (Attachments: # 1 Attachment 1, # 2 Attachment
                 2)(Klayman, Larry) (Entered: 09/17/2008)
09/18/2008   243 REPLY to opposition to 238 Motion to Quash filed by CHRISTOPHER FARRELL,
                 PAUL ORFANEDES, JUDICIAL WATCH, INC., THOMAS J. FITTON.
                 (Attachments: # 1 Exhibit H)(Driscoll, Richard) . (Entered: 09/18/2008)
09/18/2008   244 Memorandum in opposition to re 241 MOTION to Compel filed by CHRISTOPHER
                 FARRELL, PAUL ORFANEDES, JUDICIAL WATCH, INC., THOMAS J. FITTON.
                 (Driscoll, Richard) Modified on 9/19/2008 (jf, ). (Entered: 09/18/2008)
09/18/2008   245 RESPONSE re 240 Memorandum in Opposition, to Plaintiff's Filing re: Prytherch
                 filed by JUDICIAL WATCH, INC., THOMAS J. FITTON, CHRISTOPHER
                 FARRELL, PAUL ORFANEDES. (Attachments: # 1 Exhibit 1a, # 2 Exhibit 1b, # 3
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                   Exhibit 2)(Haller Simonyi, Juli) (Entered: 09/18/2008)
09/19/2008   246 MOTION for Leave to File Surreply Concernig Previously Noticed Depositions of
                 Susan Prytherch of Judicial Watch and Kathy Raffa of Raffa and Associates and
                 Requests to Complete same and Reply to Cross Motion to Depose these Persons by
                 LARRY KLAYMAN (Attachments: # 1 e−mail)(Klayman, Larry) (Entered:
                 09/19/2008)
09/19/2008   247 Memorandum in opposition to 241 MOTION to Compel < filed by RAFFA &
                 ASSOCIATES, INC. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4
                 Exhibit 4, # 5 Exhibit 5, # 6 Exhibit 6, # 7 Exhibit 7)(tg, ) (Entered: 09/19/2008)
09/19/2008   248 REPLY to opposition to motion re 241 MOTION to Compel and Opposition to
                 Defendant's Motion to Quash filed by LARRY KLAYMAN. (Klayman, Larry)
                 (Entered: 09/19/2008)
09/19/2008         MINUTE ORDER denying 246 Plaintiff's Motion for Leave to File Surreply. The
                   Court has been adequately briefed on the pending motions regarding the Raffa and
                   Prytherch Depositions. Signed by Magistrate Judge Alan Kay on 09/19/2008. (lcak1)
                   (Entered: 09/19/2008)
09/23/2008   249 ORDER granting 238 Defendants' Motion to Quash and denying 241 Plaintiff's
                 Motion to Compel. Signed by Magistrate Judge Alan Kay on 09/23/2008. (lcak1)
                 (Entered: 09/23/2008)
09/23/2008   250 ORDER denying 240 Plaintiff's Motion to Compel, initially styled by Plaintiff as a
                 Memorandum in Opposition. Signed by Magistrate Judge Alan Kay on 09/23/08.
                 (lcak1) (Entered: 09/23/2008)
09/26/2008   251 WITHDRAWN PURSUANT TO NOTICE FILED 10/7/2008..... MOTION for
                 Protective Order MODIFICATION by CHRISTOPHER FARRELL, PAUL
                 ORFANEDES, JUDICIAL WATCH, INC., THOMAS J. FITTON (Attachments: # 1
                 Memorandum in Support, # 2 Text of Proposed Order)(Driscoll, Richard) Modified on
                 10/8/2008 (nmw, ). (Entered: 09/26/2008)
09/30/2008   252 ORDER on Plaintiff's privilege claims regarding documents responsive to the
                 subpoena duces tecum of David Durbin. Signed by Magistrate Judge Alan Kay on
                 09/30/2008. (lcak1) (Entered: 09/30/2008)
10/07/2008   253 NOTICE WITHDRAWING MOTION TO MODIFY PROTECTIVE ORDER by
                 CHRISTOPHER FARRELL, PAUL ORFANEDES, JUDICIAL WATCH, INC.,
                 THOMAS J. FITTON re 251 MOTION for Protective Order MODIFICATION
                 (Attachments: # 1 Exhibit A)(Driscoll, Richard) (Entered: 10/07/2008)
10/08/2008   254 Appeal of Magistrate Judge Decision to District Court by LARRY KLAYMAN re 249
                 Order on Motion to Quash (Attachments: # 1 Attachment)(Klayman, Larry) (Entered:
                 10/08/2008)
10/08/2008   255 Appeal of Magistrate Judge Decision to District Court by LARRY KLAYMAN re 250
                 Order (Klayman, Larry) (Entered: 10/08/2008)
10/10/2008   256 RESPONSE re 254 255 to Plaintiff's Objections to Magistrate's Memorandum Orders
                 filed by RAFFA & ASSOCIATES, INC.. (Lombardo, Mary) Modified on 10/14/2008
                 (nmw, ). (Entered: 10/10/2008)
10/21/2008   257 Joint MOTION for Extension of Time to FILE DISPOSITIVE MOTIONS by LARRY
                 KLAYMAN, CHRISTOPHER FARRELL, PAUL ORFANEDES, JUDICIAL
                 WATCH, INC., THOMAS J. FITTON (Attachments: # 1 Text of Proposed
                 Order)(Driscoll, Richard) (Entered: 10/21/2008)
10/21/2008   258 RESPONSE re 254 Appeal of Magistrate Judge Decision to District Court
                 (SEPTEMBER 23, 2008, ORDER) filed by CHRISTOPHER FARRELL, PAUL
                 ORFANEDES, JUDICIAL WATCH, INC., THOMAS J. FITTON. (Driscoll, Richard)
                 (Entered: 10/21/2008)
10/21/2008   259 REPLY re 254 Appeal of Magistrate Judge Decision to District Court (SEPTEMBER
                 23, 2008, ORDER) [CORRECTED] filed by CHRISTOPHER FARRELL, PAUL
                 ORFANEDES, JUDICIAL WATCH, INC., THOMAS J. FITTON. (Driscoll, Richard)
                 (Entered: 10/21/2008)
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10/22/2008         MINUTE ORDER granting 257 Joint Motion to Reset Dispositive Motions Deadlines.
                   Accordingly, the schedule of deadlines for dispositive motions shall be as follows:
                   Cross−Dispositive Motions due November 21, 2008; Opposition Memoranda due
                   December 22, 2008; reply Memoranda due January 12, 2009. NO FURTHER
                   EXTENSIONS. Signed by Judge Colleen Kollar−Kotelly on October 22, 2008. (SM)
                   (Entered: 10/22/2008)
10/22/2008   260 RESPONSE re 255 Appeal of Magistrate Judge Decision to District Court filed by
                 JUDICIAL WATCH, INC., THOMAS J. FITTON, CHRISTOPHER FARRELL,
                 PAUL ORFANEDES. (Haller Simonyi, Juli) (Entered: 10/22/2008)
10/23/2008         Set/Reset Deadlines: Cross−Dispositive Motions due by 11/21/2008. Response to
                   Dispositive Motions due by 12/22/2008. Reply to Dispositive Motions due by
                   1/12/2009. (gdf) (Entered: 10/23/2008)
11/06/2008   261 ORDER. Plaintiff's 254 Objections to Magistrate Judge Alan Kay's September 23,
                 2008 Memorandum Order are OVERRULED. Magistrate Judge Kay's 249 September
                 23, 2008 Memorandum Order is AFFIRMED in its entirety. Signed by Judge Colleen
                 Kollar−Kotelly on November 6, 2008. (lcckk2) (Entered: 11/06/2008)
11/06/2008   262 ORDER. Plaintiff's 255 Objections to Magistrate Judge Alan Kay's September 23,
                 2008 Memorandum Order are OVERRULED. Magistrate Judge Kay's 250 September
                 23, 2008 Memorandum Order is AFFIRMED in its entirety. Signed by Judge Colleen
                 Kollar−Kotelly on November 6, 2008. (lcckk2) (Entered: 11/06/2008)
11/19/2008   263 Second MOTION for Extension of Time to FILE DISPOSITIVE MOTIONS by
                 CHRISTOPHER FARRELL, PAUL ORFANEDES, JUDICIAL WATCH, INC.,
                 THOMAS J. FITTON (Driscoll, Richard) (Entered: 11/19/2008)
11/19/2008         MINUTE ORDER (paperless) granting−in−part and denying−in−part Defendants'
                   Second Motion 263 for Extension of Time to File Dispositive Motions. The Court
                   notes that Defendants' Motion was filed on November 19, 2008, only two business
                   days before the November 21, 2008 deadline it is seeking to extend. Defendants'
                   Motion therefore fails to comply with this Court's Schedules and Procedures Order 58 ,
                   which requires that "Motions for extension of time shall be filed at least four business
                   days prior to the deadline the motion is seeking to extend." See Docket No. 58 at 2.
                   The Motion indicates that the request for additional time is due to Defense counsel's
                   workload concerns, problems which Defendants should have been aware of well
                   before today. Furthermore, Defendants' Motion ignores the Court's previous
                   admonishment, explicitly set forth in the Minute Order granting Defendants' first
                   Motion 257 for Extension of Time to File Dispositive Motions, that "NO FURTHER
                   EXTENSIONS" would be granted. Min. Order 10/22/08. The Court therefore grants
                   Defendants additional time in which to file their dispositive motion, but only up to and
                   including November 25, 2008. Accordingly, Plaintiff's Opposition is due on or before
                   December 24, 2008, and Defendants' Reply is due on or before January 14, 2009. The
                   Court advises the parties that this schedule is firm. Signed by Judge Colleen
                   Kollar−Kotelly on November 19, 2008. (lcckk2) (Entered: 11/19/2008)
11/20/2008   264 MOTION for Extension of Time to File Dispositive Motions by LARRY KLAYMAN
                 (Klayman, Larry) (Entered: 11/20/2008)
11/20/2008         AMENDED MINUTE ORDER (paperless) clarifying that the Court's 11/19/08 Minute
                   Order resets the dispositive motions schedule for both parties. Accordingly, both
                   parties' dispositive motions are due on or before November 25, 2008, with oppositions
                   due on or before December 24, 2008, and replies due on or before January 14, 2009. In
                   light of this clarification, the Court shall deny as moot Plaintiff's Motion 264 for an
                   Extension of Time. Signed by Judge Colleen Kollar−Kotelly on November 20, 2008.
                   (lcckk2) (Entered: 11/20/2008)
11/20/2008         Set/Reset Deadlines: Both parties' Dispositive Motions due by 11/25/2008. Responses
                   to Dispositive Motions due by 12/24/2008. Replies to Dispositive Motions due by
                   1/14/2009. (dot, ) (Entered: 11/21/2008)
11/25/2008   265 LARGE ADDITIONAL ATTACHMENT(S) JOINT STATEMENT OF MATERIAL
                 FACTS NOT IN GENUINE DISPUTE by CHRISTOPHER FARRELL, PAUL
                 ORFANEDES, JUDICIAL WATCH, INC., THOMAS J. FITTON Order on Motion
                 for Extension of Time to,,. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2 − Declaration of
                 Susan Prytherch, # 3 Exhibit A to the Prytherch Declaration, # 4 Exhibit B to the
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                  Prytherch Declaration, # 5 Exhibit C to the Prytherch Declaration, # 6 Exhibit D to the
                  Prytherch Declaration, # 7 Exhibit E to the Prytherch Declaration, # 8 Exhibit F−1 to
                  the Prytherch Declaration, # 9 Exhibit F−2 to the Prytherch Declaration, # 10 Exhibit
                  F−3 to the Prytherch Declaration, # 11 Exhibit G to the Prytherch Declaration, # 12
                  Exhibit 3 2d Declaration of Susan Prytherch, # 13 Exhibit Nos. 1 − 11 to the 2d
                  Prytherch Declaration, # 14 Exhibit 12 to the 2d Prytherch Declaration, # 15 Exhibit
                  13−i to the 2d Prytherch Declaration, # 16 Exhibit 13−ii to the 2d Prytherch
                  Declaration, # 17 Exhibit 13−iii to the 2d Prytherch Declaration, # 18 Exhibit 13−iv to
                  the 2d Prytherch Declaration, # 19 Exhibit 13−v to the 2d Prytherch Declaration, # 20
                  Exhibit 13−vi to the 2d Prytherch Declaration, # 21 Exhibit 13−vii to the 2d Prytherch
                  Declaration, # 22 Exhibit 13−viii to the 2d Prytherch Declaration, # 23 Exhibit Nos.
                  15−16 to the 2d Prytherch Declaration, # 24 Exhibit Nos 17−19 to the 2d Prytherch
                  Declaration, # 25 Exhibit 4 − Declaration of Thomas J. Fitton, # 26 Exhibit 1 to the
                  Fitton Declaration, # 27 Exhibit 2 to the Fitton Declaration, # 28 Exhibit 3 to the Fitton
                  Declaration, # 29 Exhibit 4 to the Fitton Declaration, # 30 Exhibit 5 to the Fitton
                  Declaration, # 31 Exhibit 6 to the Fitton Declaration, # 32 Exhibit 7 to the Fitton
                  Declaration, # 33 Exhibit 8 to the Fitton Declaration, # 34 Exhibit 9 to the Fitton
                  Declaration, # 35 Exhibit 10 to the Fitton Declaration, # 36 Exhibit 5 − Declaration of
                  Paul J. Orfanedes, # 37 Exhibit 1 to the Orfanedes Declaration, # 38 Exhibit 2 to the
                  Orfanedes Declaration, # 39 Exhibit 3 to the Orfanedes Declaration, # 40 Exhibit 4 to
                  the Orfanedes Declaration, # 41 Exhibit 5 to the Orfanedes Declaration, # 42 Exhibit
                  6−1 to the Orfanedes Declaration, # 43 Exhibit 6−2 to the Orfanedes Declaration, # 44
                  Exhibit 7 to the Orfanedes Declaration, # 45 Exhibit 6 − Declaration of Christopher J.
                  Farrell, # 46 Exhibit 1 to the Farrell Declaration, # 47 Exhibit 2 to the Farrell
                  Declaration, # 48 Exhibit 3 to the Farrell Declaration, # 49 Exhibit 4 to the Farrell
                  Declaration, # 50 Exhibit 5 to the Farrell Declaration, # 51 Exhibit 7a − i Plaintiffs
                  Answers to Interrogatories, # 52 Exhibit 7b − Plaintiffs Supplemental Answers to
                  Interrogatories, # 53 Exhibit 7c − i Plaintiffs Second Supplemental Answers to
                  Interrogatories, # 54 Exhibit 7c − ii Plaintiffs Second Supplemental Answers to
                  Interrogatories, # 55 Exhibit 8 − Declaration of Irene Garcia, # 56 Exhibit 9 −
                  Memorandum of Understanding, # 57 Exhibit 10 − Excerpts from Deposition of Larry
                  E. Klayman, # 58 Exhibit 11 − Excerpts from Deposition of Mark Fitzgibbons, # 59
                  Exhibit 12− Agreement among American Target Advertising and Friends of Larry
                  Klayman)(Driscoll, Richard) (Entered: 11/25/2008)
11/25/2008   266 MOTION for Summary Judgment [incorporate Document 265, Statement of Material
                 Facts ] by CHRISTOPHER FARRELL (Haller Simonyi, Juli) (Entered: 11/25/2008)
11/25/2008   267 MOTION for Summary Judgment by THOMAS J. FITTON (Driscoll, Richard)
                 (Entered: 11/25/2008)
11/25/2008   268 MOTION for Summary Judgment by PAUL ORFANEDES (Driscoll, Richard)
                 (Entered: 11/25/2008)
11/25/2008   269 MOTION for Summary Judgment by JUDICIAL WATCH, INC. (Driscoll, Richard)
                 (Entered: 11/25/2008)
11/25/2008   270 MOTION for Summary Judgment Incorporating Document 265, Statement of Material
                 Facts, by JUDICIAL WATCH, INC. (Haller Simonyi, Juli) (Entered: 11/25/2008)
11/25/2008   271 STRICKEN PURSUANT TO MINUTE ORDER FILED 12/1/2008..... MOTION for
                 Partial Summary Judgment by LARRY KLAYMAN (Attachments: # 1 Exhibit
                 EXHIBIT 1, # 2 Exhibit EXHIBIT 2, # 3 Exhibit EXHIBIT 3, # 4 Exhibit EXHIBIT
                 4)(Klayman, Larry) Modified on 12/2/2008 (nmw, ). (Entered: 11/25/2008)
11/25/2008   272 STRICKEN PURSUANT TO MINUTE ORDER FILED 12/1/2008.....Civil Statement
                 OF MATERIAL FACTS NOT AT ISSUE IN SUPPORT OF 271 MOTION FOR
                 PARTIAL SUMMARY JUDGMENT from LARRY KLAYMAN. (Klayman, Larry)
                 Modified on 11/26/2008 (jf, ). Modified on 12/2/2008 (nmw, ). (Entered: 11/25/2008)
12/01/2008        MINUTE ORDER (paperless). On November 25, 2008, Plaintiff filed his Motion 271
                  for Partial Summary Judgment and Statement 272 of Material Facts Not at Issue In
                  Support of His Motion for Partial Summary Judgment. Plaintiff's Statement of
                  Material Facts, however, fails to include references to the parts of the record relied on
                  to support the statement, as required by both Local Civil Rule 7(h) and the Court's
                  September 16, 2008 Scheduling and Procedures Order. As the Court specifically
                  advised the Parties, motions for summary judgment must "comply fully with Local
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                   Civil Rule 7(h)," and the Court "may strike pleadings not in conformity with these
                   rules." 09/16/08 Order, Docket No. 239 . Accordingly, the Court STRIKES Plaintiff's
                   Motion 271 for Partial Summary Judgment and the related Statement 272 of Material
                   Facts. The Court further requires that Plaintiff shall re−file his Motion for Partial
                   Summary Judgment, with an appropriate revised Statement of Material Facts Not at
                   Issue, by no later than 5 p.m. on Wednesday, December 3, 2008. The revised
                   Statement must include precise citations to the portions of the record upon which
                   Plaintiff relies for each factual statement. Signed by Judge Colleen Kollar−Kotelly on
                   December 1, 2008. (lcckk2) (Entered: 12/01/2008)
12/01/2008   273 ERRATA REGARDING DECLARATION OF CHRISTOPHER J. FARRELL by
                 CHRISTOPHER FARRELL, PAUL ORFANEDES, JUDICIAL WATCH, INC.,
                 THOMAS J. FITTON 265 Large Additional Attachment(s), Large Additional
                 Attachment(s), Large Additional Attachment(s), Large Additional Attachment(s),
                 Large Additional Attachment(s), Large Additional Attachment(s), Large Additional
                 Attachment(s), Large Additional Attachment(s), Large Additional Attachment(s),
                 Large Additional Attachment(s), Large Additional Attachment(s), Large Additional
                 Attachment(s), Large Additional Attachment(s), Large Additional Attachment(s) filed
                 by PAUL ORFANEDES, THOMAS J. FITTON, JUDICIAL WATCH, INC.,
                 CHRISTOPHER FARRELL. (Attachments: # 1 Declaration of Christopher J.
                 Farrell)(Driscoll, Richard) (Entered: 12/01/2008)
12/01/2008   274 ORDER. On November 25, 2008, Defendants Judicial Watch, Inc., Thomas J. Fitton,
                 Christopher Farrell, and Paul Ofanedes filed their respective Motions for Summary
                 Judgment in this case. Plaintiff is representing himself, pro se. Accordingly, the Court
                 advises Plaintiff that he must respond to Defendants' Motions by December 24, 2008.
                 If Plaintiff does not respond, the Court shall consider the Motions for Summary
                 Judgment conceded. The Clerk of the Court shall mail a copy of this Order to Plaintiff
                 at the address reflected on the docket. Signed by Judge Colleen Kollar−Kotelly on
                 December 1, 2008. (lcckk2) (Entered: 12/01/2008)
12/03/2008   275 MOTION for Partial Summary Judgment and supporting memorandum of points and
                 authorities by LARRY KLAYMAN (Attachments: # 1 Exhibit exhibit 1, # 2 Exhibit
                 exhibit 2, # 3 Exhibit exhibit 3, # 4 Exhibit Exhibit 4)(Klayman, Larry) (Entered:
                 12/03/2008)
12/03/2008   276 Civil Statement re 275 Plaintiff's Statement of Material Facts Not at Issuein Support of
                 Partial Summary Judgment from plaintiff, larry klayman. (Klayman, Larry) Modified
                 link on 12/4/2008 (nmw, ). (Entered: 12/03/2008)
12/05/2008   277 NOTICE Praecipe by LARRY KLAYMAN (Klayman, Larry) (Entered: 12/05/2008)
12/05/2008         MINUTE ORDER (paperless). The Court received Plaintiff's 277 Notice, filed on
                   December 5, 2008. Upon review of the docket in this matter, the Court is at a loss to
                   understand why Plaintiff believes the Court's November 19, 2008 Minute Order
                   "admonished him to file his response to Defendant's Motion for Summary Judgment
                   on or before December 24, 2008, but did not so warn Defendants." The November 19,
                   2008 Minute Order concerns Defendants' motion for an extension of time, and is not
                   directed toward Plaintiff in anyway. See 11/19/08 Min. Order. Although the Minute
                   Order did not explicitly extend the due dates for Plaintiff's dispositive motion, this was
                   merely a clerical oversight that the Court remedied the next day in its November 20,
                   2008 Amended Minute Order by clarifying that the dispositive motions schedule was
                   reset for both parties. See 11/20/08 Am. Min. Order. If Plaintiff, in his Notice, instead
                   intended to reference the Court's December 1, 2008 274 Order, in which the Court
                   advised Plaintiff that he must respond to Defendants' Motions for Summary Judgment
                   by December 24, 2008, Plaintiff's Notice is even more puzzling. That order was sent
                   pursuant to the D.C. Circuit's cases, Fox v. Strickland, 837 F.2d 507 (D.C. Cir. 1988)
                   and Neal v. Kelly, 963 F.2d 453 (D.C. Cir. 1992), which require lower courts to notify
                   ALL PLAINTIFFS representing themselves of the consequences of failing to respond
                   to an opposing party's dispositive motion. As Plaintiff is representing himself pro se,
                   the Court was merely carrying out its responsibilities of advising him of Defendants'
                   motions for summary judgment and informing him of the consequences of a failure to
                   respond. Signed by Judge Colleen Kollar−Kotelly on December 5, 2008. (lcckk2)
                   (Entered: 12/05/2008)
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12/16/2008   278 MOTION for Extension of Time to File Response/Reply as to 269 MOTION for
                 Summary Judgment by LARRY KLAYMAN (Attachments: # 1
                 Attachment)(Klayman, Larry) (Entered: 12/16/2008)
12/18/2008   279 NOTICE Praecipe by LARRY KLAYMAN (Attachments: # 1 Attachment)(Klayman,
                 Larry) (Entered: 12/18/2008)
12/18/2008   280 Memorandum in opposition to re 278 MOTION for Extension of Time to File
                 Response/Reply as to 269 MOTION for Summary Judgment filed by CHRISTOPHER
                 FARRELL, PAUL ORFANEDES, JUDICIAL WATCH, INC., THOMAS J. FITTON.
                 (Driscoll, Richard) (Entered: 12/18/2008)
12/18/2008   281 REPLY to opposition to motion re 278 MOTION for Extension of Time to File
                 Response/Reply as to 269 MOTION for Summary Judgment Plaintiff's Reply to
                 Defendant's Memorandum in Opposition to Plaintiff's Motion for Extension of Time
                 (278) filed by LARRY KLAYMAN. (Klayman, Larry) (Entered: 12/18/2008)
12/18/2008        MINUTE ORDER (paperless). Upon consideration of Plaintiff's 278 Motion for an
                  Extension of Time, Defendants' 280 Opposition, and Plaintiff's Reply 281 , the Court
                  shall, in its discretion, DENY Plaintiff's request. As Plaintiff in this case, Plaintiff must
                  give priority to prosecuting his own lawsuit. Plaintiff has not shown sufficient reason
                  for the extension of time requested, and this Court has repeatedly counseled the parties
                  that no further extensions to the dispositive motions schedule would be granted
                  without good cause. Signed by Judge Colleen Kollar−Kotelly on December 18, 2008.
                  (lcckk2) (Entered: 12/18/2008)
12/19/2008   282 NOTICE OF WITHDRAWAL OF APPEARANCE as to JUDICIAL WATCH, INC.,
                 THOMAS J. FITTON, CHRISTOPHER FARRELL, PAUL ORFANEDES. Attorney
                 Juli Z. Haller Simonyi terminated. (Haller Simonyi, Juli) (Entered: 12/19/2008)
12/22/2008   283 MOTION for Extension of Time to File Response/Reply as to 269 MOTION for
                 Summary Judgment, 267 MOTION for Summary Judgment, 266 MOTION for
                 Summary Judgment [incorporate Document 265, Statement of Material Facts ], 268
                 MOTION for Summary Judgment Motion Filed by or on Behalf of Judicial Watch and
                 its Three Directors by LARRY KLAYMAN (Attachments: # 1 Letter from
                 Doctor)(Klayman, Larry) (Entered: 12/22/2008)
12/23/2008        MINUTE ORDER (paperless). On December 16, 2008, Plaintiff filed an opposed
                  Motion 278 for Extension of Time to File his opposition to Defendants' Motions for
                  Summary Judgment, which the Court subsequently denied on December 18, 2008. See
                  12/18/08 Min. Order. The Court is now in receipt of Plaintiff's most recent filing,
                  Docket No. 283 , which is characterized as a Renewed Motion for an Extension of
                  Time. However, as the Court denied Plaintiff's original request for an extension of
                  time WITH PREJUDICE, the Court shall treat Plaintiff's motion as a motion for
                  reconsideration of an interlocutory order pursuant to Rule 54(b). A Court may, in its
                  discretion, reconsider such an order "as justice requires," but should not do so "without
                  good reason," such as "an error not of reasoning but of apprehension, or where a
                  controlling or significant change in the law or facts [has occurred] since the
                  submission of the issue to the Court.'" Singh v. George Washington Univ., 383 F.
                  Supp. 2d 99, 101 (D.D.C. 2005). Here, Plaintiff has failed to demonstrate sufficient
                  "good reason" for the Court to reconsider its December 18, 2008 Minute Order.
                  Although Plaintiff now submits a doctor's note to the Court, Plaintiff has not
                  demonstrated that he is unable to work. As Defendants demonstrated in their original
                  opposition, Plaintiff has−since the date of his November 6, 2008 accident−continued
                  to perform legal work in several civil actions. Indeed, Plaintiff has filed no less than
                  four separate submissions with this Court regarding his current request for an
                  extension of time, time which could have been devoted to preparing the substantive
                  opposition for which he now seeks an extension. The Court is therefore not persuaded
                  that Plaintiff has shown good reason for reconsideration of its previous minute order
                  denying his request for an extension of time, particularly given that the dispositive
                  motions schedule for both parties has been twice reset and that the Court has
                  repeatedly advised the parties that no further extensions shall be granted. Accordingly,
                  Plaintiff's 283 Motion is DENIED. Signed by Judge Colleen Kollar−Kotelly on
                  December 23, 2008. (lcckk2) (Entered: 12/23/2008)
12/23/2008   284 Memorandum in opposition to re 269 MOTION for Summary Judgment, 267
                 MOTION for Summary Judgment, 266 MOTION for Summary Judgment
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                  [incorporate Document 265, Statement of Material Facts ], 268 MOTION for
                  Summary Judgment exhibit 1 filed by LARRY KLAYMAN. (Attachments: # 1
                  Exhibit Exhibit 1−Deposition of Thomas Fitton)(Klayman, Larry) (Entered:
                  12/23/2008)
12/24/2008   285 REPLY to opposition to motion re 269 MOTION for Summary Judgment, 267
                 MOTION for Summary Judgment, 270 MOTION for Summary Judgment
                 Incorporating Document 265, Statement of Material Facts,, 266 MOTION for
                 Summary Judgment [incorporate Document 265, Statement of Material Facts ], 268
                 MOTION for Summary Judgment OPPOSITION TO DEFENDANTS' MOTIONS FOR
                 SUMMARY JUDGMENT (EXHIBIT "A") filed by LARRY KLAYMAN.
                 (Attachments: # 1 Exhibit EXHIBIT "A" DEPOSITION OF THOMAS J. FITTON, #
                 2 Exhibit EXHIBITS 1−5, # 3 Exhibit EXHIBITS 6−12, # 4 Exhibit EXHIBITS
                 13−20)(Klayman, Larry) (Entered: 12/24/2008)
12/24/2008   286 Memorandum in opposition to re 269 MOTION for Summary Judgment, 267
                 MOTION for Summary Judgment, 270 MOTION for Summary Judgment
                 Incorporating Document 265, Statement of Material Facts,, 266 MOTION for
                 Summary Judgment [incorporate Document 265, Statement of Material Facts ], 268
                 MOTION for Summary Judgment PLAINTIFF'S OPPOSITION TO DEFENDANTS'
                 MOTIONS FOR SUMMARY JUDGMENT filed by LARRY KLAYMAN.
                 (Attachments: # 1 Exhibit EXHIBIT "A" DEPOSITION OF THOMAS J. FITTON, #
                 2 Exhibit EXHIBITS 1−5, # 3 Exhibit EXHIBITS 6−12, # 4 Exhibit EXHIBITS
                 13−20)(Klayman, Larry) (Entered: 12/24/2008)
12/24/2008   287 MOTION for Extension of Time to FILE MEMORANDUM AND MATERIAL
                 STATEMENT OF FACTS IN DISPOUTE OUT OF TIME HAVING FILED
                 AFFIDAVITS, DEPOSITIONS; AND OTHER CONTROVERTED PROOF TO
                 DEFENDANTS' FIVE SUMMARY JUDGMENT MOTIONS TIMELY ON CHRISTMAS
                 EVE by LARRY KLAYMAN (Attachments: # 1 Exhibit LAFD INVOICE)(Klayman,
                 Larry) (Entered: 12/24/2008)
12/24/2008   288 AFFIDAVIT (EXHIBIT "B") SECOND AFFIDAVIT OF LARRY KLAYMAN by
                 LARRY KLAYMAN. (Attachments: # 1 Exhibit EXHIBIT C, # 2 Exhibit EXHIBIT
                 C, # 3 Exhibit EXHIBIT C, # 4 Exhibit EXHIBIT C, # 5 Exhibit EXHIBIT C, # 6
                 Exhibit EXHIBIT C, # 7 Exhibit EXHIBIT C)(Klayman, Larry) (Entered: 12/24/2008)
12/24/2008   289 Memorandum in opposition to re 275 MOTION for Partial Summary Judgment and
                 supporting memorandum of points and authorities filed by CHRISTOPHER
                 FARRELL, PAUL ORFANEDES, JUDICIAL WATCH, INC., THOMAS J. FITTON.
                 (Attachments: # 1 Exhibit 1, # 2 Exhibit 2)(Driscoll, Richard) (Entered: 12/24/2008)
12/24/2008   290 Civil Statement from DEFENDANTS JUDICIAL WATCH, INC., THOMAS J.
                 FITTON, PAUL J. ORFANEDES AND CHRISTOPHER J. FARRELL IN
                 RESPONSE TO PLAINTIFF'S STATEMENT OF MATERIAL FACTS NOT AT
                 ISSUE AND DEFENDANTS' CONCISE STATEMENT OF GENUINE ISSUES.
                 (Attachments: # 1 Exhibit 1, # 2 Exhibit 2)(Driscoll, Richard) (Entered: 12/24/2008)
12/29/2008   291 STRICKEN PURSUANT TO ORDER FILED 12/30/08.....Memorandum in
                 opposition to re 269 MOTION for Summary Judgment, 267 MOTION for Summary
                 Judgment, 270 MOTION for Summary Judgment Incorporating Document 265,
                 Statement of Material Facts,, 266 MOTION for Summary Judgment [incorporate
                 Document 265, Statement of Material Facts ], 268 MOTION for Summary Judgment
                 PLAINTIFF'S CONSOLIDATED OPPOSITIONS TO DEFENDANTS' FIVE
                 MOTIONS FOR SUMMARY JUDGMENT filed by LARRY KLAYMAN. (Klayman,
                 Larry) Modified on 12/31/2008 (td, ). (Entered: 12/29/2008)
12/30/2008   292 STRICKEN PURSUANT TO ORDER FILED 12/30/08.....Memorandum in
                 opposition to re 269 MOTION for Summary Judgment, 267 MOTION for Summary
                 Judgment, 270 MOTION for Summary Judgment Incorporating Document 265,
                 Statement of Material Facts,, 266 MOTION for Summary Judgment [incorporate
                 Document 265, Statement of Material Facts ], 268 MOTION for Summary Judgment
                 PLAINTIFF'S RESPONSE TO DEFENDANTS', JW;TJF; PO & CF; STATEMENT OF
                 MATERIAL FACTS TO MOTIONS (5) FOR SUMMARY JUDGMENT filed by
                 LARRY KLAYMAN. (Attachments: # 1 Statement of Facts Case Law − Meyer v.
                 Holley)(Klayman, Larry) Modified on 12/31/2008 (td, ). (Entered: 12/30/2008)
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12/30/2008   293 ORDER. For the reasons set forth in this Order dated December 30, 2008, it is hereby
                 ordered that Plaintiff's 287 motion for an extension of time is DENIED; and it is
                 further ordered that Plaintiff's 291 Opposition and 292 Response to Defendants'
                 Statement of Material Facts are hereby STRICKEN. Signed by Judge Colleen
                 Kollar−Kotelly on December 30, 2008. (lcckk2) (Entered: 12/30/2008)
01/05/2009   294 MOTION for Reconsideration re 292 Memorandum in Opposition,, by LARRY
                 KLAYMAN (Attachments: # 1 Dr. Lerner Letter, # 2 e−mail from Counsel for
                 Defendant)(Klayman, Larry) (Entered: 01/05/2009)
01/07/2009        MINUTE ORDER (paperless). For the reasons set out in the Court's December 18,
                  2008 Minute Order, December 23, 2008 Minute Order, and December 30, 2008 293
                  Order, the Court hereby DENIES 294 Plaintiff's FOURTH request for an extension of
                  time in which to file his oppositions to Defendants' motions for summary judgment.
                  Signed by Judge Colleen Kollar−Kotelly on January 7, 2009.(lcckk2) (Entered:
                  01/07/2009)
01/14/2009   295 NOTICE Praecipe by LARRY KLAYMAN (Klayman, Larry) (Entered: 01/14/2009)
01/14/2009   296 REPLY to opposition to motion re 275 MOTION for Partial Summary Judgment and
                 supporting memorandum of points and authorities in Opposition to Plaintiff's Motion
                 for Partial Summary Judgment filed by LARRY KLAYMAN. (Attachments: # 1
                 Affidavit of Larry Klayman, # 2 Klaymans 2nd Affidavit, # 3 Sandra Cobas Affidavit,
                 # 4 Michael Pendleton Affidavit)(Klayman, Larry) (Entered: 01/14/2009)
01/14/2009   297 REPLY to opposition to motion re 269 MOTION for Summary Judgment, 267
                 MOTION for Summary Judgment, 270 MOTION for Summary Judgment
                 Incorporating Document 265, Statement of Material Facts,, 266 MOTION for
                 Summary Judgment [incorporate Document 265, Statement of Material Facts ], 268
                 MOTION for Summary Judgment filed by CHRISTOPHER FARRELL, PAUL
                 ORFANEDES, JUDICIAL WATCH, INC., THOMAS J. FITTON. (Driscoll, Richard)
                 (Entered: 01/14/2009)
02/20/2009   298 MOTION for Recusal and/or Disqualification by LARRY KLAYMAN (Klayman,
                 Larry) (Entered: 02/20/2009)
03/03/2009   299 Memorandum in opposition to re 298 MOTION for Recusal and/or Disqualification
                 filed by CHRISTOPHER FARRELL, PAUL ORFANEDES, JUDICIAL WATCH,
                 INC., THOMAS J. FITTON. (Driscoll, Richard) (Entered: 03/03/2009)
03/11/2009   300 REPLY to opposition to motion re 298 MOTION for Recusal and/or Disqualification
                 filed by LARRY KLAYMAN. (Klayman, Larry) (Entered: 03/11/2009)
03/24/2009   301 MEMORANDUM AND OPINION on Defendants' Motion for Sanctions for Plaintiff's
                 Failure to Comply with Court Order. Signed by Magistrate Judge Alan Kay on
                 3/24/09. (lcak1) (Entered: 03/24/2009)
03/24/2009   302 ORDER granting 218 Defendants' Motion for Sanctions for Plaintiff's Failure to
                 Comply with Court Order. Signed by Magistrate Judge Alan Kay on 3/24/09. (lcak1)
                 (Entered: 03/24/2009)
04/07/2009   303 ENTERED IN ERROR.....Appeal of Magistrate Judge Decision to District Court by
                 LARRY KLAYMAN re 301 Memorandum & Opinion, 302 Order on Motion for
                 Miscellaneous Relief (Attachments: # 1 Exhibit)(Klayman, Larry) Modified on
                 4/8/2009 (nmw, ). (Entered: 04/07/2009)
04/07/2009   304 OBJECTIONS to 301 Memorandum Opinion and 302 Order by LARRY KLAYMAN.
                 (Attachments: # 1 Exhibit)(nmw, ) Modified on 4/8/2009 (nmw, ). (Entered:
                 04/08/2009)
04/08/2009        NOTICE OF CORRECTED DOCKET ENTRY: Docket Entry 303 Appeal of
                  Magistrate Judge Decision to District Court was entered in error and has been refiled
                  as Docket Entry 304 . (nmw, ) (Entered: 04/08/2009)
04/16/2009   305 RESPONSE re 303 Appeal of Magistrate Judge Decision to District Court ,
                 RESPONSE RE: 304 OBJECTIONS TO MEMORANDUM OPINION AND ORDER
                 OF MAGISTRATE JUDGE AND OPPOSITION TO MOTION FOR RECUSAL
                 AND/OR DISQUALIFICATION filed by CHRISTOPHER FARRELL, PAUL
                 ORFANEDES, JUDICIAL WATCH, INC., THOMAS J. FITTON. (Driscoll, Richard)
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                   (Entered: 04/16/2009)
04/23/2009   306 MOTION for Extension of Time to File Response/Reply as to 298 MOTION for
                 Recusal and/or Disqualification by LARRY KLAYMAN (Klayman, Larry) (Entered:
                 04/23/2009)
04/27/2009   307 RESPONSE re 306 MOTION for Extension of Time to File Response/Reply as to 298
                 MOTION for Recusal and/or Disqualification filed by CHRISTOPHER FARRELL,
                 PAUL ORFANEDES, JUDICIAL WATCH, INC., THOMAS J. FITTON.
                 (Attachments: # 1 Exhibit A)(Driscoll, Richard) (Entered: 04/27/2009)
04/27/2009         MINUTE ORDER (paperless) GRANTING Plaintiff's 306 Motion for an Extension of
                   Time in which to file a reply in support of his Objections to Magistrate Judge Alan
                   Kay's March 24, 2009 Order and accompanying Memorandum Opinion. Accordingly,
                   Plaintiff shall have until and including April 30, 2009 in which to file his Reply. The
                   Court, however, advises that NO FURTHER EXTENSIONS shall be permitted.
                   Counsel are expected to prioritize and manage their responsibilities to ensure that they
                   meet their obligations to this Court. Signed by Judge Colleen Kollar−Kotelly on April
                   27, 2009. (lcckk2 ) (Entered: 04/27/2009)
04/28/2009   308 REPLY to opposition to motion re 306 MOTION for Extension of Time to File
                 Response/Reply as to 298 MOTION for Recusal and/or Disqualification Plaintiff's
                 Reply to Defendants' Response to Plaintiff's Motion for Extension of Time filed by
                 LARRY KLAYMAN. (Klayman, Larry) (Entered: 04/28/2009)
04/30/2009   309 REPLY to opposition to motion re 298 MOTION for Recusal and/or Disqualification
                 filed by LARRY KLAYMAN. (Klayman, Larry) (Entered: 04/30/2009)
05/26/2009   310 MOTION for Order FINDING PLAINTIFF LARRY E. KLAYMAN IN CONTEMPT OF
                 THE DECEMBER 3, 2007, PROTECTIVE ORDER by CHRISTOPHER FARRELL,
                 PAUL ORFANEDES, JUDICIAL WATCH, INC., THOMAS J. FITTON
                 (Attachments: # 1 Exhibit A)(Driscoll, Richard) (Entered: 05/26/2009)
06/09/2009   311 First MOTION to Stay re 310 MOTION for Order FINDING PLAINTIFF LARRY E.
                 KLAYMAN IN CONTEMPT OF THE DECEMBER 3, 2007, PROTECTIVE ORDER by
                 LARRY KLAYMAN (Attachments: # 1 Exhibit 1)(Klayman, Larry) (Entered:
                 06/09/2009)
06/09/2009   312 Memorandum in opposition to re 310 MOTION for Order FINDING PLAINTIFF
                 LARRY E. KLAYMAN IN CONTEMPT OF THE DECEMBER 3, 2007, PROTECTIVE
                 ORDER filed by LARRY KLAYMAN. (See Docket Entry 311 to view document).
                 (nmw, ) (Entered: 06/10/2009)
06/17/2009   313 REPLY to opposition to motion re 311 First MOTION to Stay re 310 MOTION for
                 Order FINDING PLAINTIFF LARRY E. KLAYMAN IN CONTEMPT OF THE
                 DECEMBER 3, 2007, PROTECTIVE ORDER filed by CHRISTOPHER FARRELL,
                 PAUL ORFANEDES, JUDICIAL WATCH, INC., THOMAS J. FITTON. (Driscoll,
                 Richard) (Entered: 06/17/2009)
06/25/2009   314 ORDER. Based on the reasoning set forth in an accompanying memorandum opinion,
                 Plaintiff's 298 Motion for Recusal and/or Disqualification is DENIED. Signed by
                 Judge Colleen Kollar−Kotelly on June 25, 2009. (lcckk2 ) (Entered: 06/25/2009)
06/25/2009   315 MEMORANDUM OPINION. Signed by Judge Colleen Kollar−Kotelly on June 25,
                 2009. (lcckk2 ) (Entered: 06/25/2009)
06/25/2009   316 ORDER. Based on the reasoning set forth in an accompanying memorandum opinion,
                 Plaintiff's 304 Objections to Magistrate Judge Alan Kay's March 24, 2009
                 Memorandum Opinion and Order are OVERRULED and Magistrate Judge Kay's
                 March 24, 2009 301 Memorandum Opinion and 302 Order are AFFIRMED in their
                 entirety. In addition, Plaintiff's request to disqualify Magistrate Judge Kay pursuant to
                 28 U.S.C. § 455(a) is DENIED. Signed by Judge Colleen Kollar−Kotelly on June 25,
                 2009. (lcckk2 ) (Entered: 06/25/2009)
06/25/2009   317 MEMORANDUM OPINION. Signed by Judge Colleen Kollar−Kotelly on June 25,
                 2009. (lcckk2 ) (Entered: 06/25/2009)
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06/25/2009   318 ORDER. Based on the reasoning set forth in an accompanying memorandum opinion,
                 it is, this 25th day of June, 2009, hereby ordered that (1) Plaintiff's 275 Motion for
                 Partial Summary Judgment as to Count Six of the Second Amended Complaint is
                 DENIED; (2) Defendant Farrell's 266 Motion for Summary Judgment as to Counts
                 Four, Seven, and Nine of the Second Amended Complaint is GRANTED; (3)
                 Defendant Fitton's 267 Motion for Summary Judgment as to Counts Four, Seven, and
                 Nine of the Second Amended Complaint is GRANTED; (4) Defendant Orfanedes' 268
                 Motion for Summary Judgment as to Counts Four, Seven, and Nine of the Second
                 Amended Complaint is GRANTED; (5) Defendant Judicial Watch's 269 Motion for
                 Partial Summary Judgment as to Counts Four, Six, Seven, Eight, and Nine of the
                 Second Amended Complaint is GRANTED IN PART and DENIED IN PART; and (6)
                 Defendant/Counterclaimant Judicial Watch's 270 Motion for Partial Summary
                 Judgment as to Counts One, Two, Three and Ten of the Amended Counterclaim is
                 GRANTED IN PART, HELD IN ABEYANCE IN PART, and DENIED IN PART. It
                 is further ordered that Defendant/Counterlcaimant Judical Watch shall submit to the
                 Court, on or before July 17, 2009, a detailed accounting, with supporting
                 documentation, of the amount of unpaid expenses owed by Klayman so that the Court
                 can determine the appropriate amount of actual damages to award. Finally, the Court
                 shall hold a status hearing in this matter on Wednesday, September 16, 2009 at 9:00
                 A.M. in Courtroom 28A, at which time the Court shall discuss the manner in which to
                 proceed with resolution of this case. The Court encourages the parties to engage in
                 settlement discussions prior to the status hearing and before a pre−trial schedule is set.
                 To that end, the parties may contact the Court to request a referral to the Alternative
                 Dispute Resolution Program. Signed by Judge Colleen Kollar−Kotelly on June 25,
                 2009. (lcckk2 ) (Entered: 06/25/2009)
06/25/2009   319 MEMORANDUM OPINION. Signed by Judge Colleen Kollar−Kotelly on June 25,
                 2009. (lcckk2 ) (Entered: 06/25/2009)
06/25/2009   320 NOTICE OF INTERLOCUTORY APPEAL as to 314 Order on Motion for Recusal by
                 LARRY KLAYMAN. Fee Status: No Fee Paid. Parties have been notified.
                 (Attachments: # 1 Attachment)(Klayman, Larry) Modified event title on 6/26/2009
                 (nmw, ). (Entered: 06/25/2009)
06/26/2009         Transmission of Notice of Appeal and Docket Sheet to US Court of Appeals re 320
                   Notice of Appeal (jf, ) (Entered: 06/26/2009)
07/02/2009         USCA Case Number 09−7068 for 320 Notice of Appeal filed by LARRY
                   KLAYMAN. (jf, ) (Entered: 07/06/2009)
07/17/2009   321 MEMORANDUM re 319 Memorandum & Opinion by JUDICIAL WATCH, INC..
                 (Attachments: # 1 Exhibit 1, # 2 Exhibit 13i to Exhibit 1, # 3 Exhibit 13ii to Exhibit 1,
                 # 4 Exhibit 13iii to Exhibit 1, # 5 Exhibit 13iv to Exhibit 1, # 6 Exhibit 13v to Exhibit
                 1, # 7 Exhibit 13vi to Exhibit 1, # 8 Exhibit 13vii to Exhibit 1, # 9 Exhibit 13viii to
                 Exhibit 1, # 10 Exhibit 2)(Driscoll, Richard) (Entered: 07/17/2009)
08/21/2009   322 NOTICE by LARRY KLAYMAN (Klayman, Larry) (Entered: 08/21/2009)
08/31/2009         MINUTE ORDER (paperless). By order dated June 25, 2009, the Court, inter alia,
                   granted summary judgment to Defendant Judicial Watch ("JW") on Count One of its
                   Amended Counterclaim, insofar as it relates to Plaintiff's liability for breach of
                   contract based on unpaid expenses, but held in abeyance JW's request for damages on
                   this claim. See 6/25/09 Mem. Op., Docket No. 319 at 71−77. The Court required JW
                   to submit a detailed accounting of the amount of unpaid expenses owed by Plaintiff to
                   permit the Court to determine the appropriate amount of actual damages to award, and
                   deferred consideration of JW's request for prejudgment interest until all liability issues
                   had been resolved. JW timely filed the supplemental documentation, as required. See
                   Docket No. 321 . In doing so, however, JW also re−raised its request for prejudgment
                   interest, providing the Court with additional substantive argument on this point. See id.
                   at 4−9. In light of these substantive arguments raised by JW, the Court shall provide
                   Plaintiff an opportunity to respond to JW's supplemental brief. Although the time for
                   such a response has now passed, the Court, cognizant of the D.C. Circuit's decisions in
                   Fox v. Strickland, 837 F.2d 507 (D.C. Cir. 1988), and Neal v. Kelly, 963 F.2d 453
                   (D.C. Cir. 1992), shall nonetheless permit Plaintiff, who is representing himself pro se,
                   additional time to respond to the substantive arguments raised in JW's filing relating to
                   its request for prejudgment interest. Accordingly, Plaintiff shall have until and
                   including September 11, 2009, in which to file a response, if any, to JW's 321
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                   Supplemental Brief. The Court advises Plaintiff that, if no such response is timely
                   filed, the Court shall treat JW's arguments as conceded. In addition, the Court
                   emphasizes that Plaintiff shall limit his response, if any, only to the issue of
                   prejudgment interest. JW's reply, if any, shall be due on or before September 23, 2009.
                   Finally, in light of this briefing schedule, the hereby CONTINUES the Status in this
                   case, currently scheduled for September 16, 2009, until October 15, 2009 at 10:00 AM
                   in Courtroom 28A. Signed by Judge Colleen Kollar−Kotelly on August 31, 2009.
                   (lcckk2 ) (Entered: 08/31/2009)
09/11/2009   323 RESPONSE TO ORDER OF THE COURT MINUTE ORDER filed by LARRY
                 KLAYMAN. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2)(Klayman, Larry) (Entered:
                 09/11/2009)
09/23/2009   324 REPLY 323 TO PLAINTIFF'S RESPONSE TO THE MINUTE ORDER OF AUGUST
                 31, 2009 filed by JUDICIAL WATCH, INC.. (Driscoll, Richard) Modified on
                 9/24/2009 (td, ). (Entered: 09/23/2009)
10/13/2009   325 ORDER. For the reasons set forth herein, Plaintiff's 311 Motion to Stay is DENIED
                 AS MOOT and Defendants' 310 Motion for Contempt Against Plaintiff Larry E.
                 Klayman is DENIED. Signed by Judge Colleen Kollar−Kotelly on October 13, 2009.
                 (lcckk2 ) (Entered: 10/13/2009)
10/14/2009   326 ORDER. Based on the reasoning set forth in an accompanying memorandum opinion,
                 JW's 270 Motion for Summary Judgment, as supplemented, is GRANTED with
                 respect to Count One of the Amended Counterclaim, insofar as it seeks monetary
                 damages (excluding interest) in the amount of $69,358.48 for unpaid expenses owed
                 by Klayman to JW pursuant to paragraph 10 of the Severance Agreement. However,
                 JW's request for reconsideration of the Court's previous decision to defer consideration
                 of prejudgment interest until after liability has been resolved is DENIED. The Court
                 shall revisit the issue of prejudgment interest as may be appropriate once liability has
                 been finally determined. Signed by Judge Colleen Kollar−Kotelly on October 14,
                 2009. (lcckk2 ) (Entered: 10/14/2009)
10/14/2009   327 MEMORANDUM OPINION. Signed by Judge Colleen Kollar−Kotelly on October
                 14, 2009. (lcckk2) (Entered: 10/14/2009)
10/14/2009   328 MOTION for Leave to Appear Telephonically at Status Conference by LARRY
                 KLAYMAN (Klayman, Larry) (Entered: 10/14/2009)
10/14/2009         MINUTE ORDER (paperless). Plaintiff contacted Chambers by telephone today,
                   October 14, 2009, to request that he be permitted to participate in tomorrow's Status
                   Conference via telephone. Plaintiff indicated that he is out of office today, but that he
                   would submit an appropriate motion to the Court via facsmile, which he would file on
                   the docket at his earliest opportunity. The Court has now received Plaintiff's motion.
                   Plaintiff indicates that he is currently in California to attend another court hearing and
                   is therefore unable to attend tomorrow's Status Conference in person. The Court notes
                   that the Status Conference in this case was rescheduled more than six weeks ago, and
                   Plaintiff therefore had sufficient notice of any potential scheduling conflict.
                   Notwithstanding such notice, Plaintiff waited until the day before the Status
                   Conference to request permission to attend by telephone. Plaintiff represents, however,
                   that he has contacted Defense counsel as required under LCvR 7(m) to alert them to
                   his request. Defendants advised Plaintiff that they oppose his request. Nonetheless,
                   because the Court shall be discussing only procedural and scheduling issues at this
                   pre−trial hearing rather than more complex, substantive issues and because both the
                   parties and the Court have an interest in resolving this case in an expedient manner, the
                   Court shall permit Plaintiff to participate in the October 15, 2009 Status Conference
                   via telephone. Signed by Judge Colleen Kollar−Kotelly on October 14, 2009. (lcckk2 )
                   (Entered: 10/14/2009)
10/15/2009         Minute Entry for proceedings held before Judge Colleen Kollar−Kotelly: Status
                   Conference held on 10/15/2009. Pretrial Conference set for 3/26/2010 09:30 AM in
                   Courtroom 28A before Judge Colleen Kollar−Kotelly. (Court Reporter Lisa Hand.)
                   (dot, ) (Entered: 10/15/2009)
10/16/2009   329 Consent MOTION Reschedule Pretrial Conference re Status Conference, Set Hearings
                 by CHRISTOPHER FARRELL, PAUL ORFANEDES, JUDICIAL WATCH, INC.,
                 THOMAS J. FITTON (Attachments: # 1 Text of Proposed Order)(Driscoll, Richard)
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                   (Entered: 10/16/2009)
10/20/2009         MINUTE ORDER granting 329 Consent Motion to Reschedule Pretrial Conference.
                   Accordingly, the Pretrial Conference previously set for March 26, 2010, is hereby be
                   vacated; and it is FURTHER ORDERED that the Pretrial Conference for this case
                   shall be RESCHEDULED for April 30, 2010, at 9:00 a.m. in Courtroom 28A. Signed
                   by Judge Colleen Kollar−Kotelly on October 20, 2009. (SM) (Entered: 10/20/2009)
10/20/2009   330 SCHEDULING ORDER: Motions in Limine due by 3/3/2010. Oppositions due
                 3/17/2010. Replies due 3/31/2010. Joint Pretrial Statement due by 3/31/2010. Pretrial
                 Conference set for 4/30/2010 09:00 AM in Courtroom 28A before Judge Colleen
                 Kollar−Kotelly. Signed by Judge Colleen Kollar−Kotelly on 10/20/09. (dot, )
                 (Entered: 10/26/2009)
10/20/2009         Set/Reset Hearings: Pretrial Conference set for 4/30/2010 09:00 AM in Courtroom
                   29A before Judge Colleen Kollar−Kotelly. (dot, ) (Entered: 04/29/2010)
03/30/2010   331 Final MOTION for Extension of Time to Complete Discovery by LARRY
                 KLAYMAN (Klayman, Larry) (Entered: 03/30/2010)
03/30/2010   332 Memorandum in opposition to re 331 Final MOTION for Extension of Time to
                 Complete Discovery filed by THOMAS J. FITTON, JUDICIAL WATCH, INC..
                 (Attachments: # 1 Exhibit 1)(Driscoll, Richard) (Entered: 03/30/2010)
03/31/2010         MINUTE ORDER (paperless). On March 30, 2010, only one day before the parties'
                   Joint Pretrial Statement was due, Plaintiff filed a 331 Motion for a Two Day Extension
                   of Time to File Joint Pretrial Statement. As Plaintiff is well aware by now, his belated
                   request for an extension of time fails to comply with this Court's directive that motions
                   for extensions are to be filed at least four business days in advance of the deadline the
                   party seeks to extend. Nonetheless, it appears that Plaintiff is wholly unprepared to file
                   the required Joint Pretrial Statement today. Indeed, while Defendant Judicial Watch
                   indicates that it takes no position with respect to Plaintiff's motion for an extension, it
                   filed a response advising the Court that the parties have not yet met or substantively
                   discussed the Joint Pretrial Statement, despite Judicial Watch's efforts, beginning in
                   late January of 2010, to arrange a meeting with Plaintiff. It is therefore readily
                   apparent to the Court that an extension of time is necessary if the parties are to submit
                   a JOINT statement, as is required. The Court therefore reluctantly GRANTS Plaintiff's
                   331 Motion. The parties' Joint Pretrial Statement shall be due by no later than April 2,
                   2010. NO FURTHER EXTENSIONS SHALL BE GRANTED. Signed by Judge
                   Colleen Kollar−Kotelly on March 31, 2010. (lcckk2 ) (Entered: 03/31/2010)
03/31/2010         Set/Reset Deadlines: Joint Pretrial Statement due by 4/2/2010. (dot, ) (Entered:
                   03/31/2010)
04/02/2010   333 PRETRIAL STATEMENT by THOMAS J. FITTON, JUDICIAL WATCH, INC..
                 (Attachments: # 1 Defendant's Proposed Verdict Form, # 2 Defendant's Proposed Voir
                 Dire, # 3 Defendant's Objections to the Joint Pretrial Statement)(Driscoll, Richard)
                 (Entered: 04/02/2010)
04/30/2010   334 ORDER. The parties shall complete all modifications to the Joint Pretrial Statement, as
                 ordered herein, and shall exchange the proposed amended sections to the other side for
                 review, by no later than June 1, 2010. The parties shall then review the other side's
                 proposed submissions and shall exchange objections to the proposed submissions, in a
                 good faith effort to minimize any disputes. To the extent the parties are unable to
                 mutually resolve any such disputes, the parties shall file with the Court their
                 objections, along with the ordered amended sections to the Joint Pretrial Statement, as
                 outlined herein, by no later than June 11, 2010. Finally, the Pretrial Conference in this
                 matter is CONTINUED until July 9, 2010 at 9:00 A.M. Signed by Judge Colleen
                 Kollar−Kotelly on April 30, 2010. (lcckk2 ) (Entered: 04/30/2010)
04/30/2010         Minute Entry for proceedings held before Judge Colleen Kollar−Kotelly: Status
                   Conference held on 4/30/2010. Joint Pretrial Statement due by 6/11/2010. Pretrial
                   Conference set for 7/9/2010 09:00 AM in Courtroom 28A before Judge Colleen
                   Kollar−Kotelly. (Court Reporter Lisa Hand.) (dot, ) (Entered: 05/12/2010)
06/10/2010   335 MOTION for Extension of Time to file joint pre−trial statement by LARRY
                 KLAYMAN (Klayman, Larry) (Entered: 06/10/2010)
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06/11/2010   336 Memorandum in opposition to re 335 MOTION for Extension of Time to file joint
                 pre−trial statement filed by THOMAS J. FITTON, JUDICIAL WATCH, INC..
                 (Attachments: # 1 Exhibit A, # 2 Exhibit B)(Driscoll, Richard) (Entered: 06/11/2010)
06/11/2010   337 PRETRIAL STATEMENT by THOMAS J. FITTON, JUDICIAL WATCH, INC..
                 (Attachments: # 1 Proposed Joint PreTrial Statement)(Driscoll,
                 Richard).....STRICKEN IN PART PURSUANT TO ORDER FILED
                 8/10/2011....Klayman's (i) Statement of the Case, (ii) List of Witnesses, (iii) List of
                 Exhibits, and (iv) Deposition Designations are STRICKEN. (znmw). (Modified on
                 8/11/2011 (znmw, ). (Entered: 06/11/2010)
06/16/2010   338 ORDER. Plaintiff's 335 Motion for Extension of Time is GRANTED nunc pro tunc.
                 Plaintiff shall have until and including June 18, 2010 to prepare his proposed
                 amendments to the Joint Pretrial Statement, as required by the Court's April 30, 2010
                 Order, and to serve a copy of those proposed amendments on counsel for Defendants.
                 The amended Joint Pretrial Statement, with Plaintiff's amendments and Defendants'
                 objections thereto, shall be filed with the Court on or before July 12, 2010. The Pretrial
                 Conference currently scheduled for July 9, 2010 is CONTINUED until August 6, 2010
                 at 10:00 A.M. Signed by Judge Colleen Kollar−Kotelly on June 18, 2010. (lcckk2 )
                 (Entered: 06/16/2010)
06/16/2010         Set/Reset Deadlines/Hearings: Pretrial Statement due by 7/12/2010. Pretrial
                   Conference reset for 8/6/2010 10:00 AM in Courtroom 28A before Judge Colleen
                   Kollar−Kotelly. (dot, ) (Entered: 06/25/2010)
06/18/2010   339 MOTION for Extension of Time to file proposed amendments to Joint Pretrial
                 Statement by LARRY KLAYMAN (Klayman, Larry) (Entered: 06/18/2010)
06/18/2010         MINUTE ORDER (paperless) GRANTING Plaintiff's 339 Motion for Extension based
                   upon Plaintiff's representations that he was involved in a "serious hit and run car
                   accident" on June 12, 2010, in which he sustained physical injuries that leave him
                   presently unable to work at full capacity. Furthermore, the Court notes that
                   Defendant's lead counsel is currently out of office on a vacation, such that the
                   requested extension is unlikely to cause delay in Defendants' review of the proposed
                   amendments to the Joint Pretrial Statement. The Court therefore amends its previous
                   338 Order to provide that Plaintiff has until 12:00 P.M. NOON EDT on Monday, June
                   28, 2010, to prepare his proposed amendments to the Joint Pretrial Statement and to
                   serve a copy of those proposed amendments on counsel for Defendants. The Court's
                   338 Order otherwise remains in effect. Finally, the Court emphasizes that, with this
                   additional extension, Plaintiff will be permitted nearly FOUR additional weeks to
                   serve his proposed amendments on Defendants, which under the Court's April 30,
                   2010 Order were originally due to be served on Defendants by June 1, 2010. As such,
                   the Court expects Plaintiff to give priority to his obligations in this lawsuit, which has
                   now been pending more than four years, and reiterates that NO FURTHER
                   EXTENSIONS shall be granted. Signed by Judge Colleen Kollar−Kotelly on June 18,
                   2010. (lcckk2) (Entered: 06/18/2010)
07/12/2010   340 ENTERED IN ERROR..... MOTION to Disqualify Judge by LARRY KLAYMAN
                 (Klayman, Larry) Modified on 7/13/2010 (znmw, ). (Entered: 07/12/2010)
07/12/2010   341 MOTION to Stay by LARRY KLAYMAN (Klayman, Larry) (Entered: 07/12/2010)
07/12/2010   342 MOTION to Strike re 337 by THOMAS J. FITTON, JUDICIAL WATCH, INC.
                 (Attachments: # 1 Text of Proposed Order)(Driscoll, Richard) Modified to add link on
                 7/13/2010 (znmw, ). (Entered: 07/12/2010)
07/13/2010         NOTICE OF ERROR re 340 Motion to Disqualify Judge; emailed to
                   leklayman@yahoo.com, cc'd 6 associated attorneys −− The PDF file you docketed
                   contained errors: 1. Incorrect event used, 2. Entered in Error; Document is also a
                   duplicate of Docket Entry 341 which was filed correctly. (znmw, ) (Entered:
                   07/13/2010)
07/19/2010   343 NOTICE OF PRAECIPE by LARRY KLAYMAN (Klayman, Larry) (Entered:
                 07/19/2010)
07/26/2010   344 Memorandum in opposition to re 342 MOTION to Strike filed by LARRY
                 KLAYMAN. (Klayman, Larry) (Entered: 07/26/2010)
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07/26/2010   345 MOTION to Disqualify Judge by LARRY KLAYMAN (Attachments: # 1 Affidavit
                 Lk Decl, # 2 Exhibit chart)(Klayman, Larry) (Entered: 07/26/2010)
07/27/2010   346 Memorandum in opposition to re 341 MOTION to Stay filed by THOMAS J.
                 FITTON, JUDICIAL WATCH, INC.. (Attachments: # 1 Text of Proposed
                 Order)(Driscoll, Richard) (Entered: 07/27/2010)
08/03/2010        MINUTE ORDER (paperless). Plaintiff filed a 345 Motion to Disqualify this Court
                  pursuant to 28 U.S.C. § 144 on July 26, 2010. In order to ensure that all parties to this
                  action have an opportunity to respond to that motion before the Court rules, the Court
                  advises Defendants that their response to Plaintiff's Motion shall be due under the local
                  and federal rules by no later than August 12, 2010. Plaintiff's reply, if any, shall be due
                  by no later than August 23, 2010. Finally, in order to ensure that Plaintiff's Motion to
                  Disqualify is fully briefed and ruled on prior to the final pretrial conference, the Court
                  shall also CONTINUE the pretrial conference currently scheduled in this case for
                  August 6, 2010 until October 20, 2010, at 10:00 AM. At that time a firm trial date for
                  resolution of this case can be set, as appropriate. Signed by Judge Colleen
                  Kollar−Kotelly on August 3, 2010. (lcckk2 ) (Entered: 08/03/2010)
08/05/2010        Set/Reset Deadlines/Hearings: Motions due by 8/12/2010. Replies due by 8/23/2010.
                  Pretrial Conference set for 10/20/2010 at 10:00 AM in Courtroom 28A before Judge
                  Colleen Kollar−Kotelly. (tr) (Entered: 08/05/2010)
08/12/2010   347 Memorandum in opposition to re 345 MOTION to Disqualify Judge filed by
                 THOMAS J. FITTON, JUDICIAL WATCH, INC.. (Attachments: # 1 Exhibit A, # 2
                 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E, # 6 Exhibit F)(Driscoll,
                 Richard) (Entered: 08/12/2010)
08/19/2010   348 Consent MOTION to Continue PRETRIAL CONFERENCE by THOMAS J. FITTON,
                 JUDICIAL WATCH, INC. (Attachments: # 1 Text of Proposed Order)(Driscoll,
                 Richard) (Entered: 08/19/2010)
08/23/2010   349 MOTION for Extension of Time to File Response/Reply by LARRY KLAYMAN
                 (Klayman, Larry) (Entered: 08/23/2010)
08/24/2010        MINUTE ORDER granting 348 Consent Motion to Continue Pretrial Conference.
                  Accordingly, the Pretrial Conference currently set for October 20, 2010, is hereby
                  RESCHEDULED for October 25, 2010, at 9:30 a.m. in Courtroom 28A. Signed by
                  Judge Colleen Kollar−Kotelly on August 24, 2010. (SM) (Entered: 08/24/2010)
08/24/2010        MINUTE ORDER (paperless) GRANTING Plaintiff's 349 Motion for Extension of
                  Time, in which Plaintiff seeks an additional ten days in which to file his reply to the
                  pending 345 28 U.S.C. 144 Motion to Disqualify due to his current medical condition.
                  Plaintiff indicates that Defendants have consented to his request. The Court notes that
                  an additional extension of 10 days from the previous August 23, 2010 deadline, as
                  requested by Plaintiff, results in a new deadline of September 2, 2010 −− not
                  September 4, 2010, as indicated in Plaintiff's Motion (which the Court assumes is an
                  inadvertent typographical error, given that September 4th is a Saturday). Accordingly,
                  pursuant to Plaintiff's request for a ten−day extension, Plaintiff shall have until and
                  including Thursday, September 2, 2010, in which to file his reply. Signed by Judge
                  Colleen Kollar−Kotelly on August 24, 2010. (lcckk2 ) (Entered: 08/24/2010)
08/24/2010        Set/Reset Hearings: Pretrial Conference re−set for 10/25/2010 09:30 AM in
                  Courtroom 29A before Judge Colleen Kollar−Kotelly. (dot, ) (Entered: 09/01/2010)
09/02/2010   350 MOTION for Extension of Time to REPLY by LARRY KLAYMAN (Klayman, Larry)
                 (Entered: 09/02/2010)
09/03/2010        MINUTE ORDER granting Plaintiffs' second 350 Motion for Extension of Time to
                  File Reply in support of their motion to disqualify the trial judge. Accordingly,
                  Plaintiffs shall have until and including September 8, 2010, to file their reply.
                  Set/Reset Deadlines: Reply due by 9/8/2010. Signed by Judge Colleen Kollar−Kotelly
                  on September 3, 2010. (SM) (Entered: 09/03/2010)
09/08/2010   351 MOTION for Extension of Time to by LARRY KLAYMAN (Klayman, Larry)
                 (Entered: 09/08/2010)
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09/08/2010   352 Amended MOTION for Extension of Time to by LARRY KLAYMAN (Klayman,
                 Larry) (Entered: 09/08/2010)
09/08/2010   353 Memorandum in opposition to re 352 Amended MOTION for Extension of Time to,
                 351 MOTION for Extension of Time to File Reply Brief filed by THOMAS J.
                 FITTON, JUDICIAL WATCH, INC.. (Attachments: # 1 Exhibit A − WorldNetDaily
                 Columns, # 2 Exhibit B − Arizona Appearance, # 3 Exhibit C − Kagan Complaint, # 4
                 Exhibit D − Kagan Article, # 5 Exhibit E − Attorney's Lien, # 6 Exhibit F − Fee
                 Dispute Article)(Driscoll, Richard) (Entered: 09/08/2010)
09/09/2010         MINUTE ORDER (paperless). The Court has reviewed both Plaintiff's 351 & 352
                   Motion for Extension of Time, as amended, as well as Defendants' 353 Opposition
                   thereto. As Defendants correctly point out, Plaintiff's most recent request for an
                   extension of time is part of a well documented pattern of delay by Plaintiff in
                   prosecuting this case. Plaintiff indicates that this latest request for an extension is
                   necessitated both by his present health concerns, which have "hampered his ability to
                   work," and his obligations in other matters. Plaintiff has been repeatedly advised by
                   this Court that concerns regarding his workload are not good cause for excusing his
                   compliance with long−standing obligations in this action −− particularly where the
                   deadlines at issue relate to a Motion filed by Plaintiff himself. Moreover, as
                   Defendants' Opposition ably demonstrates, Plaintiff's health concerns do not appear to
                   have prevented him from continuing to work on several other matters. Nonetheless, the
                   Court finds, in its discretion, that it shall grant Plaintiff this final extension of time so
                   that it may benefit from Plaintiff's reply in both this case as well as in civil action
                   10−534, in which the identical motion to disqualify is pending. The Court therefore
                   GRANTS, albeit reluctantly, Plaintiff's 351 & 352 Motion for Extension of Time, as
                   amended. Accordingly, Plaintiff shall have until and including September 15, 2010, in
                   which to file a reply to his Motion to Disqualify. Plaintiff is advised that NO
                   FURTHER EXTENSIONS shall be granted. If Plaintiff is unable to prioritize this case
                   and timely file a reply in support of his own pending motion, the Motion to Disqualify
                   shall be resolved on the basis of his motion and Defendants' opposition only. Signed
                   by Judge Colleen Kollar−Kotelly on September 9, 2010. (lcckk2 ) (Entered:
                   09/09/2010)
09/15/2010   354 REPLY to opposition to motion re 345 MOTION to Disqualify Judge filed by LARRY
                 KLAYMAN. (Klayman, Larry) (Entered: 09/15/2010)
10/13/2010   355 ORDER. Based upon the reasons set forth in the accompanying Memorandum
                 Opinion, Plaintiff Larry Klayman's 345 Motion to Disqualify the Court pursuant to 28
                 U.S.C. § 144 is DENIED; Plaintiff Larry Klayman's 341 Motion to Stay is DENIED as
                 moot; Defendants' 342 Motion to Strike is HELD IN ABEYANCE and shall be
                 resolved in the context of the final pretrial status conference in this case. Signed by
                 Judge Colleen Kollar−Kotelly on October 13, 2010. (lcckk3) (Entered: 10/13/2010)
10/13/2010   356 MEMORANDUM OPINION. Signed by Judge Colleen Kollar−Kotelly on October
                 13, 2010. (lcckk3) (Entered: 10/13/2010)
10/13/2010         MINUTE ORDER (paperless). Due to a conflict resulting from a trial in an unrelated
                   action now expected to go longer than initially projected, and in light of the Court's
                   overall trial schedule, the Pretrial Conference currently scheduled for October 25,
                   2010, at 9:30 a.m, see Aug. 24, 2010 Min. Order, is hereby RESCHEDULED for
                   January 13, 2011 at 10:00 a.m. before Judge Colleen Kollar−Kotelly in Courtroom
                   28A. Signed by Judge Colleen Kollar−Kotelly on October 13, 2010. (lcckk3) (Entered:
                   10/13/2010)
10/13/2010         Set/Reset Hearings: Pretrial Conference reset for 1/13/2011 10:00 AM in Courtroom
                   28A before Judge Colleen Kollar−Kotelly. (dot, ) (Entered: 10/21/2010)
01/10/2011   357 NOTICE OF PRAECIPE by LARRY KLAYMAN (Attachments: # 1 Exhibit Kotelly
                 Complaint)(Klayman, Larry) (Entered: 01/10/2011)
01/11/2011         MINUTE ORDER (paperless). Based on Plaintiff's 357 Praecipe, filed on January 10,
                   2011, the Pretrial Conference currently scheduled for January 13, 2011 at 10:00 a.m. is
                   CONTINUED pending further order of the Court. Signed by Judge Colleen
                   Kollar−Kotelly on January 11, 2011. (lcckk3) (Entered: 01/11/2011)
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01/14/2011   358 RESPONSE re 357 Notice (Other) filed by CHRISTOPHER FARRELL, THOMAS J.
                 FITTON, JUDICIAL WATCH, INC., PAUL ORFANEDES. (Driscoll, Richard)
                 (Entered: 01/14/2011)
01/17/2011   359 REPLY re 358 OF PLAINTIFF (RESPONSE) TO DEFENDANTS OBJECTIONS OF
                 JANUARY 14, 2011 filed by LARRY KLAYMAN. (Klayman, Larry) Modified to add
                 link on 1/18/2011 (znmw, ). (Entered: 01/17/2011)
03/01/2011   360 NOTICE PRAECIPE re: disciplinary complaint by LARRY KLAYMAN (Klayman,
                 Larry) (Entered: 03/01/2011)
08/10/2011   361 ORDER. For the reasons stated in the accompanying Memorandum Opinion,
                 Defendants' 342 Motion to Strike is GRANTED; Klayman's (i) statement of the case,
                 (ii) list of witnesses, (iii) list of exhibits, and (iv) deposition designations are
                 STRICKEN from the parties' revised [337−1] Joint Pretrial Statement dated June 11,
                 2010; Klayman is PRECLUDED from introducing any witnesses or exhibits at the trial
                 in this action; however, he may cross−examine Defendants' proffered witnesses and
                 make opening and closing arguments. A final Pretrial Conference in this action will be
                 held on August 31, 2011, at 9:30 a.m.; Klayman is advised that he must appear in
                 person. Signed by Judge Colleen Kollar−Kotelly on August 10, 2011. (lcckk3)
                 (Entered: 08/10/2011)
08/10/2011   362 MEMORANDUM OPINION. Signed by Judge Colleen Kollar−Kotelly on August 10,
                 2011. (lcckk3) (Entered: 08/10/2011)
08/16/2011   363 Consent MOTION to Continue Pretrial Conference by CHRISTOPHER FARRELL,
                 THOMAS J. FITTON, JUDICIAL WATCH, INC., PAUL ORFANEDES (Driscoll,
                 Richard) (Entered: 08/16/2011)
08/16/2011        MINUTE ORDER granting 363 Consent Motion to Continue Pretrial Conference.
                  Accordingly, the Pretrial Conference set for August 31, 2011, is vacated; and it is
                  FURTHER ORDERED, that the Pretrial Conference is hereby RESCHEDULED for
                  September 12, 2011, at 10:30 a.m. in Courtroom 28A. Signed by Judge Colleen
                  Kollar−Kotelly on August 16, 2011. (SM) (Entered: 08/16/2011)
08/16/2011        Set/Reset Hearings: Pretrial Conference set for 9/12/2011 10:30 AM in Courtroom
                  28A before Judge Colleen Kollar−Kotelly. (dot ) (Entered: 08/26/2011)
09/07/2011   364 MOTION for Extension of Time to Reset Pretrial Date by LARRY KLAYMAN
                 (Klayman, Larry) (Entered: 09/07/2011)
09/07/2011        MINUTE ORDER granting unopposed 364 Motion to Reset Pretrial Date.
                  Accordingly, the current Pretrial Hearing date of September 12, 2011, is hereby
                  vacated; and it is FURTHER ORDERED that the Pretrial Hearing is hereby
                  RESCHEDULED for Friday, October 14, 2011, at 1:00 p.m. in Courtroom 28A.
                  Signed by Judge Colleen Kollar−Kotelly on September 7, 2011. (SM) (Entered:
                  09/07/2011)
10/11/2011   365 MOTION to Postpone Pretrial Conference by LARRY KLAYMAN (Attachments: # 1
                 Exhibit Exhibit 1, # 2 Exhibit Exhibit 2)(Klayman, Larry) (Entered: 10/11/2011)
10/11/2011        MINUTE ORDER (paperless). Plaintiff's 365 Motion to Postpone Pre−trial
                  Conference is GRANTED. The Pretrial Conference scheduled for Friday, October 14,
                  2011 is VACATED and this action is STAYED pending further order of the Court.
                  Signed by Judge Colleen Kollar−Kotelly on October 11, 2011. (lcckk3) (Entered:
                  10/11/2011)
10/11/2011   366 MOTION to Postpone Pretrial Conference by LARRY KLAYMAN (Attachments: # 1
                 Exhibit Exhibit 1, # 2 Exhibit Exhibit 2)(Klayman, Larry) (Entered: 10/11/2011)
10/11/2011        MINUTE ORDER (paperless). Plaintiff's 366 Motion to Postpone Pre−Trial
                  Conference, identical to his prior 365 Motion to Postpone Pre−Trial Conference with
                  the exception that it notes that "Defendants do not consent to this motion," is DENIED
                  as moot in light of the Court's prior Minute Order dated October 11, 2011. Signed by
                  Judge Colleen Kollar−Kotelly on October 11, 2011. (lcckk3) (Entered: 10/11/2011)
10/11/2011   367 Memorandum in opposition to re 365 MOTION to Postpone Pretrial Conference, 366
                 MOTION to Postpone Pretrial Conference filed by CHRISTOPHER FARRELL,
                 THOMAS J. FITTON, JUDICIAL WATCH, INC., PAUL ORFANEDES. (Driscoll,
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                  Richard) (Entered: 10/11/2011)
09/27/2012   368 NOTICE OF FILING by LARRY E. KLAYMAN (Attachments: # 1 Certificate of
                 Service)(Klayman, Larry) (Entered: 09/27/2012)
05/20/2013   369 NOTICE Praecipe by LARRY E. KLAYMAN (Klayman, Larry) (Entered:
                 05/20/2013)
08/12/2013   370 NOTICE Praecipe by LARRY E. KLAYMAN (Attachments: # 1 Certificate of
                 Service)(Klayman, Larry) (Entered: 08/12/2013)
10/22/2013   371 NOTICE Praecipe by LARRY E. KLAYMAN (Attachments: # 1 Certificate of
                 Service)(Klayman, Larry) (Entered: 10/22/2013)
02/10/2014   372 NOTICE Praecipe by LARRY E. KLAYMAN (Klayman, Larry) (Entered:
                 02/10/2014)
10/06/2014   373 NOTICE Praecipe by LARRY E. KLAYMAN (Klayman, Larry) (Entered:
                 10/06/2014)
10/16/2014   374 NOTICE of Filing by LARRY E. KLAYMAN (Attachments: # 1 Exhibit 1)(Klayman,
                 Larry) (Entered: 10/16/2014)
03/12/2015   375 MOTION to Lift Stay and Proceed to Trial by CHRISTOPHER FARRELL,
                 THOMAS J. FITTON, JUDICIAL WATCH, INC., PAUL ORFANEDES
                 (Attachments: # 1 Text of Proposed Order)(Driscoll, Richard) (Entered: 03/12/2015)
03/20/2015   376 MOTION to Lift Stay and Proceed to Trial (CORRECTED) by THOMAS J. FITTON,
                 JUDICIAL WATCH, INC. (Attachments: # 1 Text of Proposed Order)(Driscoll,
                 Richard) (Entered: 03/20/2015)
04/06/2015   377 Memorandum in opposition to re 376 MOTION to Lift Stay and Proceed to Trial
                 (CORRECTED) filed by LARRY E. KLAYMAN. (Klayman, Larry) (Entered:
                 04/06/2015)
04/13/2015   378 REPLY to opposition to motion re 376 MOTION to Lift Stay and Proceed to Trial
                 (CORRECTED) filed by THOMAS J. FITTON, JUDICIAL WATCH, INC..
                 (Attachments: # 1 Exhibit A)(Driscoll, Richard) (Entered: 04/13/2015)
04/14/2015   379 SUPPLEMENTAL MEMORANDUM to re 377 Memorandum in Opposition filed by
                 LARRY E. KLAYMAN. (Attachments: # 1 Exhibit A, # 2 Exhibit B)(Klayman,
                 Larry) (Entered: 04/14/2015)
05/04/2016        MINUTE ORDER granting Defendant's 376 Motion to Remove Stay and Proceed
                  With Trial. The Court will set dates for additional proceedings by a separate Order.
                  Signed by Judge Colleen Kollar−Kotelly on 5/4/2016. (lcckk2) (Entered: 05/04/2016)
09/26/2016   380 STATUS REPORT AND REQUEST FOR PRETRIAL CONFERENCE by THOMAS
                 J. FITTON, JUDICIAL WATCH, INC.. (Driscoll, Richard) (Entered: 09/26/2016)
09/26/2016   381 MOTION for Status Conference by THOMAS J. FITTON, JUDICIAL WATCH, INC.
                 (See Docket Entry 380 to view document). (znmw) (Entered: 09/27/2016)
09/27/2016   382 RESPONSE re 381 MOTION for Hearing Opposing Defendants' Status Report and
                 Request for Pretrial Conference filed by LARRY E. KLAYMAN. (Klayman, Larry)
                 (Entered: 09/27/2016)
09/30/2016        MINUTE ORDER: Upon consideration of Defendants' 380 Status Report and Request
                  for Pretrial Conference and Plaintiff's 382 Response thereto, it is hereby ORDERED
                  that the Court shall hold a Status Conference on FRIDAY, OCTOBER 28, 2016, at
                  11:00 AM so that the Court may discuss with the parties (i) how the parties believe
                  this matter should proceed; (ii) the impact on this case, if any, of the proceedings
                  involving the parties in the Superior Court of the District of Columbia, Case No. 2015
                  CA 232; and (iii) any other matters appropriate for the Court's consideration in
                  determining how this case shall proceed. Signed by Judge Colleen Kollar−Kotelly on
                  9/30/16. (lcckk1) (Entered: 09/30/2016)
09/30/2016        Set/Reset Hearings: Status Conference set for 10/28/2016 at 11:00 AM in Courtroom
                  28A before Judge Colleen Kollar−Kotelly. (dot) (Entered: 10/03/2016)
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10/28/2016        Minute Entry for proceedings held before Judge Colleen Kollar−Kotelly: Initial
                  Pretrial Conference held on 10/28/2016. Pretrial Conference continued to 1/13/2017 at
                  10:30 AM in Courtroom 28A before Judge Colleen Kollar−Kotelly. (Court Reporter
                  Lisa Foradori.) (dot) (Entered: 10/28/2016)
10/28/2016        MINUTE ORDER: The Court held a continued Pretrial Hearing on October 28, 2016,
                  and discussed with the parties the current posture of this case and how it shall proceed.
                  As an initial matter, the Court noted and the parties confirmed that the related case
                  involving the parties in the Superior Court of the District of Columbia, Case No. 2015
                  CA 232 was dismissed on October 19, 2016. The Court discussed with the parties
                  setting a date for trial in this matter; in light of the Court's and the parties' schedules,
                  the earliest possible date for trial will not be until the last week in June, 2017.
                  Additionally, in an effort to determine the expected duration of a trial in this matter,
                  the Court reviewed portions of the 337 Pretrial Statement, filed on June 11, 2010, in
                  this case, and it is hereby ORDERED that Defendants shall review the list of witnesses
                  and exhibits in said Pretrial Statement, and shall file with the Court on or before
                  NOVEMBER 7, 2016, a Status Report containing any revisions to these lists,
                  indicating what, if any, witnesses they no longer intend to call at trial and what, if any,
                  exhibits they no longer intend to introduce in evidence at trial. Finally, the Court
                  scheduled an additional, continued Pretrial Hearing in this case, which shall be held on
                  JANUARY 13, 2017 at 10:30 AM in Courtroom 28A. Signed by Judge Colleen
                  Kollar−Kotelly on 10/28/16. (lcckk1) (Entered: 10/28/2016)
10/31/2016        Set/Reset Deadlines/Hearings: Status Report due by 11/7/2016. A further Pretrial
                  Conference is set for 1/13/2017, at 10:30 AM, in Courtroom 28A, before Judge
                  Colleen Kollar−Kotelly. (kt) (Entered: 10/31/2016)
11/07/2016   383 STATUS REPORT by THOMAS J. FITTON, JUDICIAL WATCH, INC.. (Driscoll,
                 Richard) (Entered: 11/07/2016)
01/11/2017   384 MOTION to Consolidate Cases by LARRY KLAYMAN (Attachments: # 1 Text of
                 Proposed Order)(Klayman, Larry) (Entered: 01/11/2017)
01/13/2017        MINUTE ORDER: The Court held a continued Pretrial Hearing in this matter on
                  January 13, 2017, and discussed with the Parties the current posture of this case and
                  how it shall proceed. The parties agreed upon a schedule for the filing of certain
                  motions and notices intended to define the claims that remain for trial, as well as
                  Plaintiff's remaining avenues for introducing evidence on his claims, and also agreed
                  upon a briefing schedule for Plaintiff's 380 Motion to Consolidate Cases. Accordingly,
                  the Court hereby ORDERS that Defendants shall file a motion on or before
                  FEBRUARY 3, 2017 stating their position on the types of damages that Plaintiff can
                  pursue in relation to the claims labeled as (3) and (4) in the Court's June 25, 2009 319
                  Memorandum and Opinion, at 2 (second paragraph), and the manner, if any, in which
                  Plaintiff can introduce evidence of those damages in light of the prior restrictions
                  imposed on Plaintiff by the Court. Plaintiff's response, if any, shall be filed on or
                  before FEBRUARY 24, 2017; and Defendants' reply, if any, shall be filed on or before
                  MARCH 6, 2017. Furthermore, the Court hereby ORDERS that Plaintiff shall file a
                  notice on or before FEBRUARY 24, 2017 describing the factual circumstances that
                  underlie the claim labeled as (5) in the Court's 319 Memorandum and Opinion, at 2
                  (second paragraph), and the type of damages that he is pursuing in relation to that
                  claim. Defendants shall file their response, if any, on or before MARCH 10, 2017; and
                  Plaintiff shall file his reply, if any, on or before MARCH 24, 2017. In relation to
                  Plaintiff's 380 Motion to Consolidate Cases, the Court hereby ORDERS that
                  Defendants shall file their response on or before JANUARY 30, 2017, and Plaintiff
                  shall file his reply, if any, on or before FEBRUARY 6, 2017. Finally, the Court
                  scheduled an additional, continued Pretrial Hearing in this case, which shall be held on
                  APRIL 21, 2017 at 11:00 AM in Courtroom 28A. Signed by Judge Colleen
                  Kollar−Kotelly on 1/13/2017. (lcckk1) (Entered: 01/13/2017)
01/13/2017        Minute Entry for proceedings held before Judge Colleen Kollar−Kotelly: Pretrial
                  Conference held on 1/13/2017. Further Pretrial Conference set for 4/21/2017 at 11:00
                  AM in Courtroom 28A before Judge Colleen Kollar−Kotelly. (Court Reporter Lisa
                  Foradori.) (dot) (Entered: 01/17/2017)
01/26/2017        MINUTE ORDER (paperless). Due to a conflict in the Court's schedule, the further
                  Pretrial Hearing previously set for April 21, 2017, at 11:00 a.m., in this matter is
                  hereby RESCHEDULED to APRIL 20, 2017, at 11:00 A.M. in COURTROOM 28A.
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                  The Court has confirmed the availability of the parties at this date and time. Signed by
                  Judge Colleen Kollar−Kotelly on January 26, 2017. (NS) (Entered: 01/26/2017)
01/26/2017        Set/Reset Hearings: Pretrial Conference set for 4/20/2017 at 11:00 AM in Courtroom
                  28A before Judge Colleen Kollar−Kotelly. (dot) (Entered: 01/30/2017)
01/30/2017   385 RESPONSE re 384 MOTION to Consolidate Cases filed by THOMAS J. FITTON,
                 JUDICIAL WATCH, INC.. (Driscoll, Richard) (Entered: 01/30/2017)
02/03/2017   386 MOTION As Requested re Order,,,,,,,, by THOMAS J. FITTON, JUDICIAL
                 WATCH, INC. (Driscoll, Richard) (Entered: 02/03/2017)
02/06/2017   387 REPLY to opposition to motion re 384 MOTION to Consolidate Cases filed by
                 LARRY KLAYMAN. (Klayman, Larry) (Entered: 02/06/2017)
02/24/2017   388 RESPONSE re 386 MOTION As Requested re Order,,,,,,,, filed by LARRY
                 KLAYMAN. (Klayman, Larry) (Entered: 02/24/2017)
02/24/2017   389 RESPONSE TO ORDER OF THE COURT re Order,,,,,,,, filed by LARRY
                 KLAYMAN. (Klayman, Larry) (Entered: 02/24/2017)
03/06/2017   390 REPLY to opposition to motion re 386 MOTION As Requested re Order,,,,,,,, filed by
                 THOMAS J. FITTON, JUDICIAL WATCH, INC.. (Driscoll, Richard) (Entered:
                 03/06/2017)
03/10/2017   391 RESPONSE re 389 Response to Order of the Court filed by THOMAS J. FITTON,
                 JUDICIAL WATCH, INC.. (Driscoll, Richard) (Entered: 03/10/2017)
03/17/2017   392 TRANSCRIPT OF PROCEEDINGS before Judge Colleen Kollar−Kotelly held on
                 1−13−17; Page Numbers: 1−48. Date of Issuance:3−17−17. Court
                 Reporter/Transcriber Lisa M. Foradori, Telephone number 202−354−3269, Transcripts
                 may be ordered by submitting the Transcript Order Form

                  For the first 90 days after this filing date, the transcript may be viewed at the
                  courthouse at a public terminal or purchased from the court reporter referenced abo ve.
                  After 90 days, the transcript may be accessed via PACER. Other transcript formats,
                  (multi−page, condensed, CD or ASCII) may be purchased from the court reporter.

                  NOTICE RE REDACTION OF TRANSCRIPTS: The parties have twenty−one
                  days to file with the court and the court reporter any request to redact personal
                  identifiers from this transcript. If no such requests are filed, the transcript will be made
                  available to the public via PACER without redaction after 90 days. The policy, which
                  includes the five personal identifiers specifically covered, is located on our website at
                  www.dcd.uscourts.gov.

                  Redaction Request due 4/7/2017. Redacted Transcript Deadline set for 4/17/2017.
                  Release of Transcript Restriction set for 6/15/2017.(Foradori, Lisa) Modified on
                  3/20/2017 (znmw). (Entered: 03/17/2017)
03/24/2017   393 REPLY re 389 Response to Order of the Court filed by LARRY KLAYMAN.
                 (Klayman, Larry) (Entered: 03/24/2017)
04/20/2017        Minute Entry for proceedings held before Judge Colleen Kollar−Kotelly: Pretrial
                  Conference held on 4/20/2017. Jury Trial set for 10/2/2017 at 9:00 AM in Courtroom
                  28A before Judge Colleen Kollar−Kotelly. Pretrial Conference set for 6/16/2017 at
                  3:00 PM in Courtroom 28A before Judge Colleen Kollar−Kotelly. (Court Reporter
                  Lisa Foradori.) (dot) (Entered: 04/20/2017)
04/20/2017        MINUTE ORDER: The Court held a continued Pretrial Hearing in this matter on April
                  20, 2017. As agreed to by the parties during the hearing, Plaintiff shall, by MAY 15,
                  2017, identify for Defendant those documents, solely from the set of documents that
                  were provided by Defendant during discovery, which he contends evidence intentional
                  infliction of emotions distress. Plaintiff shall subsequently, by MAY 19, 2017, file a
                  pleading with the Court in support of his position that he may pursue damages for
                  intentional infliction of emotional distress in connection with his remaining claims in
                  this action. Defendant shall file a pleading in opposition by JUNE 2, 2017. The next
                  continued Pretrial Hearing shall be held on JUNE 16, 2017 at 3:00 P.M. Signed by
                  Judge Colleen Kollar−Kotelly on 4/20/2017. (lcckk1) (Entered: 04/20/2017)
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05/15/2017   394 Consent MOTION for Extension of Time to File Response/Reply To Court's Minute
                 Order of April 20, 2017 by LARRY KLAYMAN (Attachments: # 1 Text of Proposed
                 Order)(Klayman, Larry) (Entered: 05/15/2017)
05/15/2017        MINUTE ORDER: The Court has received, and for good cause shown, GRANTS
                  Plaintiff's 394 Consent Motion for Extension of Time. Plaintiff shall identify, for
                  Defendant, the documents required by the Court's April 20, 2017 Minute Order by no
                  later than MAY 16, 2017. Signed by Judge Colleen Kollar−Kotelly on 5/15/2017.
                  (lcckk1) (Entered: 05/15/2017)
05/16/2017   395 RESPONSE TO ORDER OF THE COURT re Order,,, filed by LARRY KLAYMAN.
                 (Klayman, Larry) (Entered: 05/16/2017)
05/18/2017   396 Consent MOTION for Extension of Time to File Response/Reply by LARRY
                 KLAYMAN (Attachments: # 1 Text of Proposed Order)(Klayman, Larry) (Entered:
                 05/18/2017)
05/19/2017        MINUTE ORDER: The Court has received, and for good cause shown, GRANTS
                  Plaintiff's 396 Consent Motion for Extension of Time. Plaintiff shall file the pleading
                  required by the Court's April 20, 2017 Minute Order by no later than MAY 23, 2017,
                  and Defendant shall file its response by no later than June 6, 2017. Signed by Judge
                  Colleen Kollar−Kotelly on 5/19/2017. (lcckk1) (Entered: 05/19/2017)
05/22/2017        MINUTE ORDER: The Court has received Plaintiff's 395 Response to this Court's
                  Minute Order of April 20, 2017. In light of the volume of materials cited therein,
                  Plaintiff shall by THURSDAY, MAY 25, 2017, furnish the Court and Defendants with
                  a CD containing copies of the documents cited in the pleading, in a manner that
                  corresponds with how those documents are referenced in the pleading. Signed by
                  Judge Colleen Kollar−Kotelly on 5/22/2017. (lcckk1) (Entered: 05/22/2017)
05/23/2017   397 RESPONSE TO ORDER OF THE COURT re Order,,, filed by LARRY KLAYMAN.
                 (Klayman, Larry) (Entered: 05/23/2017)
05/25/2017   398 TRANSCRIPT OF PROCEEDINGS before Judge Colleen Kollar−Kotelly held on
                 4−20−17; Page Numbers: 1−37. Date of Issuance:5−25−17. Court
                 Reporter/Transcriber Lisa M. Foradori, Telephone number 202−354−3269, Transcripts
                 may be ordered by submitting the <a
                 href="http://www.dcd.uscourts.gov/node/110">Transcript Order
                 Form</a><P></P><P></P>For the first 90 days after this filing date, the transcript
                 may be viewed at the courthouse at a public terminal or purchased from the court
                 reporter referenced above. After 90 days, the transcript may be accessed via PACER.
                 Other transcript formats, (multi−page, condensed, CD or ASCII) may be purchased
                 from the court reporter.<P>NOTICE RE REDACTION OF TRANSCRIPTS: The
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                 transcript will be made available to the public via PACER without redaction after 90
                 days. The policy, which includes the five personal identifiers specifically covered, is
                 located on our website at www.dcd.uscourts.gov.<P></P> Redaction Request due
                 6/15/2017. Redacted Transcript Deadline set for 6/25/2017. Release of Transcript
                 Restriction set for 8/23/2017.(Foradori, Lisa) (Entered: 05/25/2017)
06/06/2017   399 RESPONSE re 397 Response to Order of the Court filed by THOMAS J. FITTON,
                 JUDICIAL WATCH, INC.. (Driscoll, Richard) (Entered: 06/06/2017)
06/14/2017   400 REPLY re 399 Response to Document filed by LARRY KLAYMAN. (Klayman,
                 Larry) (Entered: 06/14/2017)
06/15/2017   401 MEMORANDUM OPINION AND ORDER. Defendants' 386 Motion Pursuant to the
                 Courts January 13, 2017 Minute Order is GRANTED, and Plaintiff's 384 Motion to
                 Consolidate is DENIED. Signed by Judge Colleen Kollar−Kotelly on 6/15/2017.
                 (lcckk1) (Entered: 06/15/2017)
06/16/2017        Minute Entry for proceedings held before Judge Colleen Kollar−Kotelly: Pretrial
                  Conference held on 6/16/2017. Plaintiff's Motion to Amend due by 7/14/2017.
                  Response due by 7/28/2017. Reply due by 8/4/2017. Pretrial Conference set for
                  9/8/2017 at 10:30 AM in Courtroom 28A before Judge Colleen Kollar−Kotelly. (Court
                  Reporter Crystal Pilgrim.) (dot) (Entered: 06/19/2017)
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06/19/2017   402 ORDER. The next continued Pretrial Conference in this matter shall be held on
                 SEPTEMBER 8, 2017, at 10:30 A.M. Signed by Judge Colleen Kollar−Kotelly on
                 6/19/2017. (lcckk1) (Entered: 06/19/2017)
06/30/2017   403 RESPONSE to Court's Order During Pretrial Conference on June 16, 2017 filed by
                 LARRY KLAYMAN. (Klayman, Larry) (Entered: 06/30/2017)
07/07/2017   404 REPLY re 403 Response to Document Memorandum Opinion and Order [ECF No.
                 401] filed by THOMAS J. FITTON, JUDICIAL WATCH, INC.. (Driscoll, Richard)
                 (Entered: 07/07/2017)
07/13/2017   405 MOTION for Extension of Time to Submit Revised and Updated Jury Instructions by
                 THOMAS J. FITTON, JUDICIAL WATCH, INC. (Attachments: # 1 Text of Proposed
                 Order)(Driscoll, Richard) (Entered: 07/13/2017)
07/14/2017   406 MOTION for Extension of Time to File Motion to Amend Complaint by LARRY
                 KLAYMAN (Attachments: # 1 Text of Proposed Order)(Klayman, Larry) (Entered:
                 07/14/2017)
07/14/2017        MINUTE ORDER: The Court has received Defendants' 405 Motion to Extend
                  Deadline to Submit Revised and Updated Jury Instructions, and Plaintiff's 406 Motion
                  for Extension of Time. Both motions are opposed. The parties are reminded of their
                  obligation to file requests for extension of time four business days prior to the first
                  affected deadline. Nonetheless, for good cause shown, and because the requested
                  extensions are relatively short in duration, the Court GRANTS Defendants' 405
                  Motion and Plaintiff's 406 Motion, over objection. Defendants' revised jury
                  instructions shall be due by July 20, 2017. Plaintiff's motion to amend shall be due by
                  July 18, 2017. Signed by Judge Colleen Kollar−Kotelly on 7/14/2017. (lcckk1)
                  (Entered: 07/14/2017)
07/17/2017        Set/Reset Deadlines: Plaintiff's motion to amend due by 7/18/2017. Defendants'
                  revised jury instructions due by 7/20/2017. (tth) (Entered: 07/17/2017)
07/18/2017   407 MOTION for Leave to File Third Amended Complaint by LARRY KLAYMAN
                 (Attachments: # 1 Exhibit Third Amended Complaint)(Klayman, Larry) (Entered:
                 07/18/2017)
07/20/2017   408 Proposed Jury Instructions by THOMAS J. FITTON, JUDICIAL WATCH, INC..
                 (Driscoll, Richard) (Entered: 07/20/2017)
07/25/2017   409 MOTION for Extension of Time to File Response/Reply to Defendant's Revised Jury
                 Instructions by LARRY KLAYMAN (Attachments: # 1 Text of Proposed
                 Order)(Klayman, Larry) (Entered: 07/25/2017)
07/27/2017        MINUTE ORDER: The Court has received Plaintiff's 409 Consent Motion for
                  Extension of Time to File Response to Judicial Watch's Revised Jury Instructions. For
                  good cause shown, that Motion is GRANTED. Plaintiff shall file his response to the
                  proposed jury instructions by AUGUST 3, 2017. Signed by Judge Colleen
                  Kollar−Kotelly on 7/27/2017. (lcckk1) (Entered: 07/27/2017)
07/27/2017        Set/Reset Deadlines: Plaintiff shall file Response to 408 by 8/3/2017. (dot) (Entered:
                  07/28/2017)
08/01/2017   410 Memorandum in opposition to re 407 MOTION for Leave to File Third Amended
                 Complaint filed by THOMAS J. FITTON, JUDICIAL WATCH, INC.. (Driscoll,
                 Richard) (Entered: 08/01/2017)
08/03/2017   411 Consent MOTION for Extension of Time to File Response/Reply to Proposed Jury
                 Instructions by LARRY KLAYMAN (Attachments: # 1 Text of Proposed
                 Order)(Klayman, Larry) (Entered: 08/03/2017)
08/03/2017        MINUTE ORDER: The Court has received Plaintiff's 411 Consent Motion for
                  Extension of Time to File Response to Judicial Watch's Revised Jury Instructions. For
                  good cause shown, that Motion is GRANTED. Plaintiff shall file his response to the
                  proposed jury instructions by AUGUST 7, 2017. Signed by Judge Colleen
                  Kollar−Kotelly on 8/3/2017. (lcckk1) (Entered: 08/03/2017)
08/03/2017        Set/Reset Deadlines: Plaintiff's proposed jury instructions Response due by 8/7/2017.
                  (dot) (Entered: 08/04/2017)
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08/07/2017   412 RESPONSE re 408 to Judicial Watch's Proposed Jury Instsructions filed by LARRY
                 KLAYMAN. (Klayman, Larry) Modified to add link on 8/8/2017 (znmw). (Entered:
                 08/07/2017)
08/07/2017   413 Proposed Jury Instructions by LARRY KLAYMAN. (Klayman, Larry) (Entered:
                 08/07/2017)
08/09/2017   414 MOTION to Disqualify Judge by LARRY KLAYMAN (Attachments: # 1 Affidavit
                 Affidavit of Larry Klayman, # 2 Text of Proposed Order)(Klayman, Larry) (Entered:
                 08/09/2017)
08/11/2017        MINUTE ORDER: The Court has Plaintiff's 414 Motion to Recuse/Disqualify Judge
                  Colleen Kollar−Kotelly. The parties shall abide by the following briefing schedule.
                  Defendants' response shall be due by August 18, 2017. Plaintiff's reply shall be due by
                  August 25, 2017. Signed by Judge Colleen Kollar−Kotelly on 8/11/2017. (lcckk1)
                  (Entered: 08/11/2017)
08/11/2017        Set/Reset Deadlines: Response to 414 due by 8/18/2017. Reply due by 8/25/2017.
                  (dot) (Entered: 08/16/2017)
08/18/2017   415 RESPONSE re 414 MOTION to Disqualify Judge filed by THOMAS J. FITTON,
                 JUDICIAL WATCH, INC.. (Driscoll, Richard) (Entered: 08/18/2017)
08/24/2017   416 TRANSCRIPT OF PROCEEDINGS before Judge Colleen Kollar−Kotelly held on
                 06/16/17; Page Numbers: 1−40. Date of Issuance:08/24/17. Court
                 Reporter/Transcriber Crystal M. Pilgrim, Telephone number 20.354.3127, Transcripts
                 may be ordered by submitting the Transcript Order Form

                  For the first 90 days after this filing date, the transcript may be viewed at the
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                  includes the five personal identifiers specifically covered, is located on our website at
                  www.dcd.uscourts.gov.

                  Redaction Request due 9/14/2017. Redacted Transcript Deadline set for 9/24/2017.
                  Release of Transcript Restriction set for 11/22/2017.(Pilgrim, Crystal) (Entered:
                  08/24/2017)
08/25/2017   417 REPLY to opposition to motion re 414 MOTION to Disqualify Judge filed by LARRY
                 KLAYMAN. (Klayman, Larry) (Entered: 08/25/2017)
09/01/2017   418 MOTION to Continue Trial by LARRY KLAYMAN (Attachments: # 1 Text of
                 Proposed Order)(Klayman, Larry) (Entered: 09/01/2017)
09/01/2017   419 MOTION to Continue Trial by LARRY KLAYMAN (Attachments: # 1 Text of
                 Proposed Order)(Klayman, Larry) (Entered: 09/01/2017)
09/05/2017        MINUTE ORDER. Defendant's response to Plaintiff's 418 , 419 Motion to Continue
                  Trial is due no later than SEPTEMBER 7, 2017 at NOON. Plaintiff shall file his reply
                  by no later than SEPTEMBER 8, 2017 at NOON. Signed by Judge Colleen
                  Kollar−Kotelly on 9/5/2017. (lcckk3) (Entered: 09/05/2017)
09/07/2017        MINUTE ORDER: The Pretrial Conference currently scheduled for September 8,
                  2017 is VACATED. A new date shall be set shortly by the Court. Signed by Judge
                  Colleen Kollar−Kotelly on 9/7/2017. (lcckk1) (Entered: 09/07/2017)
09/07/2017   420 RESPONSE re 418 MOTION to Continue Trial, 419 MOTION to Continue Trial filed
                 by THOMAS J. FITTON, JUDICIAL WATCH, INC.. (Driscoll, Richard) (Entered:
                 09/07/2017)
09/08/2017   421 REPLY to opposition to motion re 419 MOTION to Continue Trial filed by LARRY
                 KLAYMAN. (Attachments: # 1 Exhibit Exhibit A, # 2 Exhibit Exhibit B, # 3 Exhibit
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                   Exhibit C, # 4 Exhibit Exhibit D)(Klayman, Larry) (Entered: 09/08/2017)
09/18/2017         MINUTE ORDER: In order to address Defendants' concerns regarding the electronic
                   signatures appended to the affidavits of Cliven and Carol Bundy, which are the basis
                   of Plaintiff's 418 Motion to Continue, Plaintiff shall file copies of these affidavits with
                   the original, handwritten signatures of Cliven and Carol Bundy by SEPTEMBER 22,
                   2017. Signed by Judge Colleen Kollar−Kotelly on 9/18/2017. (lcckk1) (Entered:
                   09/18/2017)
09/20/2017   422 RESPONSE re 412 Response to Document ECF 412 (Plaintiff's Proposed Jury
                 Instructions) filed by THOMAS J. FITTON, JUDICIAL WATCH, INC.. (Driscoll,
                 Richard) (Entered: 09/20/2017)
09/22/2017   423 RESPONSE TO ORDER OF THE COURT re Order, of September 18, 2017 filed by
                 LARRY KLAYMAN. (Klayman, Larry) (Entered: 09/22/2017)
09/27/2017   424 REPLY to Judicial Watch's Response to Plaintiff's Proposed Jury Instructions 413
                 filed by LARRY KLAYMAN. (Klayman, Larry) Modified to add linkage on
                 9/28/2017 (td). (Entered: 09/27/2017)
10/02/2017         Set/Reset Hearings: Telephone Conference on the record set for 10/5/2017 at 11:30
                   AM in Chambers before Judge Colleen Kollar−Kotelly. (dot) (Entered: 10/05/2017)
10/05/2017   425 MEMORANDUM OPINION AND ORDER. Plaintiff's 414 Motion to
                 Recuse/Disqualify Judge Colleen Kollar−Kotelly is DENIED. Signed by Judge
                 Colleen Kollar−Kotelly on 10/5/2017. (lcckk1) (Entered: 10/05/2017)
10/05/2017         Minute Entry for proceedings held before Judge Colleen Kollar−Kotelly: Telephone
                   Conference on the record held on 10/5/2017. (Court Reporter Richard Ehlrich.) (dot)
                   (Entered: 10/05/2017)
10/06/2017   426 ORDER. The Court GRANTS a continuance of the trial date. This matter is set for
                 trial on FEBRUARY 26, 2018. Motions in limine shall be filed by DECEMBER 8,
                 2017. Oppositions are due by DECEMBER 22, 2017. Replies are due by JANUARY
                 5, 2018. The next pretrial conference shall be held on JANUARY 19, 2018 at 12:00
                 P.M. If Plaintiff needs to appear telephonically, he shall provide the Court with at least
                 3−days prior notice. Signed by Judge Colleen Kollar−Kotelly on 10/6/2017. (lcckk1)
                 Modified on 10/13/2017 to correct dates. (dot). (Entered: 10/06/2017)
10/06/2017         Set/Reset Deadlines/Hearings: Motions in Limine due by 12/8/2017. Responses due by
                   12/22/2017. Replies due by 1/5/2018. Jury Trial set for 2/26/2018 at 9:00 AM in
                   Courtroom 28A before Judge Colleen Kollar−Kotelly. Pretrial Conference set for
                   1/19/2018 at 12:00 PM in Courtroom 28A before Judge Colleen Kollar−Kotelly. (dot)
                   (Entered: 10/13/2017)
12/07/2017   427 MOTION in Limine TO EXCLUDE IRRELEVANT FLORIDA JUDGMENT by
                 THOMAS J. FITTON, JUDICIAL WATCH, INC. (Driscoll, Richard) (Entered:
                 12/07/2017)
12/08/2017   428 MOTION in Limine by LARRY KLAYMAN (Klayman, Larry) (Entered: 12/08/2017)
12/22/2017   429 Memorandum in opposition to re 428 MOTION in Limine filed by THOMAS J.
                 FITTON, JUDICIAL WATCH, INC.. (Driscoll, Richard) (Entered: 12/22/2017)
12/22/2017   430 RESPONSE re 427 MOTION in Limine TO EXCLUDE IRRELEVANT FLORIDA
                 JUDGMENT filed by LARRY KLAYMAN. (Attachments: # 1 Exhibit Exhibit
                 1)(Klayman, Larry) (Entered: 12/22/2017)
01/05/2018   431 REPLY to opposition to motion re 427 MOTION in Limine TO EXCLUDE
                 IRRELEVANT FLORIDA JUDGMENT filed by THOMAS J. FITTON, JUDICIAL
                 WATCH, INC.. (Driscoll, Richard) (Entered: 01/05/2018)
01/05/2018   432 REPLY to opposition to motion re 428 MOTION in Limine filed by LARRY
                 KLAYMAN. (Klayman, Larry) (Entered: 01/05/2018)
01/19/2018   433 ORDER. For the reasons set forth in the accompanying Memorandum Opinion, in an
                 exercise of the Court's discretion, the Court DENIES Plaintiff's Motion for Leave to
                 Amend the Second Amended Complaint. Signed by Judge Colleen Kollar−Kotelly on
                 January 19, 2018. (lcckk1) (Entered: 01/19/2018)
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01/19/2018   434 MEMORANDUM OPINION. Signed by Judge Colleen Kollar−Kotelly on January 19,
                 2018. (lcckk1) (Entered: 01/19/2018)
01/19/2018         MINUTE ORDER: The Court held a pretrial conference with the parties on January
                   19, 2018, in advance of trial scheduled for FEBRUARY 26, 2018. The parties agreed
                   to the following schedule established to facilitate efficient pretrial proceedings.By no
                   later than JANUARY 23, 2018, Defendants shall share electronic copies of all of their
                   exhibits with Plaintiff. By no later than JANUARY 25, 2018, Plaintiff may file a short
                   notice with the Court simply identifying any rule(s) and/or case law supporting his
                   argument that Defendants' credibility may be impeached at trial with the adverse
                   judgment identified in Defendants' 427 Motion in Limine to Exclude Irrelevant Florida
                   Judgment.The Court shall hold a further pretrial conference regarding the parties' 427
                   and 428 motions in limine on JANUARY 29, 2018, at 1:30 PM. Subsequent pretrial
                   conferences shall be held on FEBRUARY 9, 2018, at 1:30 PM and FEBRUARY 20,
                   2018, at 1:30 PM.Signed by Judge Colleen Kollar−Kotelly on January 19, 2018.
                   (lcckk1) (Entered: 01/19/2018)
01/19/2018         Minute Entry for proceedings held before Judge Colleen Kollar−Kotelly: Pretrial
                   Conference held on 1/19/2018. Further Pretrial Conference set for 1/29/2018 at 1:30
                   PM in Courtroom 28A before Judge Colleen Kollar−Kotelly. Pretrial Conference set
                   for 2/9/2018 at 1:30 PM in Courtroom 28A before Judge Colleen Kollar−Kotelly.
                   Pretrial Conference set for 2/20/2018 at 1:30 PM in Courtroom 28A before Judge
                   Colleen Kollar−Kotelly. Jury Trial set for 2/26/2018 at 9:00 AM in Courtroom 28A
                   before Judge Colleen Kollar−Kotelly. (Court Reporter Cathryn Jones.) (dot) (Entered:
                   01/22/2018)
01/23/2018   435 MOTION to Continue Pretrial Conference Scheduled for January 29, 2018 by
                 LARRY KLAYMAN (Klayman, Larry) (Entered: 01/23/2018)
01/23/2018         MINUTE ORDER: The Court has received Plaintiff's 435 Motion to Continue Pretrial
                   Conference Currently Scheduled for January 29, 2018, to which Defendants' counsel
                   has consented. For good cause shown, that Motion is GRANTED. The pretrial
                   conference currently scheduled for January 29, 2018, shall be rescheduled for
                   JANUARY 31, 2018, at 2:00 PM. Signed by Judge Colleen Kollar−Kotelly on
                   January 23, 2018. (lcckk1) (Entered: 01/23/2018)
01/23/2018   436 ORDER. This supplementary Order memorializes certain further portions of the
                 proceedings from the January 19, 2018, pretrial conference. In pertinent part, the Court
                 sought further information from the parties in order to resolve the parties' pending
                 motions in limine, ECF Nos. 427 and 428. Signed by Judge Colleen Kollar−Kotelly on
                 January 23, 2018. (lcckk1) (Entered: 01/23/2018)
01/23/2018         Set/Reset Hearings: Pretrial Conference set for 1/31/2018 at 2:00 PM in Courtroom
                   28A before Judge Colleen Kollar−Kotelly. (dot) (Entered: 01/29/2018)
01/25/2018   437 NOTICE Pursuant to Court Order by LARRY KLAYMAN (Klayman, Larry)
                 (Entered: 01/25/2018)
01/26/2018         MINUTE ORDER: The Court has received Plaintiff's 437 Notice to the Court in
                   Response to Its January 2018 Minute Order. Defendants shall file a response by
                   JANUARY 30, 2018, at 12:00 PM. Defendants' response shall focus on Plaintiff's
                   "identif[ication] [of] any rule(s) and/or case law supporting his argument that
                   Defendants' credibility may be impeached at trial with the adverse judgment identified
                   in Defendants' 427 Motion in Limine to Exclude Irrelevant Florida Judgment." Min.
                   Order of Jan. 19, 2018. Defendants shall not focus on topics raised by Plaintiff's 437
                   Notice but precluded by the law of the case, which has rejected Plaintiff's attempt to
                   introduce an intentional infliction of emotional distress claim, recognized that the
                   remaining claims are limited to breach of contract (i.e., no tort claim, and no "merger"
                   of breach of contract with a tort claim), and found that emotional distress damages
                   cannot be recovered on the remaining breach of contract claims. See ECF Nos. 401,
                   433, 434. Notwithstanding Plaintiff's indication that he intends to file a Motion for
                   Reconsideration of the Court's 433 Order, such a motion is not on the docket, and the
                   Court has not decided to change its 433 Order. Signed by Judge Colleen
                   Kollar−Kotelly on January 26, 2018. (lcckk1) (Entered: 01/26/2018)
01/26/2018         Set/Reset Deadlines: Defendants' Response to 437 due by 12:00 PM on 1/30/2018.
                   (dot) (Entered: 01/26/2018)
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01/26/2018   438 STATUS REPORT REGARDING TRIAL EXHIBITS by THOMAS J. FITTON,
                 JUDICIAL WATCH, INC.. (Driscoll, Richard) (Entered: 01/26/2018)
01/30/2018   439 RESPONSE re 437 Notice (Other) filed by THOMAS J. FITTON, JUDICIAL
                 WATCH, INC.. (Driscoll, Richard) (Entered: 01/30/2018)
01/30/2018   440 MOTION for Reconsideration re 433 Order on Motion for Leave to File, 434
                 Memorandum & Opinion by LARRY KLAYMAN (Klayman, Larry) (Entered:
                 01/30/2018)
01/31/2018        MINUTE ORDER. The Court held a continued pretrial hearing in this matter on
                  January 31, 2018. At that hearing, the Court set a briefing schedule for Plaintiff's 440
                  Motion for Reconsideration. Defendant shall respond to that motion by no later than
                  FEBRUARY 7, 2018. Plaintiff shall file a reply by no later than FEBRUARY 12,
                  2018. By previous order, ECF No. 436 at 3−4, Plaintiff was ordered to raise any
                  remaining objections from the pretrial statement by today's hearing. The Court ordered
                  that if Plaintiff did not raise any such objections, they would be waived. Plaintiff
                  raised no objections at today's hearing, but requested further time to file any additional
                  objections by no later than February 2, 2018. Plaintiff is ORDERED to file any
                  remaining objections from the pretrial statement that have not already been resolved
                  by no later than FEBRUARY 2, 2018. Any objections not specifically raised will be
                  WAIVED. There will be no further extensions. There will be further pretrial hearings
                  on FEBRUARY 9, 2018 at 1:30 PM and FEBRUARY 20, 2018 at 1:30 PM.
                  Defendant shall provide Plaintiff and the Court with a list of the exhibits it proposes to
                  use at trial by the FEBRUARY 9, 2018 hearing, and a list of witnesses it proposes to
                  call at trial by the FEBRUARY 20, 2018 hearing. Signed by Judge Colleen
                  Kollar−Kotelly on 1/31/2018. (lcckk3) (Entered: 01/31/2018)
01/31/2018   441 ORDER SETTING FORTH TRIAL PROCEDURES IN CIVIL CASES. Signed by
                 Judge Colleen Kollar−Kotelly on 01/31/2018. (DM) (Entered: 01/31/2018)
01/31/2018        Minute Entry for proceedings held before Judge Colleen Kollar−Kotelly: Pretrial
                  Conference held on 1/31/2018. (Court Reporter Crystal Pilgrim.) (dot) (Entered:
                  01/31/2018)
01/31/2018        Set/Reset Deadlines: Exhibit List due by 2/9/2018. Witness List due by 2/20/2018.
                  Defendant shall Respond to 440 by 2/7/2018. Plaintiff shall file Reply by 2/12/2018.
                  (dot) (Entered: 02/02/2018)
02/02/2018   442 ORDER. This Order memorializes certain portions of the proceedings from the
                 January 31, 2018 pretrial conference. Signed by Judge Colleen Kollar−Kotelly on
                 2/2/2018. (lcckk3) (Entered: 02/02/2018)
02/02/2018   443 RESPONSE TO ORDER OF THE COURT re Order,,,,, filed by LARRY
                 KLAYMAN. (Klayman, Larry) (Entered: 02/02/2018)
02/07/2018   444 Memorandum in opposition to re 440 MOTION for Reconsideration re 433 Order on
                 Motion for Leave to File, 434 Memorandum & Opinion filed by THOMAS J.
                 FITTON, JUDICIAL WATCH, INC.. (Driscoll, Richard) (Entered: 02/07/2018)
02/08/2018   445 Exhibit List for Trial by THOMAS J. FITTON, JUDICIAL WATCH, INC.. (Driscoll,
                 Richard) (Entered: 02/08/2018)
02/09/2018        Minute Entry for proceedings held before Judge Colleen Kollar−Kotelly: Pretrial
                  Conference held on 2/9/2018. Pretrial Conference set for 2/20/2018 at 1:30 PM in
                  Courtroom 28A before Judge Colleen Kollar−Kotelly. (Court Reporter Janice
                  Dickman.) (dot) (Entered: 02/09/2018)
02/12/2018   446 NOTICE in Response to Court's Order of February 9, 2018 by LARRY KLAYMAN
                 (Klayman, Larry) (Entered: 02/12/2018)
02/12/2018   447 REPLY to opposition to motion re 440 MOTION for Reconsideration re 433 Order on
                 Motion for Leave to File, 434 Memorandum & Opinion filed by LARRY
                 KLAYMAN. (Klayman, Larry) (Entered: 02/12/2018)
02/13/2018   448 NOTICE of Filing of Petition for Writ of Mandamus by LARRY KLAYMAN
                 (Attachments: # 1 Exhibit Exhibit 1)(Klayman, Larry) (Entered: 02/13/2018)
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02/14/2018   449 ORDER. Notice of Plaintiff Larry Klayman's response to the Court's inquiry regarding
                 address to use for voir dire, which Plaintiff did not send to defense counsel. Signed by
                 Judge Colleen Kollar−Kotelly on 2/14/2018. (lcckk3) (Entered: 02/14/2018)
02/14/2018   450 Exhibit List by THOMAS J. FITTON, JUDICIAL WATCH, INC.. (Driscoll, Richard)
                 (Entered: 02/14/2018)
02/14/2018   451 NOTICE of Filing Objections to Defendants' Amended Exhibit List by LARRY
                 KLAYMAN (Attachments: # 1 Exhibit Objections)(Klayman, Larry) (Entered:
                 02/14/2018)
02/15/2018         MINUTE ORDER: The Court intends to schedule an additional pretrial conference on
                   FEBRUARY 23, 2018, at 2:30 PM, to address voir dire, trial procedures, and any
                   remaining issues before trial on February 26, 2018. Such an additional conference
                   would allow the Court to focus with the parties at its February 20, 2018, pretrial
                   conference on the use of evidence at trial and the jury instructions.

                   By FEBRUARY 15, 2018, at 5:30 PM, the parties each shall file a notice indicating
                   whether they are available for the proposed additional pretrial conference on February
                   23, 2018, at 2:30 PM, and if not, their availability for such a conference late in the
                   week of February 20, 2018.

                   Signed by Judge Colleen Kollar−Kotelly on February 15, 2018. (lcckk1) (Entered:
                   02/15/2018)
02/15/2018   452 NOTICE of Availability for Pretrial Conference by LARRY KLAYMAN (Klayman,
                 Larry) (Entered: 02/15/2018)
02/15/2018   453 NOTICE OF AVAILABILITY FOR ADDITIONAL PRETRIAL CONFERENCE by
                 THOMAS J. FITTON, JUDICIAL WATCH, INC. re Order,,, (Driscoll, Richard)
                 (Entered: 02/15/2018)
02/15/2018   454 NOTICE OF UNAVAILABLE WITNESSES by THOMAS J. FITTON, JUDICIAL
                 WATCH, INC. (Driscoll, Richard) (Entered: 02/15/2018)
02/15/2018         MINUTE ORDER: The Court has received the parties' 452 and 453 notices regarding
                   their availability for an additional pretrial conference. Accordingly, the Court shall
                   schedule the additional pretrial conference on FEBRUARY 23, 2018, at 2:30 PM.
                   Signed by Judge Colleen Kollar−Kotelly on February 15, 2018. (lcckk1) (Entered:
                   02/15/2018)
02/15/2018   455 ORDER. The Court held a pretrial conference with the parties on February 9, 2018, in
                 advance of trial scheduled for February 26, 2018. This Order memorializes certain
                 portions of the proceedings from that conference, certain of the parties' subsequent
                 submissions pursuant to that conference, and certain of the Court's determinations on
                 the basis of the pretrial conference and the parties' subsequent submissions. See Order
                 for details, several of which are highlighted below.First, the parties must make any
                 identification of model jury instructions on the specific points addressed on page 2 of
                 this Order by FEBRUARY 16, 2018, at 4:00 PM.Second, at the FEBRUARY 20,
                 2018, pretrial conference, Defendants shall be prepared to discuss whether and when
                 they provided the exhibits that Plaintiff has identified in his [451−1] Objections to
                 Defendants' Amended List of Exhibits as omitted or misplaced in some way, and if
                 not, whether Plaintiff ever asked for them. Defendants also shall be prepared to discuss
                 whether they intend to introduce any of the exhibits that Plaintiff has indicated were
                 omitted from what is presumably Defendants' 445 Amended List of Exhibits.
                 Objections based on "illegible" exhibits will be discussed. Also on FEBRUARY 20,
                 2018, Plaintiff may raise any objection to Defendants' Exhibits 195−199 that is
                 permitted in footnote 2 on page 3 of this Order.Signed by Judge Colleen
                 Kollar−Kotelly on February 15, 2018. (lcckk1) (Entered: 02/15/2018)
02/15/2018         MINUTE ORDER: The Court previously deferred until "all remaining liability issues
                   have been resolved" its consideration of whether Defendant/Counter−Plaintiff Judicial
                   Watch, Inc. ("Judicial Watch") is entitled to prejudgment interest on the damages
                   awarded by this Court for Count One of Judicial Watch's Amended Counterclaim.
                   Mem. Op., ECF No. 327, at 5−6; see also Mem. Op., ECF No. 319, at 76−77. The
                   Court now reconsiders that issue to the extent that it may be required under D.C. Code
                   &sect 15−109 to submit certain of Judicial Watch's claims for prejudgment interest to
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                   the jury. Judicial Watch seeks prejudgment interest on Counts One, Two, and Three of
                   the Amended Counterclaim. Am. Countercl., ECF No. 86, at 42−43.At the pretrial
                   conference on FEBRUARY 20, 2018, the parties should be prepared to discuss
                   whether the evidence will show that the damages alleged in Counts One, Two, and
                   Three of the Amended Counterclaim are 1) liquidated damages under District of
                   Columbia v. Pierce Assocs., Inc., 527 A.2d 306 (D.C. 1987), in which case the Court's
                   finding of liability under Count One and/or a jury finding of liability under Counts
                   Two and Three would result in a need for post−trial briefing to the Court's satisfaction
                   on the legal issue of whether these were liquidated debts "on which interest is payable
                   by contract or by law or usage," D.C. Code &sect 15−108 (2012), see also Mem. Op.,
                   ECF No. 319, at 76 (finding with respect to Count One of the Amended Counterclaim
                   that Judicial Watch "has not shown that it is contractually entitled to prejudgment
                   interest on the unpaid personal expenses" (emphasis added)), or 2) unliquidated
                   damages, in which case the Court would need to submit to the jury the issue of
                   whether Judicial Watch is entitled to recover prejudgment interest, see D.C. Code
                   &sect 15−109 (2012). Under either statute, upon a finding of liability the respective
                   factfinder would award damages in the amount prescribed by D.C. Code &sect
                   28−3302. See Pierce Assocs., Inc., 527 A.2d at 311 (finding that D.C. Code &sect
                   28−3302 governs damages under D.C. Code &sect 15−108 and &sect 15−109).Signed
                   by Judge Colleen Kollar−Kotelly on February 15, 2018. (lcckk1) (Entered:
                   02/15/2018)
02/15/2018         Set/Reset Hearings: Pretrial Conference set for 2/23/2018 at 2:30 PM in Courtroom
                   28A before Judge Colleen Kollar−Kotelly. (dot) (Entered: 02/20/2018)
02/15/2018         Set/Reset Hearings: Pretrial Conference set for 2/20/2018 at 1:30 PM in Courtroom
                   28A before Judge Colleen Kollar−Kotelly. (dot) (Entered: 02/20/2018)
02/16/2018   456 Exhibit List by LARRY KLAYMAN. (Attachments: # 1 Exhibit Exhibit 1)(Klayman,
                 Larry) (Entered: 02/16/2018)
02/16/2018         MINUTE ORDER. By e−mail today, the Court has provided the parties with a
                   proposed set of jury instructions regarding the claims and defenses in this case. The
                   parties shall be prepared to discuss any objections or proposed modifications to these
                   instructions at next week's February 20th Pretrial Conference. In addition, Plaintiff
                   Larry Klayman is ORDERED to file, by no later than noon on Wednesday,
                   FEBRUARY 21, 2018, a written response regarding the proposed jury instruction on
                   the "incontestability status of registrations" for the purposes of Defendants' trademark
                   claim. In particular, Plaintiff needs to identify which defenses, if any, listed in 15
                   U.S.C. 1115 (distinct from Plaintiff's other, general defenses) he is asserting in this
                   case. Signed by Judge Colleen Kollar−Kotelly on 2/16/2018. (lcckk3) (Entered:
                   02/16/2018)
02/16/2018         MINUTE ORDER: By e−mail today, the Court has made available to the parties the
                   Proposed Voir Dire, in anticipation of the upcoming trial in this case. The parties shall
                   be prepared to discuss any objections or proposed modifications to the Voir Dire at
                   next week's February 20, 2018 Pretrial Conference. Signed by Judge Colleen
                   Kollar−Kotelly on 2/16/18. (DM) (Entered: 02/16/2018)
02/16/2018   457 TRANSCRIPT OF PROCEEDINGS before Judge Colleen Kollar−Kotelly held on
                 February 9, 2018; Page Numbers: 1−60. Date of Issuance: February 12, 2018. Court
                 Reporter/Transcriber Janice Dickman, Telephone number 202−354−3267, Transcripts
                 may be ordered by submitting the <a
                 href="http://www.dcd.uscourts.gov/node/110">Transcript Order
                 Form</a><P></P><P></P>For the first 90 days after this filing date, the transcript
                 may be viewed at the courthouse at a public terminal or purchased from the court
                 reporter referenced above. After 90 days, the transcript may be accessed via PACER.
                 Other transcript formats, (multi−page, condensed, CD or ASCII) may be purchased
                 from the court reporter.<P>NOTICE RE REDACTION OF TRANSCRIPTS: The
                 parties have twenty−one days to file with the court and the court reporter any request
                 to redact personal identifiers from this transcript. If no such requests are filed, the
                 transcript will be made available to the public via PACER without redaction after 90
                 days. The policy, which includes the five personal identifiers specifically covered, is
                 located on our website at www.dcd.uscourts.gov.<P></P> Redaction Request due
                 3/9/2018. Redacted Transcript Deadline set for 3/19/2018. Release of Transcript
                 Restriction set for 5/17/2018.(Dickman, Janice) (Entered: 02/16/2018)
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02/16/2018   458 RESPONSE TO ORDER OF THE COURT by THOMAS J. FITTON, JUDICIAL
                 WATCH, INC. re 455 Order (Driscoll, Richard) Modified event title on 2/20/2018
                 (znmw). (Entered: 02/16/2018)
02/16/2018   459 MOTION for Extension of Time to of Two Hours to File Response to Court's Order
                 by LARRY KLAYMAN (Klayman, Larry) (Entered: 02/16/2018)
02/16/2018        MINUTE ORDER: The Court has received Plaintiff's 459 Motion for Extension of
                  Time of Two Hours to Respond to Court's Order of February 15, 2018. For good cause
                  shown, the Court GRANTS Plaintiff's motion. Plaintiff shall respond to the Court's
                  455 Order regarding the proposed jury instruction by FEBRUARY 16, 2018, at 6:00
                  PM. Signed by Judge Colleen Kollar−Kotelly on February 16, 2018. (lcckk1 )
                  (Entered: 02/16/2018)
02/16/2018   460 ERRATA PROVIDING ATTACHMENTS by THOMAS J. FITTON, JUDICIAL
                 WATCH, INC. 458 Notice (Other) filed by THOMAS J. FITTON, JUDICIAL
                 WATCH, INC.. (Driscoll, Richard) (Entered: 02/16/2018)
02/16/2018   461 RESPONSE TO ORDER OF THE COURT re 455 Order,,,,,, filed by LARRY
                 KLAYMAN. (Klayman, Larry) (Entered: 02/16/2018)
02/16/2018   462 NOTICE of Intent to Seek En Banc Review by LARRY KLAYMAN (Attachments: # 1
                 Exhibit)(Klayman, Larry) (Entered: 02/16/2018)
02/20/2018   463 ORDER. For the reasons set forth in the accompanying Memorandum Opinion, the
                 Court DENIES Plaintiff's 440 Motion for Reconsideration of the Court's Substantive
                 Order of January 19, 2018. Signed by Judge Colleen Kollar−Kotelly on February 20,
                 2018. (lcckk1) (Entered: 02/20/2018)
02/20/2018   464 MEMORANDUM OPINION. Signed by Judge Colleen Kollar−Kotelly on February
                 20, 2018. (lcckk1) (Entered: 02/20/2018)
02/20/2018        Set/Reset Deadlines: Plaintiff Klayman's written response regarding the proposed jury
                  instruction on the "incontestability status of registrations " for the purposes of
                  defendants' trademark claim due by noon on 2/21/2018. (tb) (Entered: 02/20/2018)
02/20/2018   465 ORDER HOLDING IN ABEYANCE Plaintiff's 428 Motion in Limine to Exclude
                 Irrelevant and Couched Information Which Falls Outside the Parties' Severance
                 Agreement, and Defendants' 427 Motion in Limine to Exclude Irrelevant Florida
                 Judgment. Signed by Judge Colleen Kollar−Kotelly on 2/20/2018. (lcckk3) (Entered:
                 02/20/2018)
02/20/2018        Minute Entry for proceedings held before Judge Colleen Kollar−Kotelly: Interim
                  Pretrial Conference held on 2/20/2018. Final Pretrial Conference set for 2/23/2018 at
                  1:30 PM before Judge Colleen Kollar−Kotelly. (Court Reporter Elizabeth Saint−Loth.)
                  (dot) (Entered: 02/20/2018)
02/20/2018        MINUTE ORDER: The Court held a pretrial conference with the parties on February
                  20, 2018, in advance of trial scheduled for FEBRUARY 26, 2018. The parties agreed
                  to the following schedule established to facilitate efficient pretrial proceedings.By
                  FEBRUARY 20, 2018, at 11:59 PM, Defendants shall file a notice withdrawing their
                  anti−cybersquatting claim, as they indicated at the pretrial conference.By
                  FEBRUARY 21, 2018, at 12:00 PM, 1) Plaintiff shall identify which defenses, if any,
                  listed in 15 U.S.C. &sect 1115 (distinct from Plaintiff's other, general defenses) he is
                  asserting in this case, as the Court ordered by Minute Order on February 16, 2018; 2)
                  Plaintiff shall respond to the statute and case provided by Defendants at the pretrial
                  conference regarding whether Defendants' trademark is incontestable and therefore not
                  subject to a defense of invalidity, which affects a number of instructions; and 3)
                  Plaintiff may provide an instruction regarding why the jury should not view his
                  limitation to nominal damages as influencing their determination of Defendants'
                  liability.By FEBRUARY 21, 2018, at 4:00 PM, 1) Plaintiff shall identify any
                  objections made at the time of Defendants' depositions that he wants to preserve,
                  understanding that at trial he can object "to the admission of any deposition testimony
                  that would be inadmissible if the witness were present and testifying," Fed. R. Civ. P.
                  32(b); and 2) Plaintiff shall indicate any counterdesignations to Defendants'
                  depositions to which he and defense counsel can agree.With the consent of the parties,
                  the Court rescheduled the pretrial conference from February 23, 2018, at 2:30 PM to
                  FEBRUARY 23, 2018, at 1:30 PM.Signed by Judge Colleen Kollar−Kotelly on
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                  February 20, 2018. (lcckk1) (Entered: 02/20/2018)
02/20/2018   467 NOTICE OF WITHDRAWAL OF COUNT VII OF THE AMENDED
                 COUNTERCLAIM by THOMAS J. FITTON, JUDICIAL WATCH, INC. (Driscoll,
                 Richard) (Entered: 02/20/2018)
02/21/2018   468 NOTICE for Jury Instructions Regarding Nominal Damages by LARRY KLAYMAN
                 (Klayman, Larry) (Entered: 02/21/2018)
02/21/2018   469 RESPONSE TO ORDER OF THE COURT Plaintiff's Response to Court's Question
                 Concerning Alleged Inability to Show Trademarks Invalid and Defenses by LARRY
                 KLAYMAN (Klayman, Larry) Modified event title on 2/22/2018 (znmw). (Entered:
                 02/21/2018)
02/21/2018   470 TRANSCRIPT OF TELEPHONIC CONFERENCE before Judge Colleen
                 Kollar−Kotelly held on October 5, 2017; Page Numbers: 1 − 22. Date of
                 Issuance:February 14, 2018. Court Reporter/Transcriber Richard D. Ehrlich,
                 Telephone number 202−354−3269, Tape Number: NA. Transcripts may be ordered by
                 submitting the Transcript Order Form

                  For the first 90 days after this filing date, the transcript may be viewed at the
                  courthouse at a public terminal or purchased from the court reporter referenced above.
                  After 90 days, the transcript may be accessed via PACER. Other transcript formats,
                  (multi−page, condensed, CD or ASCII) may be purchased from the court reporter.

                  NOTICE RE REDACTION OF TRANSCRIPTS: The parties have twenty−one
                  days to file with the court and the court reporter any request to redact personal
                  identifiers from this transcript. If no such requests are filed, the transcript will be made
                  available to the public via PACER without redaction after 90 days. The policy, which
                  includes the five personal identifiers specifically covered, is located on our website at
                  www.dcd.uscourts.gov.

                  Redaction Request due 3/14/2018. Redacted Transcript Deadline set for 3/24/2018.
                  Release of Transcript Restriction set for 5/22/2018.(Ehrlich, Richard) (Entered:
                  02/21/2018)
02/21/2018   471 NOTICE of Counter−Designations to Defendants' Depositions and Plaintiff's
                 Objections to Defendants' Depositions by LARRY KLAYMAN (Klayman, Larry)
                 (Entered: 02/21/2018)
02/21/2018        MINUTE ORDER: The Court has received Plaintiff's 469 Response to Court's
                  Question Concerning Alleged Inability to Show Judicial Watch Trademarks Invalid at
                  Trial and, in the Alternative, Plaintiff's Defenses Pursuant to 15 U.S.C. &sect 1115(b).
                  By FEBRUARY 21, 2018, at 5:30 PM, Defendants shall file a response indicating 1)
                  Whether Defendants listed in their Joint Pretrial Statement or in any of their other
                  exhibit lists filed with this Court the affidavit(s) to which Plaintiff refers and/or the
                  three "Notice[s] of Acceptance and Acknowledgement of &sect&sect 8 & 15
                  Declaration" that Defendants provided to the Court and the Plaintiff at the February
                  20, 2018, pretrial conference; 2) whether Plaintiff ever requested that Defendants
                  provide the aforementioned affidavit(s) and/or notices, and if so, whether Defendants
                  provided them; and 3) if Plaintiff did not request the aforementioned affidavit(s)
                  and/or notices, whether Defendants ever provided them to Plaintiff during discovery or
                  at another time. Signed by Judge Colleen Kollar−Kotelly on February 21, 2018.
                  (lcckk1) (Entered: 02/21/2018)
02/21/2018   472 RESPONSE TO ORDER OF THE COURT RESPONDING TO COURT'S
                 FEBRUARY 21, 2018, MINUTE ORDER by THOMAS J. FITTON, JUDICIAL
                 WATCH, INC. re Order,,,, (Driscoll, Richard) Modified event title on 2/22/2018
                 (znmw). (Entered: 02/21/2018)
02/21/2018        MINUTE ORDER: The Court has received Plaintiff's 471 Notice of
                  Counter−Designations to Defendants' Depositions and Plaintiff's Objections to
                  Defendants' Depositions. By FEBRUARY 22, 2018, at 10:00 AM, 1) Defendants
                  shall submit a notice indicating whether they agree to Plaintiff's two proposed
                  counter−designations; 2) Plaintiff shall supply the Court with excerpts of the two
                  proposed counter−designations that match the counter−designated portion in context
                  with the designated portion in context that Plaintiff wants it to accompany; and 3)
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                  Plaintiff shall supply the Court with excerpts of the one designation to which he
                  objects that show the objected−to designated portions in context. Signed by Judge
                  Colleen Kollar−Kotelly on February 21, 2018. (lcckk1) (Entered: 02/21/2018)
02/21/2018        MINUTE ORDER: The Court has further questions regarding Plaintiff's 469 Response
                  to Court's Question Concerning Alleged Inability to Show Judicial Watch Trademarks
                  Invalid at Trial and, in the Alternative, Plaintiff's Defenses Pursuant to 15 U.S.C.
                  &sect 1115(b). By FEBRUARY 22, 2018, at 12:00 PM, Plaintiff shall file a notice
                  with the Court indicating what evidence Plaintiff has, and where he has provided it to
                  Defendants and/or the Court, to support his proposed defenses that Defendants'
                  trademark is, e.g., fraudulent, abandoned, previously used, or violates the antitrust law,
                  or that laches, estoppel, or equitable principles apply. It is not evident that Plaintiff has
                  raised these proposed defenses in the Joint Pretrial Statement, pretrial conferences, or
                  in any other pleadings.The Court has received Defendants' 472 Response to the Court's
                  February 21, 2018, Minute Order. By FEBRUARY 22, 2018, at 12:00 PM,
                  Defendants shall file a notice with the Court clarifying any support for their assertion
                  that 15 U.S.C. &sect 1115(b) acts as a statute of limitations, an argument for which
                  Defendants did not supply specific statutory or case law support.Signed by Judge
                  Colleen Kollar−Kotelly on February 21, 2018. (lcckk1) (Entered: 02/21/2018)
02/22/2018   473 RESPONSE TO ORDER OF THE COURT RESPONDING TO THE COURT'S
                 FEBRUARY 21, 2018, MINUTE ORDER by THOMAS J. FITTON, JUDICIAL
                 WATCH, INC. re Order,,,,, (Driscoll, Richard) Modified event title on 2/22/2018
                 (znmw). (Entered: 02/22/2018)
02/22/2018   474 RESPONSE TO ORDER OF THE COURT Plaintiff's Response to Court's Minute
                 Order Regarding Counter−Designations by LARRY KLAYMAN (Klayman, Larry)
                 Modified event title on 2/23/2018 (znmw). (Entered: 02/22/2018)
02/22/2018   475 RESPONSE TO ORDER OF THE COURT Plaintiff's Response to Court's Minute
                 Order Regarding Trademark Defenses by LARRY KLAYMAN (Klayman, Larry)
                 Modified event title on 2/23/2018 (znmw). (Entered: 02/22/2018)
02/22/2018   476 NOTICE by THOMAS J. FITTON, JUDICIAL WATCH, INC. re Order,,, (Driscoll,
                 Richard) (Entered: 02/22/2018)
02/22/2018        MINUTE ORDER: The Court has received Plaintiff's 474 Response to Court's Minute
                  Order Regarding Counter−Designations. For each of his counter−designated portions,
                  Plaintiff must provide the specific designated portion of the deposition that Plaintiff
                  proposes that his counter−designated portion be read with. In the abstract, having
                  Plaintiff's counter−designation does not assist the Court without the actual text of the
                  designation. Plaintiff must submit this revised notice by FEBRUARY 22, 2018, at
                  2:00 PM.The Court has received Defendants' 476 Notice of Intent to File Objections
                  in Response to Plaintiff's Counter Designations Pursuant to the Court's February 21,
                  2018, Minute Order and Request for Additional Time. For good cause shown,
                  Defendants shall have until FEBRUARY 22, 2018, at 2:00 PM, to respond to
                  Plaintiff's counter−designations.Signed by Judge Colleen Kollar−Kotelly on February
                  22, 2018. (lcckk1) (Entered: 02/22/2018)
02/22/2018   477 NOTICE REGARDING ECF 466 AND REFILING OF WITNESS LIST by THOMAS
                 J. FITTON, JUDICIAL WATCH, INC. (Driscoll, Richard) (Entered: 02/22/2018)
02/22/2018   478 RESPONSE TO ORDER OF THE COURT RESPONSE TO COURT'S QUESTIONS
                 RE DESIGNATIONS by LARRY KLAYMAN (Klayman, Larry) Modified event title
                 on 2/23/2018 (znmw). (Entered: 02/22/2018)
02/22/2018   479 RESPONSE TO ORDER OF THE COURT REGARDING
                 COUNTER−DESIGNATIONS by THOMAS J. FITTON, JUDICIAL WATCH, INC.
                 re Order,,, (Driscoll, Richard) Modified event title on 2/23/2018 (znmw). (Entered:
                 02/22/2018)
02/22/2018   480 RESPONSE TO ORDER OF THE COURT (CORRECTED) REGARDING
                 COUNTER−DESIGNATIONS by THOMAS J. FITTON, JUDICIAL WATCH, INC.
                 re Order,,, (Driscoll, Richard) Modified event title on 2/23/2018 (znmw). (Entered:
                 02/22/2018)
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02/22/2018        MINUTE ORDER: The Court has received Plaintiff's 475 Response to Court's Minute
                  Order Regarding Trademark Defenses. Defendants shall respond to the issues raised
                  by FEBRUARY 22, 2018, at 4:00 PM.Among issues raised by this filing, Plaintiff
                  seeks to use the deposition of Louise Benson at trial. Local Rule 16.5(b) of the Local
                  Rules of the United States District Court for the District of Columbia, which the Court
                  incorporated in its Pretrial Scheduling and Procedures Order, ECF No. 330, at 3,
                  required the parties to "set forth [in their Pretrial Statement] a brief description of the
                  testimony to be elicited from the witness." In the parties' 333 Joint Pretrial Statement,
                  Plaintiff described the subject matter of the testimony for many of his proposed
                  witnesses, including Ms. Benson, as "all issues," and for other proposed witnesses he
                  used broad and vague descriptions such as "fundraising" and "accounting issues."
                  Mem. Op., ECF No. 362, at 10. Ms. Benson was no longer a party at the time that her
                  deposition was taken nor later when the parties prepared the Joint Pretrial Statement,
                  so the scope of Plaintiff's use of Ms. Benson's deposition was not evident. The Court
                  ordered Plaintiff to "re−file an appropriate list of his proposed witnesses that (a)
                  clearly and specifically identifies the subject matter(s) on which he proposes each
                  witness to testify and (b) addresses Defendants' objections to Plaintiff's proposed
                  witnesses, as set forth by Defendants in the parties' 330 Joint Pretrial Statement." Id.
                  (quoting Order, ECF No. 334, at 1).Also in the parties' 333 Joint Pretrial Statement,
                  Plaintiff designated the entirety of Louise Benson's deposition for use at trial. Joint
                  Pretrial Statement, ECF No. 333, at 40. "Because Defendants raised an objection to
                  this broad designation, Klayman was directed to 'provide support for his position that
                  [the deposition]... which Plaintiff has designated in its entirety[] may be offered at trial
                  either by de bene esse or by other means.'" Mem. Op., ECF No. 362, at 12 (quoting
                  Order, ECF No. 334, at 2) (alterations in original).Despite two extensions of time,
                  Plaintiff failed to file a revised [337−1] Joint Pretrial Statement, and accordingly he
                  did not comply with the Court's orders to re−file an appropriate list of his proposed
                  witnesses and to provide support for his proposed designation of the Benson
                  deposition. Because he did not comply, the Court granted Defendants' 342 Motion to
                  Strike, which struck, inter alia Plaintiff's list of witnesses and deposition designations.
                  See id. at 28. Plaintiff had "filed a two−sentence opposition to Defendants' Motion to
                  Strike, claiming in relevant part that 'the sanctions requested by Defendants is [sic] not
                  warranted.'" Id. at 15 (quoting Pl.'s Opp'n to Defs. [sic] Mot. to Strike, ECF No.
                  344).Because Plaintiff did not provide any description of Ms. Benson's deposition, and
                  because the Court does not have a copy of this deposition, the Court is unable to assess
                  the relevance of Ms. Benson's deposition to the claims that remain. Accordingly,
                  Plaintiff shall file a notice with the Court by FEBRUARY 22, 2018, at 4:00 PM,
                  explaining the relevance of Ms. Benson's deposition to Plaintiff's remaining claims.
                  Defendants shall address this issue as part of their response described above.Signed by
                  Judge Colleen Kollar−Kotelly on February 22, 2018. (lcckk1 ) (Entered: 02/22/2018)
02/22/2018   481 TRANSCRIPT OF PROCEEDINGS before Judge Colleen Kollar−Kotelly held on
                 01/31/2018; Page Numbers: 1−57. Date of Issuance:02/22/2018. Court
                 Reporter/Transcriber Crystal M. Pilgrim, RPR, FCRR, Telephone number
                 202.354.3127, Transcripts may be ordered by submitting the Transcript Order Form

                  For the first 90 days after this filing date, the transcript may be viewed at the
                  courthouse at a public terminal or purchased from the court re porter referenced above.
                  After 90 days, the transcript may be accessed via PACER. Other transcript formats,
                  (multi−page, condensed, CD or ASCII) may be purchased from the court reporter.

                  NOTICE RE REDACTION OF TRANSCRIPTS: The parties have twenty−one
                  days to file with the court and the court reporter any request to redact personal
                  identifiers from this transcript. If no such requests are filed, the transcript will be made
                  available to the public via PACER without redaction after 90 days. The policy, which
                  includes the five personal identifiers specifically covered, is located on our website at
                  www.dcd.uscourts.gov.

                  Redaction Request due 3/15/2018. Redacted Transcript Deadline set for 3/25/2018.
                  Release of Transcript Restriction set for 5/23/2018.(Pilgrim, Crystal) (Entered:
                  02/22/2018)
02/22/2018   482 NOTICE re benson by LARRY KLAYMAN (Klayman, Larry) (Entered: 02/22/2018)
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02/22/2018   483 NOTICE REGARDING MINUTE ORDER (02/22/2018 2:48 PM) by THOMAS J.
                 FITTON, JUDICIAL WATCH, INC. re Order,,,,,,,,,,,,,, (Driscoll, Richard) (Entered:
                 02/22/2018)
02/22/2018   484 ORDER Regarding the Incontestability of Counter−Plaintiff's Trademarks. Signed by
                 Judge Colleen Kollar−Kotelly on 2/22/2018. (lcckk3) (Entered: 02/22/2018)
02/23/2018   485 ORDER Regarding Modifications to Proposed Jury Instructions. Signed by Judge
                 Colleen Kollar−Kotelly on 2/23/2018. (lcckk3) (Entered: 02/23/2018)
02/23/2018   486 ORDER addressing Plaintiff's Counter−designations to Defendant's Depositions and
                 Plaintiff's Objections to Defendant's Depositions. See Order for details. Signed by
                 Judge Colleen Kollar−Kotelly on 02/23/2018. (DM) (Entered: 02/23/2018)
02/23/2018   487 ORDER addressing Plaintiff's Testimony and Other Evidence at Trial. See Order for
                 details. Signed by Judge Colleen Kollar−Kotelly on February 23, 2018. (lcckk1)
                 (Entered: 02/23/2018)
02/23/2018         Minute Entry for proceedings held before Judge Colleen Kollar−Kotelly: Final Pretrial
                   Conference held on 2/23/2018. Jury Trial set for 2/26/2018 at 09:00 AM in Courtroom
                   28A before Judge Colleen Kollar−Kotelly. (Court Reporter Richard Ehrlich.) (dot)
                   (Entered: 02/23/2018)
02/24/2018   488 ORDER. The Court held the final pretrial conference as to the evidence, jury
                 instructions, and contents of voir dire with the parties on February 20, 2018, in
                 advance of trial scheduled for February 26, 2018. Subsequently, the Court issued its
                 Minute Order of February 20, 2018, instructing certain further submissions to which
                 the parties had agreed. The Court met with the parties on February 23, 2018, in a
                 pretrial conference focused on procedural matters. See Order for details, one of which
                 is highlighted below.By FEBRUARY 26, 2018, at 8:00 AM, Defendants shall file an
                 updated exhibit list on the form provided by the Clerk that omits those exhibits that
                 Defendants have deleted from their final list. Defendants shall maintain the numbering
                 used in their previous exhibit lists, with the exception of the extraneous Exhibit 109
                 that is to be relabeled as Exhibit 124.5. Defendants shall include a notice specifically
                 listing those exhibits that they have deleted.Signed by Judge Colleen Kollar−Kotelly
                 on February 24, 2018. (lcckk1) (Entered: 02/24/2018)
02/25/2018   489 MOTION for Sanctions And Entry of Judgment by LARRY KLAYMAN
                 (Attachments: # 1 Exhibit Hearing Transcript April 20, 2017, # 2 Exhibit Hearing
                 Transcript February 9, 2018, # 3 Exhibit Letter to Mr. Driscoll with Klayman's
                 Production of Documents, # 4 Exhibit Letter to Mr. Driscoll with Klayman's
                 Production of Documents)(Klayman, Larry). Added MOTION for Entry of Judgment
                 on 2/26/2018 (znmw). (Entered: 02/25/2018)
02/25/2018   490 Exhibit List (UPDATED) by THOMAS J. FITTON, JUDICIAL WATCH, INC..
                 (Driscoll, Richard) (Entered: 02/25/2018)
02/25/2018   491 NOTICE REGARDING ORDER (ECF 488) by THOMAS J. FITTON, JUDICIAL
                 WATCH, INC. re 488 Order,,,, (Driscoll, Richard) (Entered: 02/25/2018)
02/25/2018   492 NOTICE OF WITHDRAWAL OF COUNT XI OF THE AMENDED COUNTERCLAIM
                 by THOMAS J. FITTON, JUDICIAL WATCH, INC. (Driscoll, Richard) (Entered:
                 02/25/2018)
02/26/2018         Minute Entry for proceedings held before Judge Colleen Kollar−Kotelly: Jury Trial
                   held on 2/26/2018. Jury Panel of 9 sworn. Jury Trial set for 2/27/2018 at 9:00 AM in
                   Courtroom 28A before Judge Colleen Kollar−Kotelly. (Court Reporter Richard
                   Ehrlich.) (dot) (Entered: 02/26/2018)
02/26/2018         MINUTE ORDER: The Court has received Plaintiff's 489 Motion for Sanctions and
                   Entry of Judgment. As discussed with the parties, the Court sets forth the following
                   briefing schedule. Defendant Judicial Watch, Inc. shall file its opposition by MARCH
                   3, 2018, at 12:00 PM. Plaintiff shall file his reply by MARCH 8, 2018, at 5:00 PM.In
                   order not to delay trial, the Court seeks to resolve objections out of the presence of the
                   jury, to the extent possible. Accordingly, the Court instructs the parties to prepare the
                   following filings to facilitate its consideration of any authenticity objections that
                   Plaintiff may make to Defendants' exhibits. Defendants shall prepare a list of
                   documents that they would like admitted as exhibits with each witness, together with
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                  evidence for the authentication of those documents. Defendants shall file the
                  respective portion of this list by 7:15 PM the night before Defendants expect to put on
                  a given witness's testimony. The first such filing by Defendants shall be no later than
                  FEBRUARY 27, 2018, at 7:15 PM. Plaintiff shall reply to each such submission by
                  no later than 7:45 AM the following day identifying any authenticity objections. The
                  first such filing by Plaintiff shall be no later than FEBRUARY 28, 2018, at 7:45 AM.
                  If Defendants do not intend to introduce documents in conjunction with witness
                  testimony on a given day, or if Plaintiff raises no authenticity objection to documents
                  proposed by Defendants, then their filings shall indicate as much.Signed by Judge
                  Colleen Kollar−Kotelly on February 26, 2018. (lcckk1) (Entered: 02/26/2018)
02/27/2018        Set/Reset Deadlines: Response due by 3/3/2018. Reply due by 3/8/2018. (gdf)
                  (Entered: 02/27/2018)
02/27/2018        MINUTE ORDER: The Court having impaneled the jury in this action, it is hereby
                  ORDERED that during trial and deliberations all meals for said jury shall be paid by
                  the Clerk of the Court for the U.S. District Court for the District of Columbia. Signed
                  by Judge Colleen Kollar−Kotelly on 2/26/18. (dot) (Entered: 02/27/2018)
02/27/2018        Minute Entry for proceedings held before Judge Colleen Kollar−Kotelly: Jury Trial
                  held on 2/27/2018 with same Jury Panel of Nine (9). Plaintiff witness: Larry Klayman.
                  Jury Trial set for 2/28/2018 at 9:00 AM in Courtroom 28A before Judge Colleen
                  Kollar−Kotelly. (Court Reporter Richard Ehrlich.) (dot) (Entered: 02/27/2018)
02/27/2018   493 NOTICE to the Court by 7:15 PM Regarding Whether He Pled or Raised As Part of a
                 Disparagement Claim Defendant's Motion to Strike Plaintiff's Appearance in Sandra
                 Cobas Matter and Whether Defendants Had Notice by LARRY KLAYMAN
                 (Attachments: # 1 Exhibit Withdrawal, Motion to Strike, Order)(Klayman, Larry)
                 (Entered: 02/27/2018)
02/27/2018   494 NOTICE RESPONDING TO ECF 493 by THOMAS J. FITTON, JUDICIAL
                 WATCH, INC. re 493 Notice (Other), (Driscoll, Richard) (Entered: 02/27/2018)
02/28/2018   495 ORDER Regarding Evidentiary Issues Affecting Plaintiff's Testimony. Signed by
                 Judge Colleen Kollar−Kotelly on February 28, 2018. (lcckk1) (Entered: 02/28/2018)
02/28/2018        MINUTE ORDER: The Court has received the parties' 493 and 494 notices concerning
                  Plaintiff's efforts to cite, in support of his remaining claim (5) for disparagement,
                  Defendant Judicial Watch, Inc.'s ("Judicial Watch") motion to strike Plaintiff's
                  appearance in the Sandy Cobas litigation.Plaintiff argues that he gave notice of this
                  claim in subparagraph G of paragraph 66 of the operative 12 Second Amended
                  Complaint. Plaintiff specifically points to a header further above that indicates that the
                  ensuing paragraphs will discuss, "Defamation, Disparagement of Klayman and
                  Misrepresentation." However, his reference to the Cobas litigation in subparagraph G
                  does not put it in the context of disparagement. Rather, Plaintiff discusses Judicial
                  Watch's activity in the Cobas litigation as a misrepresentation of Plaintiff's ability to
                  represent Ms. Cobas, but does not say that it is disparagement. Moreover, the Cobas
                  discussion comes amidst a laundry list of alleged breaches of contract, in which it is
                  not clear which he intends to be "defamation, disparagement... [or] misrepresentation."
                  Accordingly, the 12 Second Amended Complaint does not put Judicial Watch on
                  notice of Plaintiff's latest argument.Plaintiff also does not refer to Judicial Watch's
                  activity as disparagement in a recent filing about damages. In February 2017, in
                  response to a Court order to provide factual underpinnings for, and a description of the
                  type of damages that he seeks in response to, his claim (5) concerning disparagement,
                  he takes the opportunity to discuss all five of his remaining claims. See Pl.'s Resp. to
                  Ct.'s Min. Order of Jan. 13, 2017, ECF No. 389 . When discussing the Cobas litigation,
                  Plaintiff says nothing about Judicial Watch's activity being disparagement. When
                  discussing his disparagement claim, he says nothing about the Cobas litigation. Again,
                  nothing in this filing would put Judicial Watch on notice of Plaintiff's latest
                  argument.In his opening statement to the jury on February 27, 2018, he discusses the
                  Cobas litigation solely in the context of a breach of contract claim for Judicial Watch's
                  alleged misrepresentation of Plaintiff's ability to represent her. In turn, Plaintiff's
                  discussion of his disparagement claim does not refer to the Cobas litigation.
                  Accordingly, the opening statement also did not put Judicial Watch on notice of
                  Plaintiff's latest argument.Nothing that the Court has been pointed to, nor can Court
                  recollect, any prior argument by Plaintiff that Judicial Watch's motion to strike in the
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                  Cobas litigation can be considered under Plaintiff's remaining claim (5) concerning
                  disparagement. Accordingly, Plaintiff is prohibited from arguing that the motion to
                  strike supports his disparagement claim.Signed by Judge Colleen Kollar−Kotelly on
                  February 28, 2018. (lcckk1) (Entered: 02/28/2018)
02/28/2018        Minute Entry for proceedings held before Judge Colleen Kollar−Kotelly: Jury Trial
                  held on 2/28/2018 with the same Jury Panel of Nine (9). Witness: Larry Klayman. Jury
                  Trial continued to 3/1/2018 at 9:00 AM in Courtroom 28A before Judge Colleen
                  Kollar−Kotelly. (Court Reporter Richard Ehrlich.) (dot) (Entered: 02/28/2018)
02/28/2018   496 ORDER Regarding Defendant's Proposed Impeachment of Plaintiff's Testimony.
                 Signed by Judge Colleen Kollar−Kotelly on February 28, 2018. (lcckk1) (Entered:
                 02/28/2018)
03/01/2018        Minute Entry for proceedings held before Judge Colleen Kollar−Kotelly: Jury Trial
                  held on 3/1/2018 with the same Jury Panel of Nine (9). Plaintiff's Witness: Larry
                  Klayman. Plaintiff Rest. Defendant's Witnesses: Paul Orfanedes and Susan Prytherch.
                  Jury Trial continued to 3/2/2018 at 9:00 AM in Courtroom 28A before Judge Colleen
                  Kollar−Kotelly. (Court Reporter Richard Ehrlich.) (dot) (Entered: 03/01/2018)
03/01/2018   497 NOTICE Plaintiff's Response to the Court's Minute Order of February 29, 2018 at
                 6:11 p.m. Concerning Ratification by LARRY KLAYMAN (Attachments: # 1 Exhibit
                 Jury Instructions, # 2 Exhibit Letter to Mr. Driscoll and Email
                 Correspondence)(Klayman, Larry) (Entered: 03/01/2018)
03/02/2018   498 NOTICE RESPONDING TO PLAINTIFF'S FOUNDATION FOR PROPOSED
                 IMPEACHMENT UNDER FEDERAL RULE OF EVIDENCE 608(b) by THOMAS J.
                 FITTON, JUDICIAL WATCH, INC. re 497 Notice (Other), (Driscoll, Richard)
                 (Entered: 03/02/2018)
03/02/2018   499 ORDER Regarding Admissibility of Defendant's Exhibits 192 and 194. Signed by
                 Judge Colleen Kollar−Kotelly on March 2, 2018. (lcckk1 ) (Entered: 03/02/2018)
03/02/2018   500 ORDER Regarding Plaintiff's Proposed Impeachment with Florida Judgment. Signed
                 by Judge Colleen Kollar−Kotelly on 3/2/2018. (lcckk3) (Entered: 03/02/2018)
03/02/2018        Minute Entry for proceedings held before Judge Colleen Kollar−Kotelly: Jury Trial
                  held on 3/2/2018 with the same Jury Panel of Nine (9). Defendants' Witnesses: Susan
                  Prytherch and Thomas Fitton. Jury Trial continued to 3/5/2018 at 9:00 AM in
                  Courtroom 28A before Judge Colleen Kollar−Kotelly. (Court Reporter Richard
                  Ehrlich.) (dot) (Entered: 03/02/2018)
03/02/2018        MINUTE ORDER: On March 2, 2018, the Court discussed with the parties certain
                  exhibits that Defendant Judicial Watch, Inc. ("Judicial Watch")/Counter−Plaintiffs
                  Judicial Watch and Thomas J. Fitton intend to introduce into evidence during trial on
                  their counterclaims, authenticity objections to those exhibits by
                  Plaintiff/Counter−Defendant Larry E. Klayman, and the need for further briefing on
                  both positions to facilitate the Court's decision. Accordingly,
                  Defendant/Counter−Plaintiffs shall file a notice identifying their support for the
                  authenticity of their proposed Exhibits 4 through 31 by MARCH 3, 2018, at 12:00
                  PM. Plaintiff/Counter−Defendant shall respond by MARCH 4, 2018, at 12:00 PM.
                  Each party shall address the requirements for authentication of material produced from
                  the "Wayback Machine," a service offered by the non−profit Internet Archive. See,
                  e.g., Specht v. Google Inc., 747 F.3d 929, 933 (7th Cir. 2014); United States v. Bansal,
                  663 F.3d 634, 667−68 (3d Cir. 2011); Sam's Riverside, Inc. v. Intercon Solutions, Inc.,
                  790 F. Supp. 2d 965, 979−82 (S.D. Iowa 2011); Novak v. Tucows, Inc., No. 06 1909
                  JFB ARL, 2007 WL 922306, at *5 (E.D.N.Y. Mar. 26, 2007); St. Luke's Cataract &
                  Laser Inst., P.A. v. Sanderson, No. 8:06 CV 223, 2006 WL 1320242 (M.D. Fla. May
                  12, 2006); Telewizja Polska USA, Inc. v. Echostar Satellite Corp., No. 02 C 3293,
                  2004 WL 2367740, at *6 (N.D. Ill. Oct. 15, 2004). If an affidavit or testimony would
                  be required to support the use of material from the Wayback Machine,
                  Defendant/Counter−Plaintiffs shall identify the expected timing of their obtaining that
                  affidavit or arranging testimony from anyone other than those already identified to this
                  Court as witnesses.In order to accommodate Defendant's/Counter−Plaintiffs'
                  submission of the above described notice, at their request the Court shall extend the
                  deadline for the filing of their opposition to Plaintiff's/Counter−Defendant's 489
                  Motion for Sanctions and Entry of Judgment until MARCH 4, 2018, at 5:00 PM. The
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                   Court accordingly shall extend the deadline for the filing of
                   Plaintiff's/Counter−Defendant's reply until MARCH 9, 2018.The Court also shall
                   reiterate the importance of the parties' adherence for the remainder of trial to the
                   process for Defendant's/Counter−Plaintiffs' authentication support and
                   Plaintiff's/Counter−Defendant's reply that is set forth in the Court's Minute Order of
                   February 26, 2018, as modified here. In light of Plaintiff's/Counter−Defendant's
                   authenticity objection to nearly all of their exhibits, see ECF No. 451−1,
                   Defendant/Counter−Plaintiffs shall file support for the authenticity of their proposed
                   exhibits by 7:15 PM the night before they intend to use them at trial. To the extent
                   possible, their filing should link the proposed exhibits to the witnesses, if applicable,
                   that are expected to be used in authenticating such exhibits.
                   Plaintiff/Counter−Defendant shall respond by 7:45 AM the following day identifying
                   any authenticity objections that remain. The parties need not make their respective
                   filings on Sunday evening, March 4, 2018, and Monday morning, March 5, 2018,
                   because those filings will be covered by the Saturday, March 3, 2018, at 12:00 PM,
                   and Sunday, March 4, 2018, at 12:00 PM, filings described above. Signed by Judge
                   Colleen Kollar−Kotelly on March 2, 2018. (lcckk1) (Entered: 03/02/2018)
03/02/2018   552 STIPULATION by Defendants CHRISTOPHER FARRELL, THOMAS J. FITTON,
                 JUDICIAL WATCH, INC.,PAUL ORFANEDES and Plaintiff LARRY KLAYMAN.
                 (dot) (Entered: 03/15/2018)
03/03/2018   501 NOTICE REGARDING AUTHENTICITY FOR EXHIBITS PROPOSED FOR MARCH
                 5, 2018 by THOMAS J. FITTON, JUDICIAL WATCH, INC. re Order,,,,,,,,,,,,,,
                 (Driscoll, Richard) (Entered: 03/03/2018)
03/04/2018   502 NOTICE (SUPPLEMENTAL) REGARDING AUTHENTICITY OF PROPOSED
                 EXHIBITS FOR MARCH 5, 2018 by THOMAS J. FITTON, JUDICIAL WATCH,
                 INC. re Order,,,,,,,,,,,,,, 501 Notice (Other) (Driscoll, Richard) (Entered: 03/04/2018)
03/04/2018   503 NOTICE of Plaintiff's Objection to Defendants' Supplemental Notice Regarding
                 Authenticity re 502 Notice (Other) by LARRY KLAYMAN (Klayman, Larry)
                 Modified to add link on 3/5/2018 (znmw). (Entered: 03/04/2018)
03/04/2018   504 NOTICE of Plaintiff's Response and Objections to Defendants' Notice Regarding
                 Authenticity for Exhibits to be Used on Monday, March 5, 2018 [Dkt. # 501] re 501
                 Notice (Other) by LARRY KLAYMAN (Klayman, Larry) Modified to add link on
                 3/5/2018 (znmw). (Entered: 03/04/2018)
03/04/2018   505 NOTICE of Plaintiff's Response and Objection to Defendants' Supplemental Notice
                 Regarding Authenticity by LARRY KLAYMAN (Klayman, Larry) (Entered:
                 03/04/2018)
03/04/2018   506 Memorandum in opposition to re 489 MOTION for Sanctions And Entry of Judgment
                 MOTION for Entry of Final Judgment filed by THOMAS J. FITTON, JUDICIAL
                 WATCH, INC.. (Driscoll, Richard) (Entered: 03/04/2018)
03/04/2018         MINUTE ORDER: The Court has received Defendant/Counter−Plaintiffs' 501 notice
                   and 502 supplemental notice regarding authenticity, as well as
                   Plaintiff/Counter−Defendant's 503 , 504 , and 505 responses and objections to the
                   same. Plaintiff/Counter−Defendant has raised certain issues in his filings. In order not
                   to delay trial, Defendant/Counter−Plaintiffs shall respond to
                   Plaintiff/Counter−Defendant's filings by MARCH 5, 2018, at 7:45 AM. Signed by
                   Judge Colleen Kollar−Kotelly on March 4, 2018. (lcckk1) (Entered: 03/04/2018)
03/04/2018   507 NOTICE REGARDING RESPONSE TO PLAINTIFF'S OBJECTIONS TO
                 AUTHENTICITY FOR MARCH 5, 2018 by THOMAS J. FITTON, JUDICIAL
                 WATCH, INC. re 505 Notice (Other), 504 Notice (Other) (Driscoll, Richard) (Entered:
                 03/04/2018)
03/05/2018   508 MEMORANDUM OPINION AND ORDER Regarding Counter−Plaintiffs' Proposed
                 Exhibits for Use at Trial on March 5, 2018. Signed by Judge Colleen Kollar−Kotelly
                 on March 5, 2018. (lcckk1 ) (Entered: 03/05/2018)
03/05/2018         Minute Entry for proceedings held before Judge Colleen Kollar−Kotelly: Jury Trial
                   held on 3/5/2018 with the same Jury Panel of Nine (9). Defendant's Witness: Thomas
                   Fitton. Defendant Rest. Rebuttal by Plaintiff. Cross claim case begun with same Jury
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                  Panel of Nine (9). Witness: Paul J. Orfanedes. Jury Trial continued to 5/6/2018 at
                  09:00 AM in Courtroom 28A before Judge Colleen Kollar−Kotelly. (Court Reporter
                  Richard Ehrlich.) (dot) (Entered: 03/05/2018)
03/05/2018   509 ORDER Regarding Plaintiff's 428 Motion in Limine to Exclude Irrelevant and
                 Couched Information Which Falls Outside the Parties' Severance Agreement. Signed
                 by Judge Colleen Kollar−Kotelly on 3/5/2018. (lcckk3) (Entered: 03/05/2018)
03/05/2018   510 NOTICE REGARDING AUTHENTICITY FOR MARCH 6, 2018 by THOMAS J.
                 FITTON, JUDICIAL WATCH, INC. (Driscoll, Richard) (Entered: 03/05/2018)
03/06/2018        Minute Entry for proceedings held before Judge Colleen Kollar−Kotelly: Jury Trial
                  held on 3/6/2018 with the same Jury Panel of (9). Witness: Paul J. Orfanedes. Jury
                  Trial continued to 3/7/2018 at 9:00 AM in Courtroom 28A before Judge Colleen
                  Kollar−Kotelly. (Court Reporter Richard Ehrlich.) (dot) (Entered: 03/06/2018)
03/06/2018   511 MEMORANDUM OPINION AND ORDER Regarding Counter−Plaintiffs' Proposed
                 Exhibits for Use at Trial on March 6, 2018. Signed by Judge Colleen Kollar−Kotelly
                 on March 6, 2018. (lcckk1) (Entered: 03/06/2018)
03/06/2018   512 NOTICE REGARDING AUTHENTICITY OF PROPOSED EXHIBITS FOR
                 WEDNESDAY, MARCH 7, 2018 by THOMAS J. FITTON, JUDICIAL WATCH, INC.
                 (Driscoll, Richard) (Entered: 03/06/2018)
03/07/2018   513 MEMORANDUM OPINION AND ORDER Regarding Counter−Plaintiffs' Proposed
                 Exhibits for Use at Trial on March 7, 2018. Signed by Judge Colleen Kollar−Kotelly
                 on March 7, 2018. (lcckk1) (Entered: 03/07/2018)
03/07/2018        Minute Entry for proceedings held before Judge Colleen Kollar−Kotelly: Jury Trial
                  held on 3/7/2018 with the same Jury Panel of Nine (9): Witnesses: Paul Orfanedes,
                  Mark J. Fitzibbons and Thomas Fitton. Jury Trial continued to 3/8/2018 at 9:00 AM in
                  Courtroom 28A before Judge Colleen Kollar−Kotelly. (Court Reporter Richard
                  Ehrlich.) (dot) (Entered: 03/07/2018)
03/07/2018   514 NOTICE REGARDING AUTHENTICITY OF PROPOSED EXHIBITS FOR MARCH
                 8, 2018 by THOMAS J. FITTON, JUDICIAL WATCH, INC. (Driscoll, Richard)
                 (Entered: 03/07/2018)
03/07/2018   515 NOTICE (SUPPLEMENTAL) REGARDING AUTHENTICITY OF PROPOSED
                 EXHIBITS FOR MARCH 8/9, 2018 by THOMAS J. FITTON, JUDICIAL WATCH,
                 INC. (Driscoll, Richard) (Entered: 03/07/2018)
03/08/2018   516 MEMORANDUM OPINION AND ORDER Regarding Counter−Plaintiffs' Proposed
                 Exhibits for Use at Trial on March 8, 2018. Signed by Judge Colleen Kollar−Kotelly
                 on March 8, 2018. (lcckk1) (Entered: 03/08/2018)
03/08/2018   517 NOTICE of Defenses by LARRY KLAYMAN (Attachments: # 1 Exhibit Exhibit 1, #
                 2 Exhibit Exhibit 2)(Klayman, Larry) (Entered: 03/08/2018)
03/08/2018   518 NOTICE of Objections to Notice of Authenticity by LARRY KLAYMAN re 514
                 Notice (Other), 515 Notice (Other) (Klayman, Larry) (Entered: 03/08/2018)
03/08/2018   519 NOTICE of Jury Instruction by LARRY KLAYMAN (Klayman, Larry) (Entered:
                 03/08/2018)
03/08/2018        Minute Entry for proceedings held before Judge Colleen Kollar−Kotelly: Jury Trial
                  held on 3/8/2018 with the same Jury Panel of (9). Witnesses: Thomas Fitton, Louis
                  Phil Sheldon (Deposition), Susan Prytherch. Jury Trial continued to 3/9/2018 at 9:00
                  AM in Courtroom 28A before Judge Colleen Kollar−Kotelly. (Court Reporter Richard
                  Ehrlich.) (dot) (Entered: 03/08/2018)
03/08/2018   520 NOTICE of Plaintiff's Objection to Defendant's Exhibits 4−31 by LARRY
                 KLAYMAN (Klayman, Larry) (Entered: 03/08/2018)
03/08/2018   521 NOTICE of Jury Instructions to Plaintiff's Claims by LARRY KLAYMAN (Klayman,
                 Larry) (Entered: 03/08/2018)
03/08/2018   522 NOTICE REGARDING PLAINTIFF'S ASSERTION OF DEFENSES by THOMAS J.
                 FITTON, JUDICIAL WATCH, INC. (Driscoll, Richard) (Entered: 03/08/2018)
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03/08/2018   523 NOTICE REQUESTING INCLUSION OF LITIGATION PROCEEDING PRIVILEGE
                 JURY INSTRUCTION by THOMAS J. FITTON, JUDICIAL WATCH, INC. (Driscoll,
                 Richard) (Entered: 03/08/2018)
03/09/2018   524 NOTICE REGARDING OBJECTION TO PLAINTIFF'S PROPOSED JURY
                 INSTRUCTION by THOMAS J. FITTON, JUDICIAL WATCH, INC. re 521 Notice
                 (Other) (Driscoll, Richard) (Entered: 03/09/2018)
03/09/2018   525 MEMORANDUM OPINION AND ORDER Regarding Counter−Plaintiffs' Proposed
                 Introduction at Trial of Exhibits Through Deposition Testimony of Philip Zodhiates.
                 Signed by Judge Colleen Kollar−Kotelly on March 9, 2018. (lcckk1) (Entered:
                 03/09/2018)
03/09/2018   526 MEMORANDUM OPINION AND ORDER Regarding Counter−Plaintiffs' Proposed
                 Introduction at Trial of Exhibits Through Deposition Testimony of Maureen Otis.
                 Signed by Judge Colleen Kollar−Kotelly on March 9, 2018. (lcckk1) (Entered:
                 03/09/2018)
03/09/2018        Minute Entry for proceedings held before Judge Colleen Kollar−Kotelly: Jury Trial
                  held on 3/9/2018 with the same Jury Panel of Nine (9). Defense rests on counterclaim.
                  Mr. Klayman's Motion for Directed Verdict; heard and taken under advisement.
                  Witnesses: Steve Anderson, Paul Orfanedes, Philip Zodhiates (Deposition), Maureen
                  Otis (Deposition), Stephanie DeLuca (Deposition). Jury Trial continued to 3/12/2018
                  at 9:00 AM in Courtroom 28A before Judge Colleen Kollar−Kotelly. (Court Reporter
                  Richard Ehrlich.) (dot) (Entered: 03/09/2018)
03/09/2018   527 REPLY to opposition to motion re 489 MOTION for Sanctions And Entry of Judgment
                 MOTION for Entry of Final Judgment filed by LARRY KLAYMAN. (Attachments: #
                 1 Exhibit)(Klayman, Larry) (Entered: 03/09/2018)
03/09/2018   528 ORDER Regarding Counter−Defendant's Proposed Jury Instruction Regarding Fair
                 Commentary. Signed by Judge Colleen Kollar−Kotelly on March 9, 2018. (lcckk1)
                 (Entered: 03/09/2018)
03/10/2018   529 MOTION for Reconsideration re 528 Order by LARRY KLAYMAN (Klayman,
                 Larry) (Entered: 03/10/2018)
03/11/2018   530 Memorandum in opposition to re 529 MOTION for Reconsideration re 528 Order filed
                 by THOMAS J. FITTON, JUDICIAL WATCH, INC.. (Driscoll, Richard) (Entered:
                 03/11/2018)
03/11/2018   531 REPLY to opposition to motion re 529 MOTION for Reconsideration re 528 Order
                 filed by LARRY KLAYMAN. (Klayman, Larry) (Entered: 03/11/2018)
03/11/2018   532 TRANSCRIPT OF EXCERPT OF JURY TRIAL before Judge Colleen
                 Kollar−Kotelly held on March 7, 2018; Page Numbers: 1 − 12. Date of
                 Issuance:March 8, 2018. Court Reporter/Transcriber Richard D. Ehrlich, Telephone
                 number (202) 354−3269, Transcripts may be ordered by submitting the Transcript
                 Order Form

                  For the first 90 days after this filing date, the transcript may be viewed at the
                  courthouse at a public terminal or purchased from the court reporter referenced above.
                  After 90 days, the transcript may be accessed via PACER. Other transcript formats,
                  (multi−page, condensed, CD or ASCII) may be purchased from the court reporter.

                  NOTICE RE REDACTION OF TRANSCRIPTS: The parties have twenty−one
                  days to file with the court and the court reporter any request to redact personal
                  identifiers from this transcript. If no such requests are filed, the transcript will be made
                  available to the public via PACER without redaction after 90 days. The policy, which
                  includes the five personal identifiers specifically covered, is located on our website at
                  www.dcd.uscourts.gov.

                  Redaction Request due 4/1/2018. Redacted Transcript Deadline set for 4/11/2018.
                  Release of Transcript Restriction set for 6/9/2018.(Ehrlich, Richard) (Entered:
                  03/11/2018)
03/11/2018   533 NOTICE Regarding Litigation Privilege Jury Instruction by LARRY KLAYMAN
                 (Klayman, Larry) (Entered: 03/11/2018)
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03/11/2018   534 NOTICE RESPONDING TO PLAINTIFF'S ASSERTION OF JUDICIAL
                 PROCEEDINGS PRIVILEGE by THOMAS J. FITTON, JUDICIAL WATCH, INC. re
                 533 Notice (Other) (Driscoll, Richard) (Entered: 03/11/2018)
03/11/2018   535 ORDER Regarding Request for Jury Instruction on Litigation Proceedings Privilege.
                 Signed by Judge Colleen Kollar−Kotelly on March 11, 2018. (lcckk1) (Entered:
                 03/11/2018)
03/11/2018        MINUTE ORDER: Counter−Plaintiffs Judicial Watch, Inc. ("Judicial Watch") and
                  Thomas J. Fitton have requested the removal of the Court's proposed jury instruction
                  regarding "generic" trademarks. Counter−Defendant Larry Klayman opposes.A
                  trademark that has become incontestable can still be challenged as generic. See, e.g.,
                  15 U.S.C. &sect 1065(4) (2016) ("[N]o incontestable right shall be acquired in a mark
                  which is the generic name for the goods or services or a portion thereof, for which it is
                  registered."); Park 'N Fly, Inc. v. Dollar Park and Fly, Inc., 469 U.S. 189, 194 (1985)
                  ("Generic terms are not registrable, and a registered mark may be canceled at any time
                  on the grounds that it has become generic."). The Court has considered relevant legal
                  authorities that discuss a variety of evidence used to make such a challenge. The Court
                  has not found support for any argument that there is a minimum evidentiary threshold
                  for a genericness challenge. Generally, it is for the finder of fact to weigh the types of
                  evidence offered by the party challenging the trademark. Accordingly, at this time the
                  Court rejects Counter−Plaintiffs' request to remove the proposed jury instruction
                  regarding "generic" trademark. The Court shall await Counter−Defendant's testimony
                  to confirm whether he has provided any evidence that could be put before the jury as
                  to the genericness of Judicial Watch's trademarks.The Court also rejects
                  Counter−Plaintiffs' argument in the alternative for an altered jury instruction on
                  "generic" trademark. Assuming that Counter−Defendant puts forward some evidence
                  as to genericness, the Court shall use the jury instruction that the Court has identified
                  in model jury instructions, rather than Counter−Plaintiffs' composite definition relying
                  in part on a treatise.Signed by Judge Colleen Kollar−Kotelly on March 11, 2018.
                  (lcckk1) (Entered: 03/11/2018)
03/12/2018   536 NOTICE REQUESTING JUDICIAL PROCEEDING INSTRUCTION by THOMAS J.
                 FITTON, JUDICIAL WATCH, INC. re 535 Order (Driscoll, Richard) (Entered:
                 03/12/2018)
03/12/2018   537 NOTICE (SUPPLEMENTAL) REGARDING REQUEST OF JUDICIAL
                 PROCEEDING PRIVILEGE by THOMAS J. FITTON, JUDICIAL WATCH, INC. re
                 535 Order (Driscoll, Richard) (Entered: 03/12/2018)
03/12/2018   538 NOTICE of Litigation Privilege Jury instruction by LARRY KLAYMAN (Klayman,
                 Larry) (Entered: 03/12/2018)
03/12/2018   539 NOTICE of Jury Instruction Regarding Material Breach by LARRY KLAYMAN
                 (Klayman, Larry) (Entered: 03/12/2018)
03/12/2018   540 ORDER Regarding Notice of Counter−Defendant Larry Klayman's Defenses as Affect
                 His Testimony on the Counterclaims of Counter−Plaintiffs Judicial Watch, Inc. and
                 Thomas J. Fitton. Signed by Judge Colleen Kollar−Kotelly on March 12, 2018.
                 (lcckk1) (Entered: 03/12/2018)
03/12/2018        Minute Entry for proceedings held before Judge Colleen Kollar−Kotelly: Jury Trial
                  held on 3/12/2018 with the same Jury Panel of Nine (9). Larry Klayman, Counter
                  Defendant; Rests. No rebuttal. Jury Trial continued to 3/13/2018 at 8:30 AM in
                  Courtroom 28A before Judge Colleen Kollar−Kotelly. (Court Reporter Richard
                  Ehrlich.) (dot) (Entered: 03/12/2018)
03/12/2018   541 ORDER. The Court DENIES Plaintiff Larry Klayman's 529 Motion for
                 Reconsideration of the Court's Substantive Order of March 9, 2018, regarding his
                 proposed jury instruction about fair commentary. Signed by Judge Colleen
                 Kollar−Kotelly on March 12, 2018. (lcckk1) (Entered: 03/12/2018)
03/13/2018   542 ORDER Regarding Parties' Further Request for Jury Instruction on Litigation
                 Proceedings Privilege. Signed by Judge Colleen Kollar−Kotelly on March 13, 2018.
                 (lcckk1) (Entered: 03/13/2018)
03/13/2018   543 ORDER regarding Plaintiff's request that the jury consider simple breaches
                 cumulatively in determining whether there was a material breach of contract. Signed
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                  by Judge Colleen Kollar−Kotelly on March 13, 2018. (lcckk1) (Entered: 03/13/2018)
03/13/2018   544 ORDER Regarding Redaction of Unidentified Handwriting on Exhibit 67 and Exhibit
                 161. Signed by Judge Colleen Kollar−Kotelly on March 13, 2018. (lcckk1) (Entered:
                 03/13/2018)
03/13/2018   545 NOTICE of Correspondence Regarding Cumulative Material Breach by LARRY
                 KLAYMAN (Attachments: # 1 Exhibit)(Klayman, Larry) (Entered: 03/13/2018)
03/13/2018   546 NOTICE of Correspondence Regarding Health Insurance Judgment by LARRY
                 KLAYMAN (Attachments: # 1 Exhibit)(Klayman, Larry) (Entered: 03/13/2018)
03/13/2018   547 NOTICE of Correspondence Regarding Litigation Privilege by LARRY KLAYMAN
                 (Attachments: # 1 Exhibit)(Klayman, Larry) (Entered: 03/13/2018)
03/13/2018        Minute Entry for proceedings held before Judge Colleen Kollar−Kotelly: Jury Trial
                  resumed on 3/13/2018 with the same Jury Panel of Nine (9) and concluded. Jury
                  Deliberation begun and continued to 3/14/2018 at 8:30 AM in Courtroom 28A before
                  Judge Colleen Kollar−Kotelly. (Court Reporter Richard Ehrlich.) (dot) (Entered:
                  03/13/2018)
03/13/2018   553 ATTORNEYS' ACKNOWLEDGEMENT OF TRIAL EXHIBITS. (dot) (Entered:
                 03/15/2018)
03/13/2018   554 Exhibit List by LARRY KLAYMAN. (dot) (Entered: 03/15/2018)
03/13/2018   555 Exhibit List by DEFENDANTS/COUNTER CLAIMANT.(dot) (Entered: 03/15/2018)
03/13/2018   556 Jury Note (1). (dot) (Entered: 03/15/2018)
03/13/2018   557 Signature Page of Foreperson

                  Jury Note (1). (Access to the PDF Document is restricted pursuant to the
                  E−Government Act. Access is limited to Counsel of Record and the Court.). (zdot)
                  (Entered: 03/15/2018)
03/14/2018        Minute Entry for proceedings held before Judge Colleen Kollar−Kotelly: Jury
                  Deliberation resumed and concluded on 3/14/2018 with the same Jury Panel of Nine
                  (9). Jury verdict for the Defendant. Jury Panel discharged. (Court Reporter Elizabeth
                  Saint−Loth.) (dot) (Entered: 03/14/2018)
03/14/2018        MINUTE ORDER: After the jury returned a verdict at trial, Plaintiff Larry Klayman
                  indicated that he would file what he represented as a motion for "JNOV," judgment
                  notwithstanding the verdict. At Mr. Klayman's request, the Court set the deadline for
                  such motion for sixty (60) days following the court reporter's issuance of the trial
                  transcript. The Court also accepted the parties' respective proposed deadlines for an
                  opposition by Judicial Watch, Inc. and Thomas J. Fitton due thirty (30) days after Mr.
                  Klayman's motion, with Mr. Klayman's reply due thirty (30) days after the opposition.
                  The Court shall issue a further Minute Order establishing specific dates once the court
                  reporter has issued the full trial transcript.Defense counsel also indicated that his
                  clients would seek attorney's fees pursuant to the Confidential Severance Agreement.
                  The Court confirmed that a motion for attorney's fees would not be due until 14 days
                  following the Court's decision on Mr. Klayman's motion.The Court admonished
                  counsel and the parties that they are prohibited from speaking with the jurors without
                  the Court's permission. See Local Civil Rule 47.2(b) of the Rules of the United States
                  District Court for the District of Columbia.Signed by Judge Colleen Kollar−Kotelly on
                  March 14, 2018. (lcckk1) (Entered: 03/14/2018)
03/14/2018   550 CLERK'S JUDGMENT in favor of Judicial Watch, Inc., et al, Defendants against
                 Larry Klayman, Plaintiff. (dot) (Entered: 03/15/2018)
03/14/2018   558 Jury Notes (3). (dot) (Entered: 03/15/2018)
03/14/2018   559 Signature Page of Foreperson

                  Jury Notes (3). (Access to the PDF Document is restricted pursuant to the
                  E−Government Act. Access is limited to Counsel of Record and the Court.). (zdot)
                  (Entered: 03/15/2018)
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03/14/2018   560 JURY VERDICT. (dot) (Entered: 03/15/2018)
03/14/2018   561 Signature Page of Foreperson

                   Jury Verdict. (Access to the PDF Document is restricted pursuant to the
                   E−Government Act. Access is limited to Counsel of Record and the Court.). (zdot)
                   (Entered: 03/15/2018)
03/15/2018   548 JUDGMENT ON THE VERDICT for Counterplaintiff Judicial Watch, Inc. against
                 Counterdefendant Larry Klayman. Signed by Judge Colleen Kollar−Kotelly on March
                 15, 2018. (lcckk1) (Entered: 03/15/2018)
03/15/2018   549 JUDGMENT ON THE VERDICT for Counterplaintiff Thomas J. Fitton against
                 Counterdefendant Larry Klayman. Signed by Judge Colleen Kollar−Kotelly on March
                 15, 2018. (lcckk1) (Entered: 03/15/2018)
03/20/2018   562 MOTION to Vacate Entry of Judgment by LARRY KLAYMAN (Klayman, Larry)
                 (Entered: 03/20/2018)
03/22/2018         MINUTE ORDER: The Court has received Plaintiff Larry Klayman's 562 Motion to
                   Vacate Entry of Judgment Pending FRCP Rule 50 Motion.
                   Defendant/Counter−Plaintiff Judicial Watch, Inc. and Counter−Plaintiff Thomas J.
                   Fitton shall respond by MARCH 29, 2018. Plaintiff Larry Klayman shall reply by
                   APRIL 5, 2018. Signed by Judge Colleen Kollar−Kotelly on March 22, 2018. (lcckk1
                   ) (Entered: 03/22/2018)
03/22/2018         Set/Reset Deadlines: Response to 562 due by 3/29/2018. Reply due by 4/5/2018. (dot)
                   (Entered: 03/22/2018)
03/28/2018   563 Memorandum in opposition to re 562 MOTION to Vacate Entry of Judgment filed by
                 THOMAS J. FITTON, JUDICIAL WATCH, INC.. (Driscoll, Richard) (Entered:
                 03/28/2018)
04/05/2018   564 REPLY to opposition to motion re 562 MOTION to Vacate Entry of Judgment filed by
                 LARRY KLAYMAN. (Klayman, Larry) (Entered: 04/05/2018)
04/12/2018   565 ORDER. The Court GRANTS Mr. Klayman's 562 Motion to Vacate Entry of
                 Judgment Pending FRCP 50 Motion and VACATES the Court's 548 Judgment on the
                 Verdict for Counterplaintiff Judicial Watch, Inc., the Court's 549 Judgment on the
                 Verdict for Counterplaintiff Thomas J. Fitton, and the Clerk's 550 Judgment on the
                 Verdict for Defendant, pending disposition of Mr. Klayman's post−trial motion(s).Mr.
                 Klayman must file any and all post−trial motions in a single pleading within 60
                 days following the court reporter's completion of the full trial transcript. The
                 Court shall not consider any post−trial motion not contained within this single
                 pleading filed by the aforementioned deadline. No extensions shall be granted for
                 any reason.The parties shall file a Joint Notice with the Court within 2 days of the
                 court reporter's production of the full trial transcript to the parties, or the production of
                 the last of the volumes of a transcript produced on a rolling basis. Alternatively, the
                 parties must submit a Joint Status Report on APRIL 26, 2018, indicating the status of
                 the completion of those transcripts.See Order for further details.Signed by Judge
                 Colleen Kollar−Kotelly on April 12, 2018. (lcckk1) (Entered: 04/12/2018)
04/12/2018         Set/Reset Deadlines: Joint Status Report due by 4/26/2018, indicating the status of the
                   completion of those transcripts. (dot) (Entered: 04/12/2018)
04/26/2018   566 STATUS REPORT REGARDING TRANSCRIPT by THOMAS J. FITTON,
                 JUDICIAL WATCH, INC.. (Driscoll, Richard) (Entered: 04/26/2018)
04/26/2018   567 STATUS REPORT Regarding Transcripts by LARRY KLAYMAN. (Klayman,
                 Larry) (Entered: 04/26/2018)
04/27/2018         MINUTE ORDER: The Court has received the parties' 566 and 567 Status Reports,
                   which indicate that the court reporter has not yet completed the trial transcript. The
                   parties offer differing specificity as to the timeline for completion of that transcript. As
                   the Court has previously instructed, the parties shall file a Joint Notice with the Court
                   within 2 days of the court reporter's production of the full trial transcript to the parties,
                   or the production of the last of the volumes of a transcript produced on a rolling basis.
                   If that event has not yet occurred by MAY 11, 2018, the parties must submit a Joint
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                  Status Report on that date indicating the status of the completion of the transcript.
                  Signed by Judge Colleen Kollar−Kotelly on April 27, 2018. (lcckk1) (Entered:
                  04/27/2018)
04/27/2018        Set/Reset Deadlines: Joint Status Report indicating the status of the completion of the
                  transcript due by 5/11/2018. (dot) (Entered: 04/30/2018)
05/14/2018   568 Joint STATUS REPORT by THOMAS J. FITTON, JUDICIAL WATCH, INC..
                 (Driscoll, Richard) (Entered: 05/14/2018)
05/15/2018        MINUTE ORDER: The Court has received the 568 Joint Status Report, filed by
                  Judicial Watch, Inc. and Thomas J. Fitton with Larry Klayman's consent, which
                  indicates that the court reporter provided the trial transcript to the parties on May 11,
                  2018. The Court shall now fix the 60−day deadline applicable to Mr. Klayman's
                  renewed motion for judgment as a matter of law and to any and all other post−trial
                  motions that Mr. Klayman may choose to file. See Min. Order of Mar. 14, 2018
                  (setting forth timeline for motion for JNOV and briefing); Order, ECF No. 565, at 3
                  (requiring any and all post−trial motions by Mr. Klayman to be filed in single
                  pleading). Accordingly, Mr. Klayman's renewed motion for judgment as a matter of
                  law, and any and all other post−trial motions by Mr. Klayman, shall be filed in a single
                  pleading on or before JULY 10, 2018. The Court shall not consider any post−trial
                  motion that is not contained within this single pleading filed by the
                  aforementioned deadline and shall not grant any extension of this deadline for
                  any reason. See Order, ECF No. 565, at 3 (explaining this requirement).Judicial
                  Watch, Inc. and Thomas J. Fitton shall file in a single pleading their oppositions to any
                  and all of the above−described post−trial motion(s) on or before AUGUST 9, 2018.
                  Mr. Klayman's repl(ies), if any, shall be filed in a single pleading on or before
                  SEPTEMBER 10, 2018. In the interest of efficient resolution of post−trial
                  proceedings discussed in the Court's 565 Order, the Court shall not consider any
                  opposition or reply, respectively, that is not contained within a single pleading
                  filed by the aforementioned applicable deadline and shall not grant any extension
                  of that deadline for any reason.Signed by Judge Colleen Kollar−Kotelly on May 15,
                  2018. (lcckk1) (Entered: 05/15/2018)
05/15/2018        Set/Reset Deadlines: Mr. Klayman's renewed motion for judgment as a matter of law,
                  and any and all other post−trial motions due by 7/10/2018. Oppositions due by
                  8/9/2018. Replies due by 9/10/2018. (dot) (Entered: 05/16/2018)
07/05/2018   569 NOTICE of Request to File Jury Instructions by LARRY KLAYMAN (Klayman,
                 Larry) (Entered: 07/05/2018)
07/05/2018        MINUTE ORDER: Chambers has received Plaintiff Larry Klayman's 569 Request to
                  File Final Jury Instructions. The parties are directed to consult the trial transcript
                  prepared by the court reporter for a complete record of the final jury instructions as
                  delivered, which are considered the official written jury instructions. See Min. Order of
                  May 15, 2018 (noting the parties' representation that the court reporter provided them
                  with the trial transcript on May 11, 2018). Signed by Judge Colleen Kollar−Kotelly on
                  July 5, 2018. (lcckk1) (Entered: 07/05/2018)
07/10/2018   570 ENTERED IN ERROR. . . . . MOTION for Judgment as a Matter of Law , MOTION
                 for New Trial , MOTION for Leave to File Excess Pages , MOTION Remittitur by
                 LARRY KLAYMAN (Attachments: # 1 Exhibit, # 2 Text of Proposed
                 Order)(Klayman, Larry) Modified on 7/11/2018 (ztd). (Entered: 07/10/2018)
07/10/2018   571 Amended MOTION for Judgment as a Matter of Law , MOTION for New Trial ,
                 MOTION Remittitur , MOTION for Leave to File Excess Pages by LARRY
                 KLAYMAN (Attachments: # 1 Exhibit, # 2 Text of Proposed Order)(Klayman, Larry)
                 (Entered: 07/10/2018)
07/11/2018        NOTICE OF CORRECTED DOCKET ENTRY: re 570 MOTION for Judgment as a
                  Matter of Law MOTION for New Trial MOTION for Leave to File Excess Pages
                  MOTION Remittitur was entered in error and counsel refiled said pleading as docket
                  entry 571 . (ztd) (Entered: 07/11/2018)
07/13/2018   572 Second MOTION for Sanctions and Entry of Judgment by LARRY KLAYMAN
                 (Attachments: # 1 Exhibit, # 2 Exhibit, # 3 Exhibit, # 4 Exhibit, # 5 Exhibit, # 6
                 Exhibit, # 7 Exhibit, # 8 Text of Proposed Order)(Klayman, Larry). Added MOTION
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                  for Entry of Judgment on 7/16/2018 (ztd). (Entered: 07/13/2018)
07/16/2018   573 MOTION to Strike 572 Second MOTION for Sanctions and Entry of Judgment
                 MOTION for Entry of Final Judgment by THOMAS J. FITTON, JUDICIAL
                 WATCH, INC. (Driscoll, Richard) (Entered: 07/16/2018)
07/16/2018   574 RESPONSE re 573 MOTION to Strike 572 Second MOTION for Sanctions and Entry
                 of Judgment MOTION for Entry of Final Judgment filed by LARRY KLAYMAN.
                 (Klayman, Larry) (Entered: 07/16/2018)
07/17/2018   575 REPLY to opposition to motion re 573 MOTION to Strike 572 Second MOTION for
                 Sanctions and Entry of Judgment MOTION for Entry of Final Judgment filed by
                 THOMAS J. FITTON, JUDICIAL WATCH, INC.. (Driscoll, Richard) (Entered:
                 07/17/2018)
08/09/2018   576 Memorandum in opposition to re 571 Amended MOTION for Judgment as a Matter of
                 Law MOTION for New Trial MOTION Remittitur MOTION for Leave to File Excess
                 Pages filed by THOMAS J. FITTON, JUDICIAL WATCH, INC.. (Driscoll, Richard)
                 (Entered: 08/09/2018)
09/10/2018   577 MOTION for Leave to File Excess Pages by LARRY KLAYMAN (Attachments: # 1
                 Text of Proposed Order)(Klayman, Larry) (Entered: 09/10/2018)
09/10/2018   578 REPLY to opposition to motion re 571 Amended MOTION for Judgment as a Matter
                 of Law MOTION for New Trial MOTION Remittitur MOTION for Leave to File
                 Excess Pages filed by LARRY KLAYMAN. (Klayman, Larry) (Entered: 09/10/2018)
03/04/2019   579 NOTICE JOINT NOTICE OF COMPLIANCE by LARRY KLAYMAN (Klayman,
                 Larry) (Entered: 03/04/2019)
03/18/2019   580 ORDER. The Court DENIES Larry Klayman's 571 Motion for Judgment as a Matter
                 of Law, for a New Trial, or in the Alternative, for Remittitur of the Jury Verdict,
                 DENIES Klayman's 489 Motion for Sanctions and Entry of Judgment, DENIES
                 Klayman's 572 Renewed Motion for Sanctions and Entry of Judgment, and DENIES
                 Judicial Watch, Inc.'s and Thomas J. Fitton's 573 Motion to Strike Plaintiff's Renewed
                 Motion for Sanctions and Entry of Judgment. The Court GRANTS that portion of
                 Klayman's 571 filing containing his Motion for Leave to Exceed Page Limit by One
                 Page and GRANTS Klayman's 577 Motion for Leave to File Reply in Excess of Two
                 (2) Pages and Three (3) Lines. See Order for further details. Signed by Judge Colleen
                 Kollar−Kotelly on March 18, 2019. (lcckk1) (Entered: 03/18/2019)
03/18/2019   581 MEMORANDUM OPINION. Signed by Judge Colleen Kollar−Kotelly on March 18,
                 2019. (lcckk1) (Entered: 03/18/2019)
03/18/2019   582 JUDGMENT ON THE VERDICT for Counter−Plaintiff Judicial Watch, Inc. against
                 Counter−Defendant Larry Klayman. Signed by Judge Colleen Kollar−Kotelly on
                 March 18, 2019. (lcckk1) (Entered: 03/18/2019)
03/18/2019   583 JUDGMENT ON THE VERDICT for Counter−Plaintiff Thomas J. Fitton against
                 Counter−Defendant Larry Klayman. Signed by Judge Colleen Kollar−Kotelly on
                 March 18, 2019. (lcckk1) (Entered: 03/18/2019)
03/18/2019   584 FINAL JUDGMENT. Signed by Judge Colleen Kollar−Kotelly on March 18, 2019.
                 (lcckk1) (Entered: 03/18/2019)
